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CASE NAME:             Americore Holdings, LLC, et al.
CASE NUMBER:           19-61608-grs (Jointly Administered)



                                  Notes to the Monthly Operating Report
General:
On December 31, 2019 (the "Petition Date"), Americore Holdings, LLC ("Americore") filed a voluntary petition with the United
States Bankruptcy Court under Chapter 11 of the Bankruptcy Code [Case No.: 19-60608-grs], along with ten (10) affiliated
entities (Affiliated Entities") presented in Exhibit A. The bankruptcy filings of Americore and the Affiliated Entities are jointly
administered under Case No. 19-60608-grs (the "Jointly Administered Debtors"). The Jointly Administered Debtors are
authorized to file Monthly Operating Reports on a consolidated basis and have presented disbursements by Debtor entity in
Exhibit A attached.

Debtor-in-Possession Financial Statements - The accompanying schedules, including Exhibit A, herein are unaudited,
preliminary, and may not comply with generally accepted accounting principles in the United States of America ("U.S.
GAAP") in all material respects. In addition, the financial statements and the supplemental information contained herein
represent the financial information on a consolidated basis of the Jointly Administered Debtors presented in Exhibit A.


The Monthly Operating Report is limited in scope, covers a limited time period, and has been prepared solely for the purpose
of complying with the monthly reporting requirements of the Bankruptcy Court and the United States Trustee. The
information presented herein has not been subjected to all procedures that would typically be applied to financial information
presented in accordance with U.S. GAAP. Upon the application of such procedures, the financial information could be
subject to changes, and these changes could be material. The information furnished in this Monthly Operating Report
includes normal recurring adjustments, but does not include all of the adjustments that would typically be made for interim
financial statements in accordance with U.S. GAAP.


Reservation of Rights: Given the complexity of the Debtors’ business, inadvertent errors, omissions or over inclusions may
have occurred. Accordingly, the Debtors hereby reserve all of their rights to dispute the validity, status, enforceability, or
executory nature of any claim amount, representation or other statement in this Monthly Operating Report and reserve the
right to amend or supplement this Monthly Operating Report, if necessary, but shall be under no obligation to do so.
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                                                      CHAPTER 11
                                               MONTHLY OPERATING REPORT
                                            MONTHLY REPORTING QUESTIONNAIRE



CASE NAME:                   Americore Holdings, LLC, et al.,

CASE NUMBER:                 19-61608-grs

MONTH OF:                    April 2020




1.      Payroll    State the amount of all executive wages paid and payroll taxes withheld and paid.

                                                                                                                             (1)
        Name and Title                                                          Wages Paid                           Taxes
        of Executive                                                        Gross          Net                    Due              Paid

        Saggar, Sonny S - CSO for COVID-19 Task Force &
        ED Director                                                       $ 16,346.17     $ 11,072.47

        Kraeger, Russell R - Chief Medical Officer                         13,146.40          8,722.36

        Munaco, Wendy J - CNO                                               8,461.56          6,149.74

        Saggio, Tom - Director of Quality / Risk Management                 4,230.78          3,207.31

        Total Executive Payroll                                           $ 42,184.91     $ 29,151.88


2.      Insurance              Is workers' compensation and other insurance in effect?                  Yes
        Are payments current? Yes
                 If any policy has lapsed, been replaced or renewed, state so in the schedule below. Attach a
        copy of the new policy's binder or cover page.

                                                      Name                                                                 Date
                                                        of                     Coverage              Expiration          Coverage
                   Type                               Carrier                   Amount                 Date              Paid Thru

        Casualty                                                SEE ATTACHED SCHEDULE OF INSURANCE

        Workers' comp.

        General liab.

        Automobile

        Other (specify)




Notes:
(1) Federal and state withholding payroll taxes were transmitted to the appropriate taxing authorities.
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                                                     CHAPTER 11
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CASE NAME:                    Americore Holdings, LLC, et al.,

CASE NUMBER:                  19-61608-grs

MONTH OF:                     April 2020




3.        Bank Accounts                                                    Account Type
                                               Operating             Tax               Other                   Total
     Bank Name
                                                            SEE ATTACHED SCHEDULE OF BANK ACCOUNTS
     Account #

     Beginning book balance                                                                             $      1,954,547.33

     Plus: Deposits                                                                                            6,195,731.29

     Less: Disbursements                                                                                       (4,051,071.62)

     Transfers                                                                                                           -

     Other(1):                                                                                                   (106,830.02)

     Ending book balance                                                                                $      3,992,376.98


4.        Post-petition Payments          List any post-petition payments to professionals and payments on
     prepetition debts in the schedule below (attach separate sheet if necessary).

         Payments To                                             Amount            Date                Check #

     Professionals (attorneys,
      accountants, etc.):

     None




     Prepetition creditors:

     None




Notes:
(1) Includes scholarship disbursement for $121,635 and adjustment for unrecorded transactions in the cash ledgers for the
period prior to the Chapter 11 Trustee's appointment in the amount of $14,805. The Chapter 11 Trustee is in the process of
reconciling these amounts.
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                      Case 19-61608-grs                                 Doc 600 Filed 06/04/20 Entered 06/04/20 09:17:43                                                                                        Desc Main
                                                                               Document    Page 12 of 148




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                          Case 19-61608-grs                           Doc 600 Filed 06/04/20 Entered 06/04/20 09:17:43                                                 Desc Main
                                                                             Document    Page 13 of 148




CASE NAME:            Americore Holdings, LLC, et al.,                                             COMPARATIVE BALANCE SHEETS(1)                                                        FORM OPR-1
                                                                                                                                                                                        REV 2/90

CASE NUMBER:            19-61608-grs                                            MONTH ENDED:           April 30, 2020



                                                                      FILING
                                                                      DATE           MONTH                 MONTH                MONTH                MONTH                MONTH                MONTH


ASSETS

   CURRENT ASSETS

      Cash

      Other negotiable instruments (i.e. CD's T-Bills)

      Accounts receivable (See OPR-3)

      Less allowance for doubtful accounts

      Inventory, at lower of cost or market

      Prepaid expenses and deposits

      Investments

      Other:



           TOTAL CURRENT ASSETS

   PROPERTY, PLANT AND EQUIPMENT, AT COST

   Less accumulated depreciation

      NET PROPERTY, PLANT AND EQUIPMENT

   OTHER ASSETS

                                                                *

                                                                *


          TOTAL ASSETS


* Itemize if value of "Other Assets" exceeds 10% of "Total Assets".
Notes:
(1) The Trustee is in the process of closing the Debtor's books and records for 2019. Once the 2019 books and records are closed and financial statements prepared, the 2020 monthly balance sheets and
income statements for the Debtor entities will be prepared and included in subsequent monthly operating reports.
                          Case 19-61608-grs                           Doc 600 Filed 06/04/20 Entered 06/04/20 09:17:43                                                                     Desc Main
                                                                             Document    Page 14 of 148




CASE NAME:            Americore Holdings, LLC, et al.,                                                         COMPARATIVE BALANCE SHEETS(1)                                                                 FORM OPR-2
                                                                                                                                                                                                             REV 2/90

CASE NUMBER:             19-61608-grs                                                    MONTH ENDED:              April 30, 2020


                                                                       FILING
                                                                       DATE(2)                 MONTH                   MONTH                   MONTH                  MONTH                   MONTH                   MONTH


LIABILITIES

   POST PETITION LIABILITIES

      Current post petition liabilities

      Debtor-in-possession financing

          TOTAL POST PETITION LIABILITIES

   PRE PETITION LIABILITIES

      Priority debt

      Secured debt

      Unsecured debt

          TOTAL PRE PETITION LIABILITIES

                   TOTAL LIABILITIES

SHAREHOLDERS' EQUITY (DEFICIT)

   COMMON & PREFERRED STOCK

   PAID-IN CAPITAL

   RETAINED EARNINGS

      Through filing date

      Post filing date

          TOTAL SHAREHOLDERS' EQUITY

             TOTAL LIABILITIES AND
             SHAREHOLDERS' EQUITY

Notes:
(1) The Trustee is in the process of closing the Debtor's books and records for 2019. Once the 2019 books and records are closed and financial statements prepared, the 2020 monthly balance sheets and income statements for the
Debtor entities will be prepared and included in subsequent monthly operating reports.
          Case 19-61608-grs                         Doc 600 Filed 06/04/20 Entered 06/04/20 09:17:43                                                                    Desc Main
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CASE NAME:              Americore Holdings, LLC, et al.,                              SUMMARY OF ACCOUNTS RECEIVABLE                                                             FORM OPR-3
                                                                                                                                                                                 REV 2/90

CASE NUMBER:              19-61608-grs                                                MONTH ENDED:                   April 30, 2020


                                                                                                  0 - 30                         31 - 60                     61 - 90                     OVER
                                                                    TOTAL                         DAYS                           DAYS                        DAYS                       90 DAYS


                 (1):
DATE OF FILING                                     TBD                      TBD                            TBD                             TBD                         TBD                      TBD

 Allowance for doubtful accounts                            (               0.00 )       (                       )       (                       )   (                       )   (                     )


                                     (2)
MONTH:     As of February 29, 2020                              $ 74,057,950.23              $ 20,207,430.25                 $ 2,921,077.56              $ 33,414,101.47             $ 17,515,340.95

 Allowance for doubtful accounts                            (               0.00 )       (                       )       (                       )   (                       )   (                     )


MONTH:     As of March 31, 2020(2)                              $ 66,022,208.19              $ 11,435,601.40                 $ 2,585,472.54              $ 32,614,516.11             $ 19,386,618.14

 Allowance for doubtful accounts                            (               0.00 )       (                       )       (                       )   (                       )   (                     )
          As of April 30, 2020 (see attached schedule for
          a summary by Debtor for the current reporting
                 (2, 3)
MONTH: period)                                                  $ 5,400,555.49               $   1,959,108.88                $   283,162.36              $   218,922.50              $ 2,939,361.75

 Allowance for doubtful accounts                            (               0.00 )       (                       )       (                       )   (                       )   (                     )


MONTH:                                                                      0.00

 Allowance for doubtful accounts                            (               0.00 )       (                       )       (                       )   (                       )   (                     )


MONTH:                                                                      0.00

 Allowance for doubtful accounts                            (               0.00 )       (                       )       (                       )   (                       )   (                     )


MONTH:                                                                      0.00

 Allowance for doubtful accounts                            (               0.00 )       (                       )       (                       )   (                       )   (                     )


Notes:
(1) The Trustee is in the process of amending the bankruptcy schedules. Accounts Receivable as of the Petition Date will be updated on subsequent Monthly Operating Reports.
(2) Based on best available information at the date of this Monthly Operating Report and subject to change.
(3) Accounts receivable as of 04/30/20 are net of known contractual adjustments.
               Case 19-61608-grs                    Doc 600 Filed 06/04/20 Entered 06/04/20 09:17:43                                                                 Desc Main
                                                           Document    Page 16 of 148




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           Case 19-61608-grs                                Doc 600 Filed 06/04/20 Entered 06/04/20 09:17:43                                                                     Desc Main
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CASE NAME:          Americore Holdings, LLC, et al.                                         SCHEDULE OF POST PETITION LIABILITIES                                                                 FORM OPR-4

CASE NUMBER:        19-61608-grs (Jointly Administered)                                                                                                                                              REV 2/90
                                                                                               MONTH ENDED:          April 30, 2020


                                                                          DATE                     DATE                  TOTAL               0 - 30           31 - 60           61 - 90             OVER
                                                                        INCURRED                   DUE                    DUE                DAYS             DAYS              DAYS               90 DAYS


           Federal Income Tax and FICA                               01/01/20 - 04/30/20     01/01/20 - 04/30/20    $    866,912.28    $              -   $             -   $   417,405.71    $    449,506.57

           State Withholding                                         01/01/20 - 04/30/20     01/01/20 - 04/30/20         111,863.81                   -                 -        53,906.78          57,957.03

           Federal Unemployment Tax                                  01/01/20 - 04/30/20     01/01/20 - 04/30/20             689.39             689.39                  -                 -               -

           State Unemployment Tax                                    01/01/20 - 04/30/20     01/01/20 - 04/30/20          12,212.18            1,012.20         1,254.62          5,373.28           4,572.08

           Local Payroll Tax                                         01/01/20 - 04/30/20     01/01/20 - 04/30/20          23,916.89          21,012.79            525.23          1,030.58           1,348.29

           Sales Tax                                                                                                           0.00

           Property Tax                                                                                                        0.00
                                                   (1, 2)
                          TOTAL TAXES PAYABLE                                                                           1,015,594.55         22,714.38          1,779.85        477,716.35         513,383.97
                                   (3)
POSTPETITION SECURED DEBT
                                         (3)
POSTPETITION UNSECURED DEBT                                                                                                    0.00

                                  (3)
ACCRUED INTEREST PAYABLE                                                                                                       0.00

TRADE ACCOUNTS PAYABLE & OTHER:
   (list separately)

           See attached schedule for detail                        Various                  Various                     1,803,758.13       1,395,401.68       364,309.57         38,834.19           5,212.69

                                                                                                                               0.00

                                                                                                                               0.00

                                                                                                                               0.00

                                                                                                                               0.00

                                                                                                                               0.00


           TOTALS                                                                                                   $ 2,819,352.68     $ 1,418,116.06     $   366,089.42    $   516,550.54    $    518,596.66


Notes:
(1) Funds were escrowed for post-petition taxes incurred since the Trustee’s appointment.
(2) Aging is based on days outstanding from pay date.
(3) The Trustee is in the process of gathering information and will report any amounts due in succeeding Monthly Operating Reports.
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                                                                     Document    Page 18 of 148




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$PHULFRUH+ROGLQJV et al. 'HEWRUV                                                                                                                                                                                          3RVW3HWLWLRQ$3$JLQJ

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                      Case 19-61608-grs                               Doc 600 Filed 06/04/20 Entered 06/04/20 09:17:43                                                                         Desc Main
                                                                             Document    Page 30 of 148




CASE NAME:            Americore Holdings, LLC, et al.                                                            STATEMENT OF INCOME (LOSS)(1)                                                                   FORM OPR-5
                                                                                                                                                                                                                 REV 2/90
CASE NUMBER:          19-61608-grs (Jointly Administered)                                                           MONTH ENDED:               April 30, 2020

                                                                                                                                                                                                                        FILING
                                                                       MONTH                   MONTH                   MONTH                    MONTH                   MONTH                   MONTH                  TO DATE


NET REVENUE (INCOME)                                              $                 -                                                                                                                              $                -

COST OF GOODS SOLD

    Materials                                                                       -                       -                                                                                                                       -

    Labor - Direct                                                                  -                                                                                                                                               -

    Manufacturing Overhead                                                          -                                                                                                                                               -

                 TOTAL COST OF GOODS SOLD                                           -                       -                       -                        -                       -                       -                      -

GROSS PROFIT                                                                        -                       -                       -                        -                       -                       -                      -

OPERATING EXPENSES

    Selling and Marketing                                                           -                                                                                                                                               -

    General and Administrative                                                      -                                                                                                                                               -

    Other Exp:                                                                      -                                                                                                                                               -

                 TOTAL OPERATING EXPENSES                                           -                       -                       -                        -                       -                       -                      -

INCOME BEFORE INTEREST, DEPRECIATION
  TAXES OR EXTRAORDINARY EXPENSES                                                   -                       -                       -                        -                       -                       -                      -

INTEREST EXPENSE                                                                    -                                                                                                                                               -

DEPRECIATION                                                                        -                                                                                                                                               -

GAIN (LOSS) ON DISPOSAL OF ASSETS                                                   -

INCOME TAX EXPENSE (BENEFIT)                                                        -                                                                                                                                               -

EXTRAORDINARY INCOME (EXPENSE) *                                                    -                                                                                                                                               -

                     NET INCOME (LOSS)                            $                 -     $                 -     $                 -      $                 -     $                 -     $                 -     $                -

*   Requires Footnote

Notes:
(1) The Trustee is in the process of closing the Debtor's books and records for 2019. Once the 2019 books and records are closed and financial statements prepared, the 2020 monthly balance sheets and income statements for the
Debtor entities will be prepared and included in subsequent monthly operating reports.
            Case 19-61608-grs                                         Doc 600 Filed 06/04/20 Entered 06/04/20 09:17:43                                                                                 Desc Main
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                                                                                                                                                                                   FORM OPR-6
                                                                        STATEMENT OF SOURCES AND USES OF CASH
                                                                                       April 2020
Case Name:   Americore Holdings, LLC, et al.
Case Number: 19-61608-grs (Jointly Administered)
                                                                         February 21-29,
                                                                              2020                March 2020           April 2020            MONTH                 MONTH                MONTH
SOURCES OF CASH
  Income (Loss) From Operations
     Add: Depreciation, Amortization & Other non-cash
     CASH GENERATED FROM OPERATIONS

      Add: Decrease in Assets:
            Accounts Receivable                                         $     421,887.03      $    4,085,724.17    $   3,286,672.26
            Inventory
            Prepaid Expenses & Deposits
            Property, Plant & Equipment
              Other(2)                                                          14,288.07               606.36         2,909,059.03

          Increase in Liabilities:
             Pre Petition Liabilities
             Post Petition Liabilities
      TOTAL SOURCES OF CASH (A)                                               436,175.10           4,086,330.53        6,195,731.29

USES OF CASH
    Increase in Assets:
              Accounts Receivable
              Inventory                                                         75,902.69            53,422.91            31,809.51
              Prepaid Expenses & Deposits
              Property, Plant & Equipment
              Other

      Decrease in Liabilities:
                Pre-Petition Liabilities
                Post-Petition Liabilities
                Bank fees                                                          41.00             10,235.14             8,774.17
                Emergency room                                                 46,000.00            132,000.00           184,000.00
                Employee benefits                                              17,864.57            114,969.12           581,178.48
                Insurance                                                     197,783.51            538,030.96           159,324.99
                Leases, contracts and miscellaneous                                                                       46,313.35
                Medical professionals                                                                                    265,619.70
                Payroll                                                       647,953.34           1,320,130.96        1,258,389.77
                Pharmaceuticals                                                                                           70,209.06
                Repairs and maintenance                                                                                  183,196.87
                Supplies                                                        60,127.74           144,009.88           200,256.72
                Taxes                                                           24,913.03           438,373.77           671,455.27
                Utilities                                                       17,000.00            38,871.87           227,374.58
                US Trustee                                                                              650.00           106,395.64
                Other operating expenses                                      208,556.10            506,393.35            56,773.51
                    TOTAL USES OF CASH (B)(3)                               1,296,141.98           3,297,087.96        4,051,071.62

NET SOURCE (USE) OF CASH (A-B=NET)                                      $     (859,966.88)    $     789,242.57     $   2,144,659.67

CASH - BEGINNING BALANCE (See OPR-1)                                    $   2,025,271.64      $    1,165,304.76    $   1,954,547.33
Scholarship trust fund disbursement                                                  -                      -           (121,635.00)
Adjustment(4)                                                                        -                      -             14,804.98
CASH - ENDING BALANCE (See OPR-1)                                       $   1,165,304.76      $    1,954,547.33    $   3,992,376.98

Notes:
(1) Prepared on cash basis of accounting.
(2) Includes receipt of HHS stimulus funds as follows:
     a. Izard County Medical Center - $236,516.92 (4/10/20)
     b. St. Alexius Hospital - $834,038.96 (04/10/20) and
        $33,060.28 (04/24/20)
     c. Ellwood Medical Center - $1,805,227.75
(3) For the April 2020 Monthly Operating Report, and all subsequent reports, the level of detail for income and expense items reported may be updated on a go-forward basis and consequently will be
determined on a month-by-month basis.
(4) Includes adjustment for unrecorded transactions in the cash ledgers for the period prior to the Chapter 11 Trustee's appointment. The Chapter 11 Trustee is in the process of reconciling these
amounts.
    Case 19-61608-grs                    Doc 600 Filed 06/04/20 Entered 06/04/20 09:17:43                                  Desc Main
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CASE NAME:                               Americore Holdings, LLC, et al.                                                         Disbursements

CASE NUMBER:                             19-61608-grs (Jointly Administered)

                                                              CASH DISBURSEMENTS DETAIL(1)

                   Entity                      Bank ID               Date      Check Number                        Payee        Amount
Ellwood Medical Center Operations, LLC        USB-4983             04/06/20        Debit      Berkshire                     $        519.62
Ellwood Medical Center Operations, LLC        USB-4983             04/06/20        1023       Unum Life Insurance                    777.70
Ellwood Medical Center Operations, LLC        USB-4983             04/06/20        1024       US Department of Education             260.78
Ellwood Medical Center Operations, LLC        USB-4983             04/09/20        Debit      Triton HR                              738.18
Ellwood Medical Center Operations, LLC        USB-4983             04/14/20        Debit      US Bank                                265.07
Ellwood Medical Center Operations, LLC        USB-4983             04/17/20        1026       Quadax                               1,557.00
Ellwood Medical Center Operations, LLC        USB-4983             04/17/20        1025       District Court                         103.25
Ellwood Medical Center Operations, LLC        USB-4983             04/22/20        Debit      Paylocity Payroll Taxes              7,067.96
Ellwood Medical Center Operations, LLC        USB-4983             04/22/20        1040       Boro of E C                         44,558.68
Ellwood Medical Center Operations, LLC        USB-4983             04/22/20        1036       Boro of E C                          7,603.36
Ellwood Medical Center Operations, LLC        USB-4983             04/22/20        1039       Boro of E C                            871.17
Ellwood Medical Center Operations, LLC        USB-4983             04/22/20        1035       Boro of E C                            716.36
Ellwood Medical Center Operations, LLC        USB-4983             04/22/20        1049       Boro of E C                            459.25
Ellwood Medical Center Operations, LLC        USB-4983             04/22/20        1038       Boro of E C                            192.32
Ellwood Medical Center Operations, LLC        USB-4983             04/22/20        1037       Boro of E C                            141.72
Ellwood Medical Center Operations, LLC        USB-4983             04/22/20        1041       Boro of E C                            115.05
Ellwood Medical Center Operations, LLC        USB-4983             04/22/20        1034       Boro of E C                             23.29
Ellwood Medical Center Operations, LLC        USB-4983             04/22/20        1060       Verizon                                266.54
Ellwood Medical Center Operations, LLC        USB-4983             04/22/20        1061       Verizon                                132.83
Ellwood Medical Center Operations, LLC        USB-4983             04/22/20        1062       Verizon                                 15.00
Ellwood Medical Center Operations, LLC        USB-4983             04/22/20        1027       Armstrong                              899.00
Ellwood Medical Center Operations, LLC        USB-4983             04/22/20        1029       Armstrong                            2,167.86
Ellwood Medical Center Operations, LLC        USB-4983             04/22/20        1030       Armstrong                            2,187.86
Ellwood Medical Center Operations, LLC        USB-4983             04/22/20        1031       Armstrong                              899.00
Ellwood Medical Center Operations, LLC        USB-4983             04/22/20        1032       Armstrong                              899.00
Ellwood Medical Center Operations, LLC        USB-4983             04/22/20        1033       Armstrong                            2,167.86
Ellwood Medical Center Operations, LLC        USB-4983             04/22/20        1042       Columbia Gas                         1,268.71
Ellwood Medical Center Operations, LLC        USB-4983             04/22/20        1043       Columbia Gas                           268.41
Ellwood Medical Center Operations, LLC        USB-4983             04/22/20        1044       Columbia Gas                           351.64
Ellwood Medical Center Operations, LLC        USB-4983             04/22/20        1045       Columbia Gas                           386.77
Ellwood Medical Center Operations, LLC        USB-4983             04/22/20        1046       Columbia Gas                           185.98
Ellwood Medical Center Operations, LLC        USB-4983             04/22/20        1047       Columbia Gas                        24,361.48
Ellwood Medical Center Operations, LLC        USB-4983             04/22/20        1048       CT Corp                                329.00
Ellwood Medical Center Operations, LLC        USB-4983             04/22/20        1050       American Water                         298.76
Ellwood Medical Center Operations, LLC        USB-4983             04/22/20        1051       American Water                          35.04
Ellwood Medical Center Operations, LLC        USB-4983             04/22/20        1053       American Water                         122.46
Ellwood Medical Center Operations, LLC        USB-4983             04/22/20        1054       American Water                      12,385.58
Ellwood Medical Center Operations, LLC        USB-4983             04/22/20        1055       American Water                          35.04
Ellwood Medical Center Operations, LLC        USB-4983             04/22/20        1056       American Water                       1,474.14
Ellwood Medical Center Operations, LLC        USB-4983             04/22/20        1057       American Water                          35.04
Ellwood Medical Center Operations, LLC        USB-4983             04/22/20        1058       American Water                          52.97
Ellwood Medical Center Operations, LLC        USB-4983             04/22/20        1059       American Water                         766.77
Ellwood Medical Center Operations, LLC        USB-4983             04/29/20        Debit      US Trustee                           1,950.00
Ellwood Medical Center Operations, LLC        USB-4983             04/30/20        Debit      US Trustee                             325.00
Total                                                                                                                            120,238.50

Ellwood Medical Center Operations, LLC        USB-4991             04/06/20       Debit       IRS                                  5,886.64
Ellwood Medical Center Operations, LLC        USB-4991             04/08/20       Debit       IRS                                  8,467.53
Ellwood Medical Center Operations, LLC        USB-4991             04/08/20       Debit       IRS                                  6,096.30
Ellwood Medical Center Operations, LLC        USB-4991             04/10/20       11451       Payroll Check                        2,184.93
Ellwood Medical Center Operations, LLC        USB-4991             04/10/20       11452       Payroll Check                        1,252.88
Ellwood Medical Center Operations, LLC        USB-4991             04/10/20       11453       Payroll Check                          879.20
Ellwood Medical Center Operations, LLC        USB-4991             04/10/20       11454       Payroll Check                        1,014.23
Ellwood Medical Center Operations, LLC        USB-4991             04/10/20       11455       Payroll Check                          744.36
Ellwood Medical Center Operations, LLC        USB-4991             04/10/20       11456       Payroll Check                          939.75
Ellwood Medical Center Operations, LLC        USB-4991             04/10/20       11457       Payroll Check                        1,651.17
Ellwood Medical Center Operations, LLC        USB-4991             04/10/20       11458       Payroll Check                        1,545.61
Ellwood Medical Center Operations, LLC        USB-4991             04/10/20       11459       Payroll Check                        1,168.89
Ellwood Medical Center Operations, LLC        USB-4991             04/10/20       11460       Payroll Check                        1,355.95
Ellwood Medical Center Operations, LLC        USB-4991             04/10/20       11461       Payroll Check                          145.59
Ellwood Medical Center Operations, LLC        USB-4991             04/10/20       11462       Payroll Check                        1,452.41
Ellwood Medical Center Operations, LLC        USB-4991             04/10/20       11463       Payroll Check                        1,753.71
Ellwood Medical Center Operations, LLC        USB-4991             04/10/20       11464       Payroll Check                        1,542.91
Ellwood Medical Center Operations, LLC        USB-4991             04/23/20       Debit       IRS                                  5,911.90
Ellwood Medical Center Operations, LLC        USB-4991             04/24/20       11465       Payroll Check                        2,082.67
Ellwood Medical Center Operations, LLC        USB-4991             04/24/20       11466       Payroll Check                        1,148.47
Ellwood Medical Center Operations, LLC        USB-4991             04/24/20       11467       Payroll Check                          864.11
Ellwood Medical Center Operations, LLC        USB-4991             04/24/20       11468       Payroll Check                        1,014.22
Ellwood Medical Center Operations, LLC        USB-4991             04/24/20       11469       Payroll Check                          877.41
Ellwood Medical Center Operations, LLC        USB-4991             04/24/20       11470       Payroll Check                          929.18
Ellwood Medical Center Operations, LLC        USB-4991             04/24/20       11471       Payroll Check                        1,651.17
Ellwood Medical Center Operations, LLC        USB-4991             04/24/20       11472       Payroll Check                        1,545.62
Ellwood Medical Center Operations, LLC        USB-4991             04/24/20       11473       Payroll Check                        1,177.75
Ellwood Medical Center Operations, LLC        USB-4991             04/24/20       11474       Payroll Check                        1,355.95
Ellwood Medical Center Operations, LLC        USB-4991             04/24/20       11475       Payroll Check                          140.90
Ellwood Medical Center Operations, LLC        USB-4991             04/24/20       11476       Payroll Check                        1,446.45
Ellwood Medical Center Operations, LLC        USB-4991             04/24/20       11477       Payroll Check                        1,751.25
Ellwood Medical Center Operations, LLC        USB-4991             04/24/20       11478       Payroll Check                        1,547.47
Ellwood Medical Center Operations, LLC        USB-4991             04/24/20       Debit       IRS (FUTA)                             996.15
Ellwood Medical Center Operations, LLC        USB-4991             04/30/20       Debit       PA DOR (SITW)                        2,438.35
Ellwood Medical Center Operations, LLC        USB-4991             04/30/20       Debit       PA DOR (SITW)                          702.15
Total                                                                                                                             65,663.23
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CASE NAME:                         Americore Holdings, LLC, et al.                                                  Disbursements

CASE NUMBER:                       19-61608-grs (Jointly Administered)

                                                        CASH DISBURSEMENTS DETAIL(1)

                   Entity                Bank ID               Date      Check Number                   Payee      Amount

Izard County Medical Center, LLC        FNB-5801             03/20/20      2001315      Payroll Check                2,846.31
Izard County Medical Center, LLC        FNB-5801             03/20/20      2001347      Payroll Check                1,762.11
Izard County Medical Center, LLC        FNB-5801             03/20/20      2001362      Payroll Check                  271.81
Izard County Medical Center, LLC        FNB-5801             03/20/20      2001366      Payroll Check                1,541.59
Izard County Medical Center, LLC        FNB-5801             03/20/20      2001389      Payroll Check                  385.46
Izard County Medical Center, LLC        FNB-5801             03/20/20      2001390      Payroll Check                  307.69
Izard County Medical Center, LLC        FNB-5801             04/03/20      2001412      Payroll Check                1,025.07
Izard County Medical Center, LLC        FNB-5801             04/03/20      2001413      Payroll Check                2,846.32
Izard County Medical Center, LLC        FNB-5801             04/03/20      2001414      Payroll Check                  707.07
Izard County Medical Center, LLC        FNB-5801             04/03/20      2001415      Payroll Check                  817.74
Izard County Medical Center, LLC        FNB-5801             04/03/20      2001416      Payroll Check                  896.64
Izard County Medical Center, LLC        FNB-5801             04/03/20      2001417      Payroll Check                1,078.05
Izard County Medical Center, LLC        FNB-5801             04/03/20      2001418      Payroll Check                  853.66
Izard County Medical Center, LLC        FNB-5801             04/03/20      2001419      Payroll Check                  585.45
Izard County Medical Center, LLC        FNB-5801             04/03/20      2001420      Payroll Check                   59.15
Izard County Medical Center, LLC        FNB-5801             04/03/20      2001421      Payroll Check                  476.76
Izard County Medical Center, LLC        FNB-5801             04/03/20      2001422      Payroll Check                  629.56
Izard County Medical Center, LLC        FNB-5801             04/03/20      2001423      Payroll Check                  841.05
Izard County Medical Center, LLC        FNB-5801             04/03/20      2001424      Payroll Check                  604.03
Izard County Medical Center, LLC        FNB-5801             04/03/20      2001425      Payroll Check                  490.72
Izard County Medical Center, LLC        FNB-5801             04/03/20      2001426      Payroll Check                  368.39
Izard County Medical Center, LLC        FNB-5801             04/03/20      2001427      Payroll Check                  463.83
Izard County Medical Center, LLC        FNB-5801             04/03/20      2001428      Payroll Check                  695.05
Izard County Medical Center, LLC        FNB-5801             04/03/20      2001429      Payroll Check                  359.16
Izard County Medical Center, LLC        FNB-5801             04/03/20      2001430      Payroll Check                  738.71
Izard County Medical Center, LLC        FNB-5801             04/03/20      2001431      Payroll Check                  820.78
Izard County Medical Center, LLC        FNB-5801             04/03/20      2001432      Payroll Check                  776.30
Izard County Medical Center, LLC        FNB-5801             04/03/20      2001433      Payroll Check                  622.60
Izard County Medical Center, LLC        FNB-5801             04/03/20      2001434      Payroll Check                1,050.22
Izard County Medical Center, LLC        FNB-5801             04/03/20      2001435      Payroll Check                  634.56
Izard County Medical Center, LLC        FNB-5801             04/03/20      2001436      Payroll Check                1,108.70
Izard County Medical Center, LLC        FNB-5801             04/03/20      2001437      Payroll Check                  770.21
Izard County Medical Center, LLC        FNB-5801             04/03/20      2001438      Payroll Check                  523.16
Izard County Medical Center, LLC        FNB-5801             04/03/20      2001439      Payroll Check                  697.11
Izard County Medical Center, LLC        FNB-5801             04/03/20      2001440      Payroll Check                  541.53
Izard County Medical Center, LLC        FNB-5801             04/03/20      2001441      Payroll Check                  545.27
Izard County Medical Center, LLC        FNB-5801             04/03/20      2001442      Payroll Check                  526.44
Izard County Medical Center, LLC        FNB-5801             04/03/20      2001443      Payroll Check                1,288.85
Izard County Medical Center, LLC        FNB-5801             04/03/20      2001444      Payroll Check                1,803.81
Izard County Medical Center, LLC        FNB-5801             04/03/20      2001445      Payroll Check                  312.66
Izard County Medical Center, LLC        FNB-5801             04/03/20      2001446      Payroll Check                1,372.13
Izard County Medical Center, LLC        FNB-5801             04/03/20      2001447      Payroll Check                1,152.77
Izard County Medical Center, LLC        FNB-5801             04/03/20      2001448      Payroll Check                1,699.13
Izard County Medical Center, LLC        FNB-5801             04/03/20      2001449      Payroll Check                  382.96
Izard County Medical Center, LLC        FNB-5801             04/03/20      2001450      Payroll Check                   18.59
Izard County Medical Center, LLC        FNB-5801             04/03/20      2001451      Payroll Check                  754.33
Izard County Medical Center, LLC        FNB-5801             04/03/20      2001452      Payroll Check                1,154.43
Izard County Medical Center, LLC        FNB-5801             04/03/20      2001453      Payroll Check                  946.25
Izard County Medical Center, LLC        FNB-5801             04/03/20      2001454      Payroll Check                  702.12
Izard County Medical Center, LLC        FNB-5801             04/03/20      2001455      Payroll Check                  158.81
Izard County Medical Center, LLC        FNB-5801             04/03/20      2001456      Payroll Check                  978.40
Izard County Medical Center, LLC        FNB-5801             04/03/20      2001457      Payroll Check                  926.94
Izard County Medical Center, LLC        FNB-5801             04/03/20      2001458      Payroll Check                  239.82
Izard County Medical Center, LLC        FNB-5801             04/03/20      2001459      Payroll Check                2,214.84
Izard County Medical Center, LLC        FNB-5801             04/03/20      2001460      Payroll Check                  842.81
Izard County Medical Center, LLC        FNB-5801             04/03/20      2001461      Payroll Check                1,187.82
Izard County Medical Center, LLC        FNB-5801             04/03/20      2001462      Payroll Check                1,602.59
Izard County Medical Center, LLC        FNB-5801             04/03/20      2001463      Payroll Check                  810.71
Izard County Medical Center, LLC        FNB-5801             04/03/20      2001464      Payroll Check                1,993.99
Izard County Medical Center, LLC        FNB-5801             04/03/20      2001465      Payroll Check                  664.40
Izard County Medical Center, LLC        FNB-5801             04/03/20      2001466      Payroll Check                  357.52
Izard County Medical Center, LLC        FNB-5801             04/03/20      2001467      Payroll Check                  754.56
Izard County Medical Center, LLC        FNB-5801             04/03/20      2001468      Payroll Check                1,344.72
Izard County Medical Center, LLC        FNB-5801             04/03/20      2001469      Payroll Check                3,394.72
Izard County Medical Center, LLC        FNB-5801             04/03/20      2001470      Payroll Check                  185.59
Izard County Medical Center, LLC        FNB-5801             04/03/20      2001471      Payroll Check                1,118.51
Izard County Medical Center, LLC        FNB-5801             04/03/20      2001472      Payroll Check                  621.68
Izard County Medical Center, LLC        FNB-5801             04/03/20      2001473      Payroll Check                1,910.11
Izard County Medical Center, LLC        FNB-5801             04/03/20      2001474      Payroll Check                  256.48
Izard County Medical Center, LLC        FNB-5801             04/03/20      2001475      Payroll Check                1,477.92
Izard County Medical Center, LLC        FNB-5801             04/03/20      2001476      Payroll Check                  635.14
Izard County Medical Center, LLC        FNB-5801             04/03/20      2001477      Payroll Check                  266.36
Izard County Medical Center, LLC        FNB-5801             04/03/20      2001478      Payroll Check                  654.17
Izard County Medical Center, LLC        FNB-5801             04/03/20      2001479      Payroll Check                  261.32
Izard County Medical Center, LLC        FNB-5801             04/03/20      2001480      Payroll Check                  995.60
Izard County Medical Center, LLC        FNB-5801             04/03/20      2001481      Payroll Check                1,850.27
Izard County Medical Center, LLC        FNB-5801             04/03/20      2001482      Payroll Check                  369.77
Izard County Medical Center, LLC        FNB-5801             04/03/20      2001483      Payroll Check                  839.81
Izard County Medical Center, LLC        FNB-5801             04/03/20      2001484      Payroll Check                  394.62
Izard County Medical Center, LLC        FNB-5801             04/03/20      2001485      Payroll Check                  265.68
Izard County Medical Center, LLC        FNB-5801             04/03/20      2001486      Payroll Check                1,234.36
    Case 19-61608-grs              Doc 600 Filed 06/04/20 Entered 06/04/20 09:17:43                                   Desc Main
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CASE NAME:                         Americore Holdings, LLC, et al.                                                        Disbursements

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                                                        CASH DISBURSEMENTS DETAIL(1)

                   Entity                Bank ID               Date      Check Number                         Payee      Amount
Izard County Medical Center, LLC        FNB-5801             04/03/20       2001487     Payroll Check                      2,304.96
Izard County Medical Center, LLC        FNB-5801             04/03/20       2001488     Payroll Check                      2,163.69
Izard County Medical Center, LLC        FNB-5801             04/03/20       2001489     Payroll Check                      1,404.51
Izard County Medical Center, LLC        FNB-5801             04/03/20       2001490     Payroll Check                      1,470.18
Izard County Medical Center, LLC        FNB-5801             04/03/20       2001491     Payroll Check                      1,106.30
Izard County Medical Center, LLC        FNB-5801             04/03/20       2001492     Payroll Check                        866.03
Izard County Medical Center, LLC        FNB-5801             04/03/20       2001493     Payroll Check                      1,280.56
Izard County Medical Center, LLC        FNB-5801             04/03/20       2001494     Payroll Check                        556.83
Izard County Medical Center, LLC        FNB-5801             04/03/20       2001495     Payroll Check                        815.83
Izard County Medical Center, LLC        FNB-5801             04/03/20       2001496     Payroll Check                        779.30
Izard County Medical Center, LLC        FNB-5801             04/03/20       2001497     Payroll Check                        914.60
Izard County Medical Center, LLC        FNB-5801             04/03/20       2001498     Payroll Check                      1,265.97
Izard County Medical Center, LLC        FNB-5801             04/03/20       2001499     Payroll Check                      2,940.57
Izard County Medical Center, LLC        FNB-5801             04/03/20       2001500     Payroll Check                        815.41
Izard County Medical Center, LLC        FNB-5801             04/03/20       2001501     Payroll Check                        404.97
Izard County Medical Center, LLC        FNB-5801             04/03/20       2001502     Payroll Check                        575.48
Izard County Medical Center, LLC        FNB-5801             04/03/20       2001503     Payroll Check                        243.34
Izard County Medical Center, LLC        FNB-5801             04/03/20       2001504     Payroll Check                      1,259.79
Izard County Medical Center, LLC        FNB-5801             04/03/20       2001505     Payroll Check                      1,536.86
Izard County Medical Center, LLC        FNB-5801             04/03/20       2001506     Payroll Check                        166.82
Izard County Medical Center, LLC        FNB-5801             04/03/20      2001492-2    Payroll Check                      1,000.00
Izard County Medical Center, LLC        FNB-5801             04/03/20        Debit      Izard County Agency                  381.60
Izard County Medical Center, LLC        FNB-5801             04/17/20       2001507     Payroll Check                        935.58
Izard County Medical Center, LLC        FNB-5801             04/17/20       2001508     Payroll Check                      2,846.31
Izard County Medical Center, LLC        FNB-5801             04/17/20       2001509     Payroll Check                        697.17
Izard County Medical Center, LLC        FNB-5801             04/17/20       2001510     Payroll Check                        828.49
Izard County Medical Center, LLC        FNB-5801             04/17/20       2001511     Payroll Check                        894.85
Izard County Medical Center, LLC        FNB-5801             04/17/20       2001512     Payroll Check                      1,124.00
Izard County Medical Center, LLC        FNB-5801             04/17/20       2001513     Payroll Check                        768.31
Izard County Medical Center, LLC        FNB-5801             04/17/20       2001514     Payroll Check                        560.77
Izard County Medical Center, LLC        FNB-5801             04/17/20       2001515     Payroll Check                        509.01
Izard County Medical Center, LLC        FNB-5801             04/17/20       2001516     Payroll Check                        632.39
Izard County Medical Center, LLC        FNB-5801             04/17/20       2001517     Payroll Check                        824.86
Izard County Medical Center, LLC        FNB-5801             04/17/20       2001518     Payroll Check                        605.73
Izard County Medical Center, LLC        FNB-5801             04/17/20       2001519     Payroll Check                        481.87
Izard County Medical Center, LLC        FNB-5801             04/17/20       2001520     Payroll Check                        266.74
Izard County Medical Center, LLC        FNB-5801             04/17/20       2001521     Payroll Check                        339.41
Izard County Medical Center, LLC        FNB-5801             04/17/20       2001522     Payroll Check                        690.97
Izard County Medical Center, LLC        FNB-5801             04/17/20       2001523     Payroll Check                        351.27
Izard County Medical Center, LLC        FNB-5801             04/17/20       2001524     Payroll Check                        715.42
Izard County Medical Center, LLC        FNB-5801             04/17/20       2001525     Payroll Check                        786.17
Izard County Medical Center, LLC        FNB-5801             04/17/20       2001526     Payroll Check                        773.03
Izard County Medical Center, LLC        FNB-5801             04/17/20       2001527     Payroll Check                        565.00
Izard County Medical Center, LLC        FNB-5801             04/17/20       2001528     Payroll Check                      1,000.41
Izard County Medical Center, LLC        FNB-5801             04/17/20       2001529     Payroll Check                        535.64
Izard County Medical Center, LLC        FNB-5801             04/17/20       2001530     Payroll Check                      1,098.77
Izard County Medical Center, LLC        FNB-5801             04/17/20       2001531     Payroll Check                        706.68
Izard County Medical Center, LLC        FNB-5801             04/17/20       2001532     Payroll Check                        455.88
Izard County Medical Center, LLC        FNB-5801             04/17/20       2001533     Payroll Check                        608.97
Izard County Medical Center, LLC        FNB-5801             04/17/20       2001534     Payroll Check                        522.91
Izard County Medical Center, LLC        FNB-5801             04/17/20       2001535     Payroll Check                        443.15
Izard County Medical Center, LLC        FNB-5801             04/17/20       2001536     Payroll Check                        429.18
Izard County Medical Center, LLC        FNB-5801             04/17/20       2001537     Payroll Check                      1,232.11
Izard County Medical Center, LLC        FNB-5801             04/17/20       2001538     Payroll Check                      1,812.58
Izard County Medical Center, LLC        FNB-5801             04/17/20       2001539     Payroll Check                      1,242.68
Izard County Medical Center, LLC        FNB-5801             04/17/20       2001540     Payroll Check                      1,000.78
Izard County Medical Center, LLC        FNB-5801             04/17/20       2001541     Payroll Check                      1,721.63
Izard County Medical Center, LLC        FNB-5801             04/17/20       2001542     Payroll Check                        622.63
Izard County Medical Center, LLC        FNB-5801             04/17/20       2001543     Payroll Check                        520.40
Izard County Medical Center, LLC        FNB-5801             04/17/20       2001544     Payroll Check                      1,118.60
Izard County Medical Center, LLC        FNB-5801             04/17/20       2001545     Payroll Check                        767.75
Izard County Medical Center, LLC        FNB-5801             04/17/20       2001546     Payroll Check                        210.36
Izard County Medical Center, LLC        FNB-5801             04/17/20       2001547     Payroll Check                        967.07
Izard County Medical Center, LLC        FNB-5801             04/17/20       2001548     Payroll Check                        632.80
Izard County Medical Center, LLC        FNB-5801             04/17/20       2001549     Payroll Check                        161.85
Izard County Medical Center, LLC        FNB-5801             04/17/20       2001550     Payroll Check                      2,217.88
Izard County Medical Center, LLC        FNB-5801             04/17/20       2001551     Payroll Check                      1,275.93
Izard County Medical Center, LLC        FNB-5801             04/17/20       2001552     Payroll Check                        968.08
Izard County Medical Center, LLC        FNB-5801             04/17/20       2001553     Payroll Check                      1,306.37
Izard County Medical Center, LLC        FNB-5801             04/17/20       2001554     Payroll Check                      1,597.74
Izard County Medical Center, LLC        FNB-5801             04/17/20       2001555     Payroll Check                        742.92
Izard County Medical Center, LLC        FNB-5801             04/17/20       2001556     Payroll Check                      1,862.17
Izard County Medical Center, LLC        FNB-5801             04/17/20       2001557     Payroll Check                        876.82
Izard County Medical Center, LLC        FNB-5801             04/17/20       2001558     Payroll Check                        733.95
Izard County Medical Center, LLC        FNB-5801             04/17/20       2001559     Payroll Check                        875.45
Izard County Medical Center, LLC        FNB-5801             04/17/20       2001560     Payroll Check                      2,553.80
Izard County Medical Center, LLC        FNB-5801             04/17/20       2001561     Payroll Check                        243.72
Izard County Medical Center, LLC        FNB-5801             04/17/20       2001562     Payroll Check                      1,103.06
Izard County Medical Center, LLC        FNB-5801             04/17/20       2001563     Payroll Check                      1,187.33
Izard County Medical Center, LLC        FNB-5801             04/17/20       2001564     Payroll Check                      1,935.32
Izard County Medical Center, LLC        FNB-5801             04/17/20       2001565     Payroll Check                      1,461.87
Izard County Medical Center, LLC        FNB-5801             04/17/20       2001566     Payroll Check                        471.35
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                                                        CASH DISBURSEMENTS DETAIL(1)

                   Entity                Bank ID               Date      Check Number                          Payee       Amount
Izard County Medical Center, LLC        FNB-5801             04/17/20      2001567      Payroll Check                           811.43
Izard County Medical Center, LLC        FNB-5801             04/17/20      2001568      Payroll Check                           841.67
Izard County Medical Center, LLC        FNB-5801             04/17/20      2001569      Payroll Check                         1,843.97
Izard County Medical Center, LLC        FNB-5801             04/17/20      2001570      Payroll Check                           247.62
Izard County Medical Center, LLC        FNB-5801             04/17/20      2001571      Payroll Check                           909.95
Izard County Medical Center, LLC        FNB-5801             04/17/20      2001572      Payroll Check                            66.54
Izard County Medical Center, LLC        FNB-5801             04/17/20      2001573      Payroll Check                         1,237.64
Izard County Medical Center, LLC        FNB-5801             04/17/20      2001574      Payroll Check                         1,166.78
Izard County Medical Center, LLC        FNB-5801             04/17/20      2001575      Payroll Check                         2,075.63
Izard County Medical Center, LLC        FNB-5801             04/17/20      2001576      Payroll Check                         1,366.66
Izard County Medical Center, LLC        FNB-5801             04/17/20      2001577      Payroll Check                         1,417.62
Izard County Medical Center, LLC        FNB-5801             04/17/20      2001578      Payroll Check                         1,051.06
Izard County Medical Center, LLC        FNB-5801             04/17/20      2001579      Payroll Check                         1,710.44
Izard County Medical Center, LLC        FNB-5801             04/17/20      2001580      Payroll Check                         1,249.23
Izard County Medical Center, LLC        FNB-5801             04/17/20      2001581      Payroll Check                           513.58
Izard County Medical Center, LLC        FNB-5801             04/17/20      2001582      Payroll Check                           693.78
Izard County Medical Center, LLC        FNB-5801             04/17/20      2001583      Payroll Check                           691.49
Izard County Medical Center, LLC        FNB-5801             04/17/20      2001584      Payroll Check                           897.45
Izard County Medical Center, LLC        FNB-5801             04/17/20      2001585      Payroll Check                         1,298.17
Izard County Medical Center, LLC        FNB-5801             04/17/20      2001586      Payroll Check                         2,831.35
Izard County Medical Center, LLC        FNB-5801             04/17/20      2001587      Payroll Check                           671.48
Izard County Medical Center, LLC        FNB-5801             04/17/20      2001588      Payroll Check                           399.57
Izard County Medical Center, LLC        FNB-5801             04/17/20      2001589      Payroll Check                           783.53
Izard County Medical Center, LLC        FNB-5801             04/17/20      2001590      Payroll Check                           277.05
Izard County Medical Center, LLC        FNB-5801             04/17/20      2001591      Payroll Check                         1,213.64
Izard County Medical Center, LLC        FNB-5801             04/17/20      2001592      Payroll Check                         1,506.30
Izard County Medical Center, LLC        FNB-5801             04/17/20        Debit      Izard County Agency                     381.60
Izard County Medical Center, LLC        FNB-5801             04/17/20        Debit      Izard County Billing                  2,444.25
Izard County Medical Center, LLC        FNB-5801             04/29/20        Debit      US Trustee                           10,356.59
Total                                                                                                                       193,299.94

Izard County Medical Center, LLC        FNB-5802             03/18/20        Debit      Arkansas Department of Health            35.00
Izard County Medical Center, LLC        FNB-5802             03/26/20        Debit      Wildhagen, Eric                         283.80
Izard County Medical Center, LLC        FNB-5802             04/02/20        Debit      NFS Leasing Inc                       2,135.96
Izard County Medical Center, LLC        FNB-5802             04/02/20        Debit      Pay Plus AP                              77.23
Izard County Medical Center, LLC        FNB-5802             04/03/20        Debit      Relias Learning                       1,945.40
Izard County Medical Center, LLC        FNB-5802             04/03/20        Debit      Bankcard Fees                           260.44
Izard County Medical Center, LLC        FNB-5802             04/03/20        Debit      Merchant Fees                            22.08
Izard County Medical Center, LLC        FNB-5802             04/03/20       194249      Dr. Met                                 313.50
Izard County Medical Center, LLC        FNB-5802             04/03/20        Debit      First National Bank                       5.00
Izard County Medical Center, LLC        FNB-5802             04/03/20        Debit      Correct Care Inc                     20,000.00
Izard County Medical Center, LLC        FNB-5802             04/03/20        Debit      Medline Industries Inc                2,169.51
Izard County Medical Center, LLC        FNB-5802             04/03/20        Debit      Staples                                 624.94
Izard County Medical Center, LLC        FNB-5802             04/03/20        Debit      First National Bank                      45.00
Izard County Medical Center, LLC        FNB-5802             04/07/20        Debit      AmerisourceBergen                       164.74
Izard County Medical Center, LLC        FNB-5802             04/07/20        Debit      Siemens Medical Solutions USA         1,047.02
Izard County Medical Center, LLC        FNB-5802             04/07/20        Debit      McKesson Corp                         2,709.73
Izard County Medical Center, LLC        FNB-5802             04/08/20        Debit      First National Bank                      15.00
Izard County Medical Center, LLC        FNB-5802             04/08/20        Debit      AmerisourceBergen                     2,015.00
Izard County Medical Center, LLC        FNB-5802             04/08/20        Debit      First National Bank                      15.00
Izard County Medical Center, LLC        FNB-5802             04/08/20        Debit      Correct Care Inc                     10,000.00
Izard County Medical Center, LLC        FNB-5802             04/08/20        Debit      First National Bank                      15.00
Izard County Medical Center, LLC        FNB-5802             04/08/20       194279      Moody, Crystal                           26.35
Izard County Medical Center, LLC        FNB-5802             04/08/20       194260      Copeland, Denny                          36.63
Izard County Medical Center, LLC        FNB-5802             04/08/20       194263      FRANKS, RUSTY                            47.73
Izard County Medical Center, LLC        FNB-5802             04/08/20       194278      KEARBY, NATASHA                           5.00
Izard County Medical Center, LLC        FNB-5802             04/08/20       194281      TBD                                       5.00
Izard County Medical Center, LLC        FNB-5802             04/08/20       194271      Steward, Blayne                          55.00
Izard County Medical Center, LLC        FNB-5802             04/08/20       194257      Aniton, Anthony DO PLLC                 150.00
Izard County Medical Center, LLC        FNB-5802             04/08/20       194259      CLEANER SOLUTIONS                       150.00
Izard County Medical Center, LLC        FNB-5802             04/08/20       194274      Cintas                                  165.58
Izard County Medical Center, LLC        FNB-5802             04/08/20       194276      HICKS, DANA                             197.54
Izard County Medical Center, LLC        FNB-5802             04/08/20       194269      TBD                                     205.35
Izard County Medical Center, LLC        FNB-5802             04/08/20       194282      TBD                                     215.58
Izard County Medical Center, LLC        FNB-5802             04/08/20       194275      American Paper & Twine Co               235.37
Izard County Medical Center, LLC        FNB-5802             04/08/20       194273      Briggs Healthcare                       348.00
Izard County Medical Center, LLC        FNB-5802             04/08/20       194262      FRANKS, CATHY                           383.26
Izard County Medical Center, LLC        FNB-5802             04/08/20       194284      TBD                                     490.35
Izard County Medical Center, LLC        FNB-5802             04/08/20       194265      Armstrong                               568.08
Izard County Medical Center, LLC        FNB-5802             04/08/20       194280      RAY E. STAHL, M.D., P.A.                720.00
Izard County Medical Center, LLC        FNB-5802             04/08/20       194267      Aspyra LLC                              812.20
Izard County Medical Center, LLC        FNB-5802             04/08/20       194272      Pierce, Jame MD                       1,005.00
Izard County Medical Center, LLC        FNB-5802             04/08/20       194283      TBD                                   1,085.60
Izard County Medical Center, LLC        FNB-5802             04/08/20       194261      CITY OF CALICO ROCK                   1,245.82
Izard County Medical Center, LLC        FNB-5802             04/08/20       194285      TBD                                   1,874.00
Izard County Medical Center, LLC        FNB-5802             04/08/20       194266      Knight, Beth MD                       2,000.00
Izard County Medical Center, LLC        FNB-5802             04/08/20       194270      Mike Demass Inc                       2,408.26
Izard County Medical Center, LLC        FNB-5802             04/08/20       194268      Lane, Robert C, MD                    5,000.00
Izard County Medical Center, LLC        FNB-5802             04/08/20       194277      BAXTER REGIONAL LAB CULTURES          5,000.00
Izard County Medical Center, LLC        FNB-5802             04/08/20       194264      Emergence Teleradiology               5,277.00
Izard County Medical Center, LLC        FNB-5802             04/09/20        Debit      First National Bank                       5.00
Izard County Medical Center, LLC        FNB-5802             04/09/20        Debit      First National Bank                       5.00
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CASE NAME:                         Americore Holdings, LLC, et al.                                                                        Disbursements

CASE NUMBER:                       19-61608-grs (Jointly Administered)

                                                        CASH DISBURSEMENTS DETAIL(1)

                   Entity                Bank ID               Date      Check Number                        Payee                      Amount
Izard County Medical Center, LLC        FNB-5802             04/09/20        Debit      First National Bank                                    5.00
Izard County Medical Center, LLC        FNB-5802             04/09/20        Debit      First National Bank                                   50.00
Izard County Medical Center, LLC        FNB-5802             04/09/20        Debit      First National Bank                                   50.00
Izard County Medical Center, LLC        FNB-5802             04/09/20        Debit      First National Bank                                    5.00
Izard County Medical Center, LLC        FNB-5802             04/09/20        Debit      First National Bank                                    5.00
Izard County Medical Center, LLC        FNB-5802             04/09/20        Debit      First National Bank                                    5.00
Izard County Medical Center, LLC        FNB-5802             04/09/20        Debit      First National Bank                                    5.00
Izard County Medical Center, LLC        FNB-5802             04/09/20        Debit      First National Bank                                    5.00
Izard County Medical Center, LLC        FNB-5802             04/09/20        Debit      First National Bank                                    5.00
Izard County Medical Center, LLC        FNB-5802             04/09/20        Debit      First National Bank                                    5.00
Izard County Medical Center, LLC        FNB-5802             04/09/20        Debit      First National Bank                                    5.00
Izard County Medical Center, LLC        FNB-5802             04/09/20        Debit      First National Bank                                    5.00
Izard County Medical Center, LLC        FNB-5802             04/09/20        Debit      IRS                                               23,937.35
Izard County Medical Center, LLC        FNB-5802             04/09/20        Debit      Matrix Trust Company                                 960.24
Izard County Medical Center, LLC        FNB-5802             04/09/20        Debit      Pay Plus AP                                           10.94
Izard County Medical Center, LLC        FNB-5802             04/09/20        Debit      First National Bank                                    5.00
Izard County Medical Center, LLC        FNB-5802             04/09/20        Debit      First National Bank                                    5.00
Izard County Medical Center, LLC        FNB-5802             04/09/20        Debit      First National Bank                                    5.00
Izard County Medical Center, LLC        FNB-5802             04/09/20        Debit      First National Bank                                    5.00
Izard County Medical Center, LLC        FNB-5802             04/09/20        Debit      First National Bank                                    5.00
Izard County Medical Center, LLC        FNB-5802             04/09/20        Debit      First National Bank                                    5.00
Izard County Medical Center, LLC        FNB-5802             04/09/20        Debit      First National Bank                                    5.00
Izard County Medical Center, LLC        FNB-5802             04/09/20        Debit      First National Bank                                    5.00
Izard County Medical Center, LLC        FNB-5802             04/09/20        Debit      First National Bank                                    5.00
Izard County Medical Center, LLC        FNB-5802             04/09/20        Debit      First National Bank                                    5.00
Izard County Medical Center, LLC        FNB-5802             04/09/20        Debit      First National Bank                                    5.00
Izard County Medical Center, LLC        FNB-5802             04/09/20        Debit      First National Bank                                    5.00
Izard County Medical Center, LLC        FNB-5802             04/09/20        Debit      First National Bank                                    5.00
Izard County Medical Center, LLC        FNB-5802             04/09/20        Debit      First National Bank                                    5.00
Izard County Medical Center, LLC        FNB-5802             04/13/20        Debit      Triton HR                                          1,775.57
Izard County Medical Center, LLC        FNB-5802             04/13/20        Debit      First National Bank                                   15.00
Izard County Medical Center, LLC        FNB-5802             04/13/20        Debit      Correct Care Inc                                  10,000.00
Izard County Medical Center, LLC        FNB-5802             04/13/20        Debit      First National Bank                                   15.00
Izard County Medical Center, LLC        FNB-5802             04/16/20        Debit      Correct Care Inc                                  20,000.00
Izard County Medical Center, LLC        FNB-5802             04/16/20        Debit      First National Bank                                   15.00
Izard County Medical Center, LLC        FNB-5802             04/17/20        Debit      Arkansas DFA Revenue                               8,078.59
Izard County Medical Center, LLC        FNB-5802             04/20/20        Debit      Baxter Regional Medical Center                       259.43
Izard County Medical Center, LLC        FNB-5802             04/20/20        Debit      First National Bank                                   15.00
Izard County Medical Center, LLC        FNB-5802             04/22/20        Debit      Matrix Trust Company                                 939.74
Izard County Medical Center, LLC        FNB-5802             04/22/20        Credit     Walmart                                              (57.00)
Izard County Medical Center, LLC        FNB-5802             04/23/20        Credit     Walmart                                              (20.08)
Izard County Medical Center, LLC        FNB-5802             04/23/20        Debit      IRS                                               22,308.40
Izard County Medical Center, LLC        FNB-5802             04/23/20        Debit      Pay Plus AP                                           11.78
Izard County Medical Center, LLC        FNB-5802             04/23/20        Debit      NFS Leasing Inc                                    2,029.49
Izard County Medical Center, LLC        FNB-5802             04/23/20        Debit      First National Bank                                   15.00
Izard County Medical Center, LLC        FNB-5802             04/23/20        Debit      City of Calico Rock                               18,000.00
Izard County Medical Center, LLC        FNB-5802             04/23/20        Debit      First National Bank                                   15.00
Izard County Medical Center, LLC        FNB-5802             04/24/20       194360      Park Street Pharmacy                                  15.60
Izard County Medical Center, LLC        FNB-5802             04/24/20        Debit      First National Bank                                    5.00
Izard County Medical Center, LLC        FNB-5802             04/24/20       194370      Wildhagen, Eric                                       30.53
Izard County Medical Center, LLC        FNB-5802             04/24/20        Debit      First National Bank                                    5.00
Izard County Medical Center, LLC        FNB-5802             04/24/20       194347      Fort Smith Medical & Janitorial Supply Inc            50.65
Izard County Medical Center, LLC        FNB-5802             04/24/20        Debit      First National Bank                                    5.00
Izard County Medical Center, LLC        FNB-5802             04/24/20       194331      B&B Supply Stores LLC                                 65.85
Izard County Medical Center, LLC        FNB-5802             04/24/20        Debit      First National Bank                                    5.00
Izard County Medical Center, LLC        FNB-5802             04/24/20       194350      Getinge USA LLC                                      107.41
Izard County Medical Center, LLC        FNB-5802             04/24/20        Debit      First National Bank                                    5.00
Izard County Medical Center, LLC        FNB-5802             04/24/20       194363      Shred It USA                                         108.00
Izard County Medical Center, LLC        FNB-5802             04/24/20        Debit      First National Bank                                    5.00
Izard County Medical Center, LLC        FNB-5802             04/24/20       194368      Verizon                                              137.55
Izard County Medical Center, LLC        FNB-5802             04/24/20        Debit      First National Bank                                    5.00
Izard County Medical Center, LLC        FNB-5802             04/24/20       194336      Big Branch                                           141.70
Izard County Medical Center, LLC        FNB-5802             04/24/20        Debit      First National Bank                                    5.00
Izard County Medical Center, LLC        FNB-5802             04/24/20       194327      Affordable Medical                                   154.00
Izard County Medical Center, LLC        FNB-5802             04/24/20        Debit      First National Bank                                    5.00
Izard County Medical Center, LLC        FNB-5802             04/24/20       194369      Washington Auto Parts                                162.04
Izard County Medical Center, LLC        FNB-5802             04/24/20        Debit      First National Bank                                    5.00
Izard County Medical Center, LLC        FNB-5802             04/24/20       194349      GE Healthcare                                        187.50
Izard County Medical Center, LLC        FNB-5802             04/24/20        Debit      First National Bank                                    5.00
Izard County Medical Center, LLC        FNB-5802             04/24/20       194371      Yelcot                                               215.79
Izard County Medical Center, LLC        FNB-5802             04/24/20        Debit      First National Bank                                    5.00
Izard County Medical Center, LLC        FNB-5802             04/24/20       194340      City of Calico Rock                                  216.26
Izard County Medical Center, LLC        FNB-5802             04/24/20        Debit      First National Bank                                    5.00
Izard County Medical Center, LLC        FNB-5802             04/24/20       194341      Diamond Diagnostics Inc                              218.52
Izard County Medical Center, LLC        FNB-5802             04/24/20        Debit      First National Bank                                    5.00
Izard County Medical Center, LLC        FNB-5802             04/24/20       194348      Franks, Cathy, RN                                    223.36
Izard County Medical Center, LLC        FNB-5802             04/24/20        Debit      First National Bank                                    5.00
Izard County Medical Center, LLC        FNB-5802             04/24/20       194366      That Print Shop                                      225.68
Izard County Medical Center, LLC        FNB-5802             04/24/20        Debit      First National Bank                                    5.00
Izard County Medical Center, LLC        FNB-5802             04/24/20       194329      American Welding Gas                                 256.31
Izard County Medical Center, LLC        FNB-5802             04/24/20        Debit      First National Bank                                    5.00
Izard County Medical Center, LLC        FNB-5802             04/24/20       194373      NCA Biomedical                                       313.50
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CASE NAME:                             Americore Holdings, LLC, et al.                                                              Disbursements

CASE NUMBER:                           19-61608-grs (Jointly Administered)

                                                            CASH DISBURSEMENTS DETAIL(1)

                   Entity                    Bank ID               Date      Check Number                         Payee            Amount
Izard County Medical Center, LLC            FNB-5802             04/24/20        Debit      First National Bank                           5.00
Izard County Medical Center, LLC            FNB-5802             04/24/20       194326      Ability Network, Inc                        344.32
Izard County Medical Center, LLC            FNB-5802             04/24/20        Debit      First National Bank                           5.00
Izard County Medical Center, LLC            FNB-5802             04/24/20       194332      CR Bard Inc                                 456.16
Izard County Medical Center, LLC            FNB-5802             04/24/20        Debit      First National Bank                           5.00
Izard County Medical Center, LLC            FNB-5802             04/24/20       194339      Cintas                                      496.74
Izard County Medical Center, LLC            FNB-5802             04/24/20        Debit      First National Bank                           5.00
Izard County Medical Center, LLC            FNB-5802             04/24/20       194342      Dockins, Sandras                            497.00
Izard County Medical Center, LLC            FNB-5802             04/24/20        Debit      First National Bank                           5.00
Izard County Medical Center, LLC            FNB-5802             04/24/20       194330      AR Dept of Workforce Services               502.00
Izard County Medical Center, LLC            FNB-5802             04/24/20        Debit      First National Bank                           5.00
Izard County Medical Center, LLC            FNB-5802             04/24/20       194334      Baxter Regional Medical Center              769.41
Izard County Medical Center, LLC            FNB-5802             04/24/20        Debit      First National Bank                           5.00
Izard County Medical Center, LLC            FNB-5802             04/24/20       194328      American Red Cross                          774.20
Izard County Medical Center, LLC            FNB-5802             04/24/20        Debit      First National Bank                           5.00
Izard County Medical Center, LLC            FNB-5802             04/24/20       194338      Briggs Healthcare                           817.95
Izard County Medical Center, LLC            FNB-5802             04/24/20        Debit      First National Bank                           5.00
Izard County Medical Center, LLC            FNB-5802             04/24/20       194337      Black Hills Energy                          832.65
Izard County Medical Center, LLC            FNB-5802             04/24/20        Debit      First National Bank                           5.00
Izard County Medical Center, LLC            FNB-5802             04/24/20       194374      Methvin Sanitation                          893.95
Izard County Medical Center, LLC            FNB-5802             04/24/20        Debit      First National Bank                           5.00
Izard County Medical Center, LLC            FNB-5802             04/24/20       194333      Batesville Typewrite Co Inc                 945.03
Izard County Medical Center, LLC            FNB-5802             04/24/20        Debit      First National Bank                           5.00
Izard County Medical Center, LLC            FNB-5802             04/24/20       194343      EMD Millpore Corporation                  1,013.32
Izard County Medical Center, LLC            FNB-5802             04/24/20        Debit      First National Bank                           5.00
Izard County Medical Center, LLC            FNB-5802             04/24/20       194352      Ferguson, Katherine, RD, LD               1,050.00
Izard County Medical Center, LLC            FNB-5802             04/24/20        Debit      First National Bank                           5.00
Izard County Medical Center, LLC            FNB-5802             04/24/20       194362      Shared Medical Services Inc               1,125.00
Izard County Medical Center, LLC            FNB-5802             04/24/20        Debit      First National Bank                           5.00
Izard County Medical Center, LLC            FNB-5802             04/24/20       194357      Medline Industries Inc                    1,191.01
Izard County Medical Center, LLC            FNB-5802             04/24/20        Debit      First National Bank                           5.00
Izard County Medical Center, LLC            FNB-5802             04/24/20       194359      Mike Demass Inc                           1,324.17
Izard County Medical Center, LLC            FNB-5802             04/24/20        Debit      First National Bank                           5.00
Izard County Medical Center, LLC            FNB-5802             04/24/20       194344      Emergence Teleradiology                   1,353.00
Izard County Medical Center, LLC            FNB-5802             04/24/20        Debit      First National Bank                           5.00
Izard County Medical Center, LLC            FNB-5802             04/24/20       194346      Esutures.com                              1,354.00
Izard County Medical Center, LLC            FNB-5802             04/24/20        Debit      First National Bank                           5.00
Izard County Medical Center, LLC            FNB-5802             04/24/20       194367      UNUM Life Insurance                       1,363.14
Izard County Medical Center, LLC            FNB-5802             04/24/20        Debit      First National Bank                           5.00
Izard County Medical Center, LLC            FNB-5802             04/24/20       194356      Medical Waste Services, LLC               1,390.00
Izard County Medical Center, LLC            FNB-5802             04/24/20        Debit      First National Bank                           5.00
Izard County Medical Center, LLC            FNB-5802             04/24/20       194361      Pierce, Jame MD                           1,745.00
Izard County Medical Center, LLC            FNB-5802             04/24/20        Debit      First National Bank                           5.00
Izard County Medical Center, LLC            FNB-5802             04/24/20       194351      Great American Financial Services         1,759.78
Izard County Medical Center, LLC            FNB-5802             04/24/20        Debit      First National Bank                           5.00
Izard County Medical Center, LLC            FNB-5802             04/24/20       194353      Knight, Beth MD                           2,000.00
Izard County Medical Center, LLC            FNB-5802             04/24/20        Debit      First National Bank                           5.00
Izard County Medical Center, LLC            FNB-5802             04/24/20       194372      Zimed Inc                                 2,632.87
Izard County Medical Center, LLC            FNB-5802             04/24/20        Debit      First National Bank                           5.00
Izard County Medical Center, LLC            FNB-5802             04/24/20       194355      McKesson Corp                             2,955.46
Izard County Medical Center, LLC            FNB-5802             04/24/20        Debit      First National Bank                           5.00
Izard County Medical Center, LLC            FNB-5802             04/24/20       194365      Sysco                                     4,079.10
Izard County Medical Center, LLC            FNB-5802             04/24/20        Debit      First National Bank                           5.00
Izard County Medical Center, LLC            FNB-5802             04/24/20       194325      Health Information Systems                4,602.26
Izard County Medical Center, LLC            FNB-5802             04/24/20        Debit      First National Bank                           5.00
Izard County Medical Center, LLC            FNB-5802             04/24/20       194335      Baxter Regional Medical Center            5,000.00
Izard County Medical Center, LLC            FNB-5802             04/24/20        Debit      First National Bank                           5.00
Izard County Medical Center, LLC            FNB-5802             04/24/20       194354      Lane, Robert C, MD                        5,000.00
Izard County Medical Center, LLC            FNB-5802             04/24/20        Debit      First National Bank                           5.00
Izard County Medical Center, LLC            FNB-5802             04/24/20       194364      Strategy Health Inc                       7,433.00
Izard County Medical Center, LLC            FNB-5802             04/24/20        Debit      First National Bank                           5.00
Izard County Medical Center, LLC            FNB-5802             04/24/20       194345      Entergy                                  10,864.98
Izard County Medical Center, LLC            FNB-5802             04/24/20        Debit      First National Bank                           5.00
Izard County Medical Center, LLC            FNB-5802             04/27/20        Debit      Correct Care Inc                         20,000.00
Izard County Medical Center, LLC            FNB-5802             04/27/20        Debit      First National Bank                          15.00
Izard County Medical Center, LLC            FNB-5802             04/28/20        Debit      Steris Corporation                          184.80
Izard County Medical Center, LLC            FNB-5802             04/28/20        Debit      First National Bank                          15.00
Izard County Medical Center, LLC            FNB-5802             04/28/20        Debit      AmerisourceBergen                         1,000.00
Izard County Medical Center, LLC            FNB-5802             04/28/20        Debit      First National Bank                          15.00
Izard County Medical Center, LLC            FNB-5802             04/28/20        Debit      Siemens Medical Solutions USA             1,372.60
Izard County Medical Center, LLC            FNB-5802             04/28/20        Debit      First National Bank                          15.00
Izard County Medical Center, LLC            FNB-5802             04/28/20        Debit      Medline Industries Inc                    1,935.36
Izard County Medical Center, LLC            FNB-5802             04/28/20        Debit      First National Bank                          15.00
Izard County Medical Center, LLC            FNB-5802             04/30/20        Debit      Pay Plus AP                                   6.64
Total                                                                                                                               276,381.65

St. Alexius Hospital Corporation # 1        BOA-7479             04/02/20        Debit      Bankcard Mtot Discount                    1,630.02
St. Alexius Hospital Corporation # 1        BOA-7479             04/08/20        Debit      Bank of America                              10.00
St. Alexius Hospital Corporation # 1        BOA-7479             04/08/20        Debit      Bank of America                              10.00
St. Alexius Hospital Corporation # 1        BOA-7479             04/15/20        Debit      Bank of America                             883.84
Total                                                                                                                                 2,533.86
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CASE NAME:                             Americore Holdings, LLC, et al.                                                                 Disbursements

CASE NUMBER:                           19-61608-grs (Jointly Administered)

                                                            CASH DISBURSEMENTS DETAIL(1)

                     Entity                  Bank ID               Date      Check Number                       Payee                 Amount
St. Alexius Hospital Corporation # 1        BOA-7592             04/02/20        Debit    Bank of America                                  19.95
Total                                                                                                                                      19.95

St. Alexius Hospital Corporation # 1        USB-0141             03/30/20       700021     EBSCO                                         4,945.00
St. Alexius Hospital Corporation # 1        USB-0141             04/08/20       700022     Interstate Battery System of St Louis           216.68
St. Alexius Hospital Corporation # 1        USB-0141             04/09/20       700023     Presort Inc                                     482.30
St. Alexius Hospital Corporation # 1        USB-0141             04/13/20       700051     Name Redacted                                   167.00
St. Alexius Hospital Corporation # 1        USB-0141             04/13/20       700081     Name Redacted                                   394.00
St. Alexius Hospital Corporation # 1        USB-0141             04/13/20       700078     Name Redacted                                   472.00
St. Alexius Hospital Corporation # 1        USB-0141             04/13/20       700071     Name Redacted                                   472.00
St. Alexius Hospital Corporation # 1        USB-0141             04/13/20       700041     Name Redacted                                   533.00
St. Alexius Hospital Corporation # 1        USB-0141             04/13/20       700076     Name Redacted                                   553.00
St. Alexius Hospital Corporation # 1        USB-0141             04/13/20       700077     Name Redacted                                   586.00
St. Alexius Hospital Corporation # 1        USB-0141             04/13/20       700037     Name Redacted                                   591.00
St. Alexius Hospital Corporation # 1        USB-0141             04/13/20       700059     Name Redacted                                   619.00
St. Alexius Hospital Corporation # 1        USB-0141             04/13/20       700052     Name Redacted                                   810.00
St. Alexius Hospital Corporation # 1        USB-0141             04/13/20       700043     Name Redacted                                   814.00
St. Alexius Hospital Corporation # 1        USB-0141             04/13/20       700027     Name Redacted                                   873.00
St. Alexius Hospital Corporation # 1        USB-0141             04/13/20       700067     Name Redacted                                   911.00
St. Alexius Hospital Corporation # 1        USB-0141             04/13/20       700033     Name Redacted                                   962.00
St. Alexius Hospital Corporation # 1        USB-0141             04/13/20       700040     Name Redacted                                 1,000.00
St. Alexius Hospital Corporation # 1        USB-0141             04/13/20       700024     Name Redacted                                 1,106.00
St. Alexius Hospital Corporation # 1        USB-0141             04/13/20       700064     Name Redacted                                 1,150.00
St. Alexius Hospital Corporation # 1        USB-0141             04/13/20       700038     Name Redacted                                 1,217.00
St. Alexius Hospital Corporation # 1        USB-0141             04/13/20       700050     Name Redacted                                 1,405.00
St. Alexius Hospital Corporation # 1        USB-0141             04/13/20       700062     Name Redacted                                 1,458.00
St. Alexius Hospital Corporation # 1        USB-0141             04/13/20       700057     Name Redacted                                 1,536.00
St. Alexius Hospital Corporation # 1        USB-0141             04/13/20       700072     Name Redacted                                 1,579.10
St. Alexius Hospital Corporation # 1        USB-0141             04/13/20       700080     Name Redacted                                 1,590.00
St. Alexius Hospital Corporation # 1        USB-0141             04/13/20       700025     Name Redacted                                 1,590.00
St. Alexius Hospital Corporation # 1        USB-0141             04/13/20       700044     Name Redacted                                 1,590.00
St. Alexius Hospital Corporation # 1        USB-0141             04/13/20       700061     Name Redacted                                 1,590.00
St. Alexius Hospital Corporation # 1        USB-0141             04/13/20       700049     Name Redacted                                 1,694.00
St. Alexius Hospital Corporation # 1        USB-0141             04/13/20       700075     Name Redacted                                 1,835.00
St. Alexius Hospital Corporation # 1        USB-0141             04/13/20       700054     Name Redacted                                 1,908.00
St. Alexius Hospital Corporation # 1        USB-0141             04/13/20       700030     Name Redacted                                 2,023.00
St. Alexius Hospital Corporation # 1        USB-0141             04/13/20       700066     Name Redacted                                 2,023.00
St. Alexius Hospital Corporation # 1        USB-0141             04/13/20       700047     Name Redacted                                 2,023.00
St. Alexius Hospital Corporation # 1        USB-0141             04/13/20       700053     Name Redacted                                 2,255.00
St. Alexius Hospital Corporation # 1        USB-0141             04/13/20       700074     Name Redacted                                 2,287.00
St. Alexius Hospital Corporation # 1        USB-0141             04/13/20       700055     Name Redacted                                 2,368.00
St. Alexius Hospital Corporation # 1        USB-0141             04/13/20       700063     Name Redacted                                 2,379.00
St. Alexius Hospital Corporation # 1        USB-0141             04/13/20       700036     Name Redacted                                 2,399.00
St. Alexius Hospital Corporation # 1        USB-0141             04/13/20       700083     Name Redacted                                 2,474.00
St. Alexius Hospital Corporation # 1        USB-0141             04/13/20       700073     Name Redacted                                 2,477.00
St. Alexius Hospital Corporation # 1        USB-0141             04/13/20       700068     Name Redacted                                 2,492.00
St. Alexius Hospital Corporation # 1        USB-0141             04/13/20       700069     Name Redacted                                 2,492.00
St. Alexius Hospital Corporation # 1        USB-0141             04/13/20       700082     Name Redacted                                 2,492.00
St. Alexius Hospital Corporation # 1        USB-0141             04/13/20       700029     Name Redacted                                 2,492.00
St. Alexius Hospital Corporation # 1        USB-0141             04/13/20       700028     Name Redacted                                 2,492.00
St. Alexius Hospital Corporation # 1        USB-0141             04/13/20       700056     Name Redacted                                 2,493.00
St. Alexius Hospital Corporation # 1        USB-0141             04/13/20       700079     Name Redacted                                 2,493.00
St. Alexius Hospital Corporation # 1        USB-0141             04/13/20       700048     Name Redacted                                 2,924.00
St. Alexius Hospital Corporation # 1        USB-0141             04/13/20       700046     Name Redacted                                 2,963.00
St. Alexius Hospital Corporation # 1        USB-0141             04/13/20       700039     Name Redacted                                 3,017.00
St. Alexius Hospital Corporation # 1        USB-0141             04/13/20       700034     Name Redacted                                 3,020.00
St. Alexius Hospital Corporation # 1        USB-0141             04/13/20       700035     Name Redacted                                 3,020.00
St. Alexius Hospital Corporation # 1        USB-0141             04/13/20       700026     Name Redacted                                 3,055.00
St. Alexius Hospital Corporation # 1        USB-0141             04/13/20       700031     Name Redacted                                 3,055.00
St. Alexius Hospital Corporation # 1        USB-0141             04/13/20       700065     Name Redacted                                 3,055.00
St. Alexius Hospital Corporation # 1        USB-0141             04/13/20       700070     Name Redacted                                 3,055.00
St. Alexius Hospital Corporation # 1        USB-0141             04/13/20       700042     Name Redacted                                 3,063.00
St. Alexius Hospital Corporation # 1        USB-0141             04/13/20       700084     Name Redacted                                 3,089.00
St. Alexius Hospital Corporation # 1        USB-0141             04/13/20       700060     Name Redacted                                 3,270.00
St. Alexius Hospital Corporation # 1        USB-0141             04/13/20       700058     Name Redacted                                 3,373.00
St. Alexius Hospital Corporation # 1        USB-0141             04/13/20       700045     Name Redacted                                 3,437.00
St. Alexius Hospital Corporation # 1        USB-0141             04/13/20       700032     Name Redacted                                 3,582.00
St. Alexius Hospital Corporation # 1        USB-0141             04/28/20       700090     Name Redacted                                 1,590.00
St. Alexius Hospital Corporation # 1        USB-0141             04/28/20       700089     Name Redacted                                 1,907.90
St. Alexius Hospital Corporation # 1        USB-0141             04/13/20       Various    Scholarship disbursement                   (121,635.00)
Total                                                                                                                                    5,643.98

St. Alexius Hospital Corporation # 1        USB-0910             04/01/20        Debit     US Bank                                           8.00
Total                                                                                                                                        8.00

St. Alexius Hospital Corporation # 1        USB-6860             04/14/20        Debit     US Bank                                       4,929.77
Total                                                                                                                                    4,929.77

St. Alexius Hospital Corporation # 1        USB-6886             03/18/20       200735     Atlantic Personnel                            1,717.00
St. Alexius Hospital Corporation # 1        USB-6886             03/18/20       200740     AmerisourceBergen                            14,248.96
St. Alexius Hospital Corporation # 1        USB-6886             03/18/20       200741     Bayer Healthcare LLC                          4,402.47
St. Alexius Hospital Corporation # 1        USB-6886             03/18/20       200780     Fisher Scientific                             8,755.98
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CASE NAME:                             Americore Holdings, LLC, et al.                                                                 Disbursements

CASE NUMBER:                           19-61608-grs (Jointly Administered)

                                                            CASH DISBURSEMENTS DETAIL(1)

                     Entity                  Bank ID               Date      Check Number                        Payee                Amount
St. Alexius Hospital Corporation # 1        USB-6886             04/01/20        Wire       Sysco                                        4,239.44
St. Alexius Hospital Corporation # 1        USB-6886             04/01/20        Wire       Bayer Healthcare LLC                         4,402.47
St. Alexius Hospital Corporation # 1        USB-6886             04/01/20        Wire       AmerisourceBergen                           14,248.96
St. Alexius Hospital Corporation # 1        USB-6886             04/03/20       200779      Republic Services                              637.69
St. Alexius Hospital Corporation # 1        USB-6886             04/03/20        Wire       Sysco                                        2,781.93
St. Alexius Hospital Corporation # 1        USB-6886             04/03/20        Wire       Alban Scientific                             4,460.10
St. Alexius Hospital Corporation # 1        USB-6886             04/03/20        Wire       Specialists in Anesthesia PC                20,000.00
St. Alexius Hospital Corporation # 1        USB-6886             04/03/20        Wire       Aya Healthcare Inc                          28,815.25
St. Alexius Hospital Corporation # 1        USB-6886             04/03/20        Wire       The Kings Midwest Division LLC              42,000.00
St. Alexius Hospital Corporation # 1        USB-6886             04/03/20        Wire       Western Healthcare                          46,000.00
St. Alexius Hospital Corporation # 1        USB-6886             04/03/20        Wire       Allied Benefits                            128,631.68
St. Alexius Hospital Corporation # 1        USB-6886             04/07/20        Wire       Alban Scientific                             6,071.48
St. Alexius Hospital Corporation # 1        USB-6886             04/07/20        Wire       Ortho-Clinical Diagnostics                   7,449.07
St. Alexius Hospital Corporation # 1        USB-6886             04/07/20        Wire       Fisher Scientific                            8,755.98
St. Alexius Hospital Corporation # 1        USB-6886             04/08/20        Wire       Sysco                                        3,639.95
St. Alexius Hospital Corporation # 1        USB-6886             04/10/20       200808      Ameren Missouri                             10,737.39
St. Alexius Hospital Corporation # 1        USB-6886             04/10/20       200809      Ameren Missouri                                134.59
St. Alexius Hospital Corporation # 1        USB-6886             04/10/20       200810      Ameren Missouri                                154.88
St. Alexius Hospital Corporation # 1        USB-6886             04/10/20       200811      Ameren Missouri                                 81.72
St. Alexius Hospital Corporation # 1        USB-6886             04/10/20       200812      Ameren Missouri                                 74.04
St. Alexius Hospital Corporation # 1        USB-6886             04/10/20       200813      Ameren Missouri                                368.17
St. Alexius Hospital Corporation # 1        USB-6886             04/10/20       200814      Ameren Missouri                             10,966.01
St. Alexius Hospital Corporation # 1        USB-6886             04/10/20       200815      Ameren Missouri                                509.39
St. Alexius Hospital Corporation # 1        USB-6886             04/10/20       200817      Verizon                                      1,140.63
St. Alexius Hospital Corporation # 1        USB-6886             04/10/20        Wire       Brossett Corp                                1,120.00
St. Alexius Hospital Corporation # 1        USB-6886             04/10/20        Wire       AmerisourceBergen                           11,938.80
St. Alexius Hospital Corporation # 1        USB-6886             04/10/20        Wire       Aya Healthcare Inc                          27,736.88
St. Alexius Hospital Corporation # 1        USB-6886             04/10/20        Wire       The Kings Midwest Division LLC              42,000.00
St. Alexius Hospital Corporation # 1        USB-6886             04/10/20        Wire       Western Healthcare                          46,000.00
St. Alexius Hospital Corporation # 1        USB-6886             04/10/20        Wire       Hub International Midwest                   49,600.00
St. Alexius Hospital Corporation # 1        USB-6886             04/10/20        Wire       Allied Benefits                             87,435.07
St. Alexius Hospital Corporation # 1        USB-6886             04/13/20       200819      AT&T                                           510.10
St. Alexius Hospital Corporation # 1        USB-6886             04/13/20        Wire       Sysco                                        2,407.26
St. Alexius Hospital Corporation # 1        USB-6886             04/13/20        Wire       Specialists in Anesthesia PC                20,000.00
St. Alexius Hospital Corporation # 1        USB-6886             04/16/20        Wire       Sysco                                        3,352.75
St. Alexius Hospital Corporation # 1        USB-6886             04/17/20        Wire       AmerisourceBergen                            6,955.49
St. Alexius Hospital Corporation # 1        USB-6886             04/17/20        Wire       Alban Scientific                            27,282.52
St. Alexius Hospital Corporation # 1        USB-6886             04/20/20       200803      Ameren Missouri                                227.11
St. Alexius Hospital Corporation # 1        USB-6886             04/20/20       200804      Ameren Missouri                                 26.25
St. Alexius Hospital Corporation # 1        USB-6886             04/20/20       200805      Ameren Missouri                                155.53
St. Alexius Hospital Corporation # 1        USB-6886             04/20/20       200806      Ameren Missouri                                 58.17
St. Alexius Hospital Corporation # 1        USB-6886             04/20/20       200807      Ameren Missouri                                159.65
St. Alexius Hospital Corporation # 1        USB-6886             04/20/20       200847      Abbott Ambulance                               261.80
St. Alexius Hospital Corporation # 1        USB-6886             04/20/20       200849      American Boiler & Mechanical                   240.00
St. Alexius Hospital Corporation # 1        USB-6886             04/20/20       200850      American Red Cross                           1,275.00
St. Alexius Hospital Corporation # 1        USB-6886             04/20/20       200851      Angio Dynamics                                 223.50
St. Alexius Hospital Corporation # 1        USB-6886             04/20/20       200853      Bohhensteihl, Greta                            600.00
St. Alexius Hospital Corporation # 1        USB-6886             04/20/20       200855      Cardinal Health                                 33.11
St. Alexius Hospital Corporation # 1        USB-6886             04/20/20       200856      Central Paper Stock                              5.00
St. Alexius Hospital Corporation # 1        USB-6886             04/20/20       200857      Chemtron                                       998.54
St. Alexius Hospital Corporation # 1        USB-6886             04/20/20       200858      Conmed                                         468.76
St. Alexius Hospital Corporation # 1        USB-6886             04/20/20       200859      Curbell Inc                                    461.63
St. Alexius Hospital Corporation # 1        USB-6886             04/20/20       200860      Cyracom                                         17.82
St. Alexius Hospital Corporation # 1        USB-6886             04/20/20       200861      DAHLEM                                       1,540.00
St. Alexius Hospital Corporation # 1        USB-6886             04/20/20       200862      EPS                                            589.74
St. Alexius Hospital Corporation # 1        USB-6886             04/20/20       200863      IBM                                          2,724.56
St. Alexius Hospital Corporation # 1        USB-6886             04/20/20       200864      Immucor Inc                                    332.06
St. Alexius Hospital Corporation # 1        USB-6886             04/20/20       200865      Joint Commission Resources                     673.49
St. Alexius Hospital Corporation # 1        USB-6886             04/20/20       200866      Medi Dose                                    1,752.98
St. Alexius Hospital Corporation # 1        USB-6886             04/20/20       200867      MedTox Diagnostics Inc                          50.00
St. Alexius Hospital Corporation # 1        USB-6886             04/20/20       200869      Missouri Department of Revenue                  47.95
St. Alexius Hospital Corporation # 1        USB-6886             04/20/20       200870      NI Satellite                                    83.75
St. Alexius Hospital Corporation # 1        USB-6886             04/20/20       200871      PDC                                            222.52
St. Alexius Hospital Corporation # 1        USB-6886             04/20/20       200876      Rich's Automotive & Truck Repair Inc         2,286.49
St. Alexius Hospital Corporation # 1        USB-6886             04/20/20       200877      Ryan, Donald                                   635.70
St. Alexius Hospital Corporation # 1        USB-6886             04/20/20       200878      Saggio, Thomas                                 302.92
St. Alexius Hospital Corporation # 1        USB-6886             04/20/20       200879      Schaab, Brian                                   17.05
St. Alexius Hospital Corporation # 1        USB-6886             04/20/20       200880      Source HOV                                     113.95
St. Alexius Hospital Corporation # 1        USB-6886             04/20/20       200881      Telecheck                                    1,502.80
St. Alexius Hospital Corporation # 1        USB-6886             04/20/20       200883      World Point                                    373.00
St. Alexius Hospital Corporation # 1        USB-6886             04/20/20        Debit      Ameren MO                                       21.56
St. Alexius Hospital Corporation # 1        USB-6886             04/20/20        Debit      Ameren MO                                       58.41
St. Alexius Hospital Corporation # 1        USB-6886             04/20/20        Debit      Ameren MO                                       59.43
St. Alexius Hospital Corporation # 1        USB-6886             04/20/20        Debit      Ameren MO                                       67.00
St. Alexius Hospital Corporation # 1        USB-6886             04/20/20        Debit      Ameren MO                                      107.01
St. Alexius Hospital Corporation # 1        USB-6886             04/20/20        Debit      Ameren MO                                      120.28
St. Alexius Hospital Corporation # 1        USB-6886             04/20/20        Debit      Ameren MO                                      128.21
St. Alexius Hospital Corporation # 1        USB-6886             04/20/20        Debit      Ameren MO                                      134.56
St. Alexius Hospital Corporation # 1        USB-6886             04/20/20        Debit      Ameren MO                                      140.46
St. Alexius Hospital Corporation # 1        USB-6886             04/20/20        Debit      Ameren MO                                      437.26
St. Alexius Hospital Corporation # 1        USB-6886             04/20/20        Wire       Staples                                      1,000.00
St. Alexius Hospital Corporation # 1        USB-6886             04/20/20        Wire       Mckesson Corp                                1,870.52
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CASE NAME:                             Americore Holdings, LLC, et al.                                                           Disbursements

CASE NUMBER:                           19-61608-grs (Jointly Administered)

                                                            CASH DISBURSEMENTS DETAIL(1)

                     Entity                  Bank ID               Date      Check Number                        Payee          Amount
St. Alexius Hospital Corporation # 1        USB-6886             04/20/20        Wire       GFI Digital                            2,249.79
St. Alexius Hospital Corporation # 1        USB-6886             04/20/20        Wire       Teleflex Funding                       3,412.48
St. Alexius Hospital Corporation # 1        USB-6886             04/20/20        Wire       Fisher Scientific                      3,701.44
St. Alexius Hospital Corporation # 1        USB-6886             04/20/20        Wire       Ortho-Clinical Diagnostics             4,346.83
St. Alexius Hospital Corporation # 1        USB-6886             04/20/20        Wire       Sysco                                  4,360.31
St. Alexius Hospital Corporation # 1        USB-6886             04/20/20        Wire       Faultless                              4,775.72
St. Alexius Hospital Corporation # 1        USB-6886             04/20/20        Wire       Gibbs Technology                       6,051.20
St. Alexius Hospital Corporation # 1        USB-6886             04/20/20        Wire       GE Precision Healthcare                7,007.00
St. Alexius Hospital Corporation # 1        USB-6886             04/20/20        Wire       Talbot Group                           8,772.00
St. Alexius Hospital Corporation # 1        USB-6886             04/20/20        Wire       The Kings Midwest Division LLC         9,494.40
St. Alexius Hospital Corporation # 1        USB-6886             04/20/20        Wire       Aya Healthcare Inc                    13,955.75
St. Alexius Hospital Corporation # 1        USB-6886             04/20/20        Wire       Beyond Risk                           14,000.00
St. Alexius Hospital Corporation # 1        USB-6886             04/20/20        Wire       The Kings Midwest Division LLC        42,000.00
St. Alexius Hospital Corporation # 1        USB-6886             04/20/20        Wire       Western Healthcare                    46,000.00
St. Alexius Hospital Corporation # 1        USB-6886             04/20/20        Wire       Bank Direct Capital                   62,301.45
St. Alexius Hospital Corporation # 1        USB-6886             04/20/20        Wire       Allied Benefits                      160,111.63
St. Alexius Hospital Corporation # 1        USB-6886             04/21/20       200884      Abbott Laboratories                      198.22
St. Alexius Hospital Corporation # 1        USB-6886             04/21/20       200885      AT&T                                   1,063.26
St. Alexius Hospital Corporation # 1        USB-6886             04/21/20       200886      AT&T                                     510.10
St. Alexius Hospital Corporation # 1        USB-6886             04/21/20       200887      AT&T                                  24,496.80
St. Alexius Hospital Corporation # 1        USB-6886             04/21/20       200890      Spire                                 21,441.46
St. Alexius Hospital Corporation # 1        USB-6886             04/21/20       200891      Quality Logo                             443.94
St. Alexius Hospital Corporation # 1        USB-6886             04/21/20       200892      Pic-A-Poc                                461.00
St. Alexius Hospital Corporation # 1        USB-6886             04/21/20        Debit      Culligan MO                               41.47
St. Alexius Hospital Corporation # 1        USB-6886             04/21/20        Debit      LabCorp                                  413.17
St. Alexius Hospital Corporation # 1        USB-6886             04/21/20        Debit      Republic Services                      1,023.45
St. Alexius Hospital Corporation # 1        USB-6886             04/21/20        Debit      GFI Digital                            3,537.09
St. Alexius Hospital Corporation # 1        USB-6886             04/21/20        Debit      LabCorp                                5,635.17
St. Alexius Hospital Corporation # 1        USB-6886             04/24/20       200896      Abbott Laboratories                      999.17
St. Alexius Hospital Corporation # 1        USB-6886             04/24/20       200897      American Boiler & Mechanical           1,162.77
St. Alexius Hospital Corporation # 1        USB-6886             04/24/20       200898      Aramark                                  933.63
St. Alexius Hospital Corporation # 1        USB-6886             04/24/20       200899      Atlantic Personnel                        78.50
St. Alexius Hospital Corporation # 1        USB-6886             04/24/20       200901      Healthlink                               197.09
St. Alexius Hospital Corporation # 1        USB-6886             04/24/20       200902      Johnson & Johnson                      1,416.23
St. Alexius Hospital Corporation # 1        USB-6886             04/24/20       200904      Lewis, Helen                             245.00
St. Alexius Hospital Corporation # 1        USB-6886             04/24/20       200907      Pentax Medical                         1,000.00
St. Alexius Hospital Corporation # 1        USB-6886             04/24/20       200911      Quality Logo                           1,000.00
St. Alexius Hospital Corporation # 1        USB-6886             04/24/20       200912      Smith & Nephew                         6,663.35
St. Alexius Hospital Corporation # 1        USB-6886             04/24/20       200917      Tivoli, Darren                            77.67
St. Alexius Hospital Corporation # 1        USB-6886             04/24/20       200918      Waste Management                       1,590.71
St. Alexius Hospital Corporation # 1        USB-6886             04/24/20       200919      US Trustee                               325.00
St. Alexius Hospital Corporation # 1        USB-6886             04/24/20       200920      US Trustee                               325.00
St. Alexius Hospital Corporation # 1        USB-6886             04/24/20       200921      US Trustee                               325.00
St. Alexius Hospital Corporation # 1        USB-6886             04/24/20       200922      US Trustee                               325.00
St. Alexius Hospital Corporation # 1        USB-6886             04/24/20       200923      US Trustee                               325.00
St. Alexius Hospital Corporation # 1        USB-6886             04/24/20       200924      US Trustee                               325.00
St. Alexius Hospital Corporation # 1        USB-6886             04/24/20       200925      US Trustee                               325.00
St. Alexius Hospital Corporation # 1        USB-6886             04/24/20        Wire       Mckesson Corp                            235.82
St. Alexius Hospital Corporation # 1        USB-6886             04/24/20        Wire       Staples                                  515.55
St. Alexius Hospital Corporation # 1        USB-6886             04/24/20        Wire       Pitney Bowes                           1,500.00
St. Alexius Hospital Corporation # 1        USB-6886             04/24/20        Wire       GFI Digital                            2,173.28
St. Alexius Hospital Corporation # 1        USB-6886             04/24/20        Wire       Sysco                                  2,805.43
St. Alexius Hospital Corporation # 1        USB-6886             04/24/20        Wire       Werfen USA                             3,021.84
St. Alexius Hospital Corporation # 1        USB-6886             04/24/20        Wire       Brossett Corp                          3,120.00
St. Alexius Hospital Corporation # 1        USB-6886             04/24/20        Wire       Siemens Healthcare Diagnostics         3,469.00
St. Alexius Hospital Corporation # 1        USB-6886             04/24/20        Wire       Immucor Inc                            4,024.58
St. Alexius Hospital Corporation # 1        USB-6886             04/24/20        Wire       Electromek Diagnostics Systems         4,583.00
St. Alexius Hospital Corporation # 1        USB-6886             04/24/20        Wire       Fisher Scientific                      4,873.97
St. Alexius Hospital Corporation # 1        USB-6886             04/24/20        Wire       Ortho-Clinical Diagnostics             5,683.30
St. Alexius Hospital Corporation # 1        USB-6886             04/24/20        Wire       Gibbs Technology                       6,051.20
St. Alexius Hospital Corporation # 1        USB-6886             04/24/20        Wire       Airgas                                 7,007.37
St. Alexius Hospital Corporation # 1        USB-6886             04/24/20        Wire       Medline Industries                     8,566.86
St. Alexius Hospital Corporation # 1        USB-6886             04/24/20        Wire       Faultless                              8,890.67
St. Alexius Hospital Corporation # 1        USB-6886             04/24/20        Wire       AmerisourceBergen                      9,063.59
St. Alexius Hospital Corporation # 1        USB-6886             04/24/20        Wire       Gallagher                              9,772.14
St. Alexius Hospital Corporation # 1        USB-6886             04/24/20        Wire       Alban Scientific                      11,830.10
St. Alexius Hospital Corporation # 1        USB-6886             04/24/20        Wire       Aya Healthcare Inc                    13,666.00
St. Alexius Hospital Corporation # 1        USB-6886             04/24/20        Wire       Specialists in Anesthesia PC          20,000.00
St. Alexius Hospital Corporation # 1        USB-6886             04/24/20        Wire       The Kings Midwest Division LLC        43,756.90
St. Alexius Hospital Corporation # 1        USB-6886             04/24/20        Wire       Western Healthcare                    46,000.00
St. Alexius Hospital Corporation # 1        USB-6886             04/24/20        Wire       Allied Benefits                      170,517.96
St. Alexius Hospital Corporation # 1        USB-6886             04/27/20        Debit      Ameren MO                                 25.89
St. Alexius Hospital Corporation # 1        USB-6886             04/27/20        Debit      Ameren MO                                 61.11
St. Alexius Hospital Corporation # 1        USB-6886             04/27/20        Debit      Ameren MO                                136.83
St. Alexius Hospital Corporation # 1        USB-6886             04/27/20        Debit      Ameren MO                                139.48
St. Alexius Hospital Corporation # 1        USB-6886             04/27/20        Debit      Ameren MO                                142.12
St. Alexius Hospital Corporation # 1        USB-6886             04/27/20        Debit      Ameren MO                                149.30
St. Alexius Hospital Corporation # 1        USB-6886             04/27/20        Debit      Ameren MO                                313.82
St. Alexius Hospital Corporation # 1        USB-6886             04/27/20        Debit      LabCorp                                  359.22
St. Alexius Hospital Corporation # 1        USB-6886             04/27/20        Debit      LabCorp                                  381.93
St. Alexius Hospital Corporation # 1        USB-6886             04/27/20        Debit      RedCross                               2,636.00
St. Alexius Hospital Corporation # 1        USB-6886             04/27/20        Debit      LabCorp                                4,859.64
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CASE NAME:                             Americore Holdings, LLC, et al.                                                            Disbursements

CASE NUMBER:                           19-61608-grs (Jointly Administered)

                                                            CASH DISBURSEMENTS DETAIL(1)

                     Entity                  Bank ID               Date      Check Number                      Payee            Amount
St. Alexius Hospital Corporation # 1        USB-6886             04/27/20        Debit      LabCorp                                 5,894.05
St. Alexius Hospital Corporation # 1        USB-6886             04/27/20        Debit      Ameren MO                              10,737.38
St. Alexius Hospital Corporation # 1        USB-6886             04/27/20        Debit      Ameren MO                              10,966.01
St. Alexius Hospital Corporation # 1        USB-6886             04/29/20        Debit      US Trustee                             91,489.05
St. Alexius Hospital Corporation # 1        USB-6886             04/30/20       200848      TBD                                       191.00
St. Alexius Hospital Corporation # 1        USB-6886             04/30/20        Wire       Sysco                                   4,143.34
Total                                                                                                                           1,717,568.61

St. Alexius Hospital Corporation # 1        USB-6878             03/18/20       100335       Aetna                                11,362.39
St. Alexius Hospital Corporation # 1        USB-6878             03/18/20       100337       United Way                              287.00
St. Alexius Hospital Corporation # 1        USB-6878             03/18/20       100338       Unum                                  8,790.08
St. Alexius Hospital Corporation # 1        USB-6878             03/18/20       100339       VSP                                   2,996.93
St. Alexius Hospital Corporation # 1        USB-6878             03/24/20       100346       Payroll Check - VOID                       -
St. Alexius Hospital Corporation # 1        USB-6878             03/24/20       100347       Payroll Check - VOID                       -
St. Alexius Hospital Corporation # 1        USB-6878             03/24/20       100348       Payroll Check - VOID                       -
St. Alexius Hospital Corporation # 1        USB-6878             03/24/20       100349       Payroll Check - VOID                       -
St. Alexius Hospital Corporation # 1        USB-6878             03/24/20       100350       Payroll Check - VOID                       -
St. Alexius Hospital Corporation # 1        USB-6878             03/27/20       100351       Payroll Check                           351.90
St. Alexius Hospital Corporation # 1        USB-6878             03/27/20       100352       Payroll Check                           932.08
St. Alexius Hospital Corporation # 1        USB-6878             03/27/20       100353       Payroll Check - VOID                       -
St. Alexius Hospital Corporation # 1        USB-6878             03/27/20       100354       Payroll Check                           968.00
St. Alexius Hospital Corporation # 1        USB-6878             03/27/20       100355       Payroll Check                           604.80
St. Alexius Hospital Corporation # 1        USB-6878             03/30/20       100357       Payroll Check                           788.98
St. Alexius Hospital Corporation # 1        USB-6878             03/30/20       100358       Payroll Check                         1,066.79
St. Alexius Hospital Corporation # 1        USB-6878             03/18/20       100336      Caring & Sharing                         598.00
St. Alexius Hospital Corporation # 1        USB-6878             03/18/20       100340      Wage Works                             2,828.94
St. Alexius Hospital Corporation # 1        USB-6878             03/30/20       100356      Payroll Check                          1,551.09
St. Alexius Hospital Corporation # 1        USB-6878             03/31/20       100359      Payroll Check                            569.21
St. Alexius Hospital Corporation # 1        USB-6878             04/02/20       100361      Payroll Check                            374.44
St. Alexius Hospital Corporation # 1        USB-6878             04/06/20        Debit      Paylocity Monthly Billing              9,497.83
St. Alexius Hospital Corporation # 1        USB-6878             04/06/20        Debit      IRS                                  193,835.45
St. Alexius Hospital Corporation # 1        USB-6878             04/07/20       100372      Payroll Check                             42.90
St. Alexius Hospital Corporation # 1        USB-6878             04/07/20       100365      Payroll Check                            165.00
St. Alexius Hospital Corporation # 1        USB-6878             04/07/20       100367      Payroll Check                            261.89
St. Alexius Hospital Corporation # 1        USB-6878             04/07/20       100362      Payroll Check                            322.85
St. Alexius Hospital Corporation # 1        USB-6878             04/07/20       100373      Payroll Check                            409.66
St. Alexius Hospital Corporation # 1        USB-6878             04/07/20       100368      Payroll Check                            423.02
St. Alexius Hospital Corporation # 1        USB-6878             04/07/20       100369      Payroll Check                            433.21
St. Alexius Hospital Corporation # 1        USB-6878             04/07/20       100371      Payroll Check                            631.70
St. Alexius Hospital Corporation # 1        USB-6878             04/07/20       100366      Payroll Check                            661.12
St. Alexius Hospital Corporation # 1        USB-6878             04/07/20       100363      Payroll Check                          1,060.31
St. Alexius Hospital Corporation # 1        USB-6878             04/07/20        Debit      Missouri Department of Revenue        25,365.50
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21445      Payroll Check 4/10/20                  1,197.25
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21297      Payroll Check 4/10/20                  1,263.94
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21105      Payroll Check 4/10/20                     12.40
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21460      Payroll Check 4/10/20                     31.86
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21134      Payroll Check 4/10/20                     38.54
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21169      Payroll Check 4/10/20                     39.18
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21211      Payroll Check 4/10/20                     44.04
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21502      Payroll Check 4/10/20                     47.45
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21498      Payroll Check 4/10/20                     51.29
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21127      Payroll Check 4/10/20                     78.37
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21231      Payroll Check 4/10/20                     79.59
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21115      Payroll Check 4/10/20                     85.69
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21513      Payroll Check 4/10/20                     86.23
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21510      Payroll Check 4/10/20                     86.62
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21499      Payroll Check 4/10/20                     90.36
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21489      Payroll Check 4/10/20                     91.73
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21507      Payroll Check 4/10/20                     94.90
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21504      Payroll Check 4/10/20                     95.08
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21501      Payroll Check 4/10/20                     95.94
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21351      Payroll Check 4/10/20                     97.59
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21345      Payroll Check 4/10/20                    100.19
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21503      Payroll Check 4/10/20                    110.00
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21509      Payroll Check 4/10/20                    113.11
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21165      Payroll Check 4/10/20                    113.81
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21120      Payroll Check 4/10/20                    121.90
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21500      Payroll Check 4/10/20                    124.99
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21253      Payroll Check 4/10/20                    125.40
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21375      Payroll Check 4/10/20                    137.21
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21508      Payroll Check 4/10/20                    138.46
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21219      Payroll Check 4/10/20                    139.75
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21363      Payroll Check 4/10/20                    143.68
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21423      Payroll Check 4/10/20                    144.28
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21505      Payroll Check 4/10/20                    144.46
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21174      Payroll Check 4/10/20                    167.01
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21470      Payroll Check 4/10/20                    168.23
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21143      Payroll Check 4/10/20                    168.35
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21497      Payroll Check 4/10/20                    171.35
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21506      Payroll Check 4/10/20                    178.62
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21512      Payroll Check 4/10/20                    180.00
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21237      Payroll Check 4/10/20                    194.42
    Case 19-61608-grs                  Doc 600 Filed 06/04/20 Entered 06/04/20 09:17:43                                 Desc Main
                                              Document    Page 42 of 148
CASE NAME:                             Americore Holdings, LLC, et al.                                                      Disbursements

CASE NUMBER:                           19-61608-grs (Jointly Administered)

                                                            CASH DISBURSEMENTS DETAIL(1)

                     Entity                  Bank ID               Date      Check Number                       Payee      Amount
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21236      Payroll Check 4/10/20              194.90
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21282      Payroll Check 4/10/20              195.55
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21168      Payroll Check 4/10/20              204.73
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21357      Payroll Check 4/10/20              225.17
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21256      Payroll Check 4/10/20              232.82
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21273      Payroll Check 4/10/20              233.33
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21477      Payroll Check 4/10/20              247.59
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21383      Payroll Check 4/10/20              264.99
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21292      Payroll Check 4/10/20              266.00
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21391      Payroll Check 4/10/20              278.30
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21364      Payroll Check 4/10/20              284.99
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21261      Payroll Check 4/10/20              292.49
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21420      Payroll Check 4/10/20              300.51
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21488      Payroll Check 4/10/20              346.51
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21432      Payroll Check 4/10/20              347.11
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21269      Payroll Check 4/10/20              365.15
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       100360      Payroll Check                      374.44
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21278      Payroll Check 4/10/20              377.50
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21114      Payroll Check 4/10/20              381.52
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21230      Payroll Check 4/10/20              390.24
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21218      Payroll Check 4/10/20              396.91
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21296      Payroll Check 4/10/20              399.44
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21348      Payroll Check 4/10/20              400.96
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21355      Payroll Check 4/10/20              408.38
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21332      Payroll Check 4/10/20              441.54
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21393      Payroll Check 4/10/20              444.91
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21392      Payroll Check 4/10/20              467.45
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21408      Payroll Check 4/10/20              470.38
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21331      Payroll Check 4/10/20              475.51
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21361      Payroll Check 4/10/20              488.42
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21511      Payroll Check 4/10/20              496.15
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21283      Payroll Check 4/10/20              512.20
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21126      Payroll Check 4/10/20              516.56
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21486      Payroll Check 4/10/20              521.32
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21446      Payroll Check 4/10/20              536.15
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21389      Payroll Check 4/10/20              543.70
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21124      Payroll Check 4/10/20              554.76
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21249      Payroll Check 4/10/20              557.93
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21163      Payroll Check 4/10/20              574.05
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21390      Payroll Check 4/10/20              575.77
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21293      Payroll Check 4/10/20              578.10
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21448      Payroll Check 4/10/20              580.53
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21366      Payroll Check 4/10/20              583.53
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21179      Payroll Check 4/10/20              585.46
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21318      Payroll Check 4/10/20              590.39
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21171      Payroll Check 4/10/20              614.18
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21367      Payroll Check 4/10/20              624.26
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21334      Payroll Check 4/10/20              625.41
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21094      Payroll Check 4/10/20              626.45
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21350      Payroll Check 4/10/20              634.25
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21394      Payroll Check 4/10/20              637.72
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21214      Payroll Check 4/10/20              649.79
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21281      Payroll Check 4/10/20              652.99
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21137      Payroll Check 4/10/20              661.17
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21123      Payroll Check 4/10/20              662.70
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21411      Payroll Check 4/10/20              664.39
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21371      Payroll Check 4/10/20              665.17
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21399      Payroll Check 4/10/20              667.24
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21146      Payroll Check 4/10/20              667.98
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21175      Payroll Check 4/10/20              669.61
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21217      Payroll Check 4/10/20              671.14
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21221      Payroll Check 4/10/20              673.56
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21349      Payroll Check 4/10/20              676.41
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21268      Payroll Check 4/10/20              679.11
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21139      Payroll Check 4/10/20              684.07
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21145      Payroll Check 4/10/20              686.60
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21250      Payroll Check 4/10/20              692.79
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21304      Payroll Check 4/10/20              694.63
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21425      Payroll Check 4/10/20              694.92
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21280      Payroll Check 4/10/20              696.48
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21254      Payroll Check 4/10/20              696.64
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21132      Payroll Check 4/10/20              700.44
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21454      Payroll Check 4/10/20              701.66
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21483      Payroll Check 4/10/20              707.09
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21428      Payroll Check 4/10/20              710.59
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21430      Payroll Check 4/10/20              713.76
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21353      Payroll Check 4/10/20              714.53
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21129      Payroll Check 4/10/20              726.11
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21403      Payroll Check 4/10/20              731.00
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21112      Payroll Check 4/10/20              735.03
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21255      Payroll Check 4/10/20              737.06
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21464      Payroll Check 4/10/20              740.57
    Case 19-61608-grs                  Doc 600 Filed 06/04/20 Entered 06/04/20 09:17:43                                 Desc Main
                                              Document    Page 43 of 148
CASE NAME:                             Americore Holdings, LLC, et al.                                                      Disbursements

CASE NUMBER:                           19-61608-grs (Jointly Administered)

                                                            CASH DISBURSEMENTS DETAIL(1)

                     Entity                  Bank ID               Date      Check Number                       Payee      Amount
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21440       Payroll Check 4/10/20              740.61
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21455       Payroll Check 4/10/20              742.23
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21336       Payroll Check 4/10/20              743.87
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21429       Payroll Check 4/10/20              747.19
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21475       Payroll Check 4/10/20              747.40
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21167       Payroll Check 4/10/20              748.01
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21184       Payroll Check 4/10/20              750.81
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21204       Payroll Check 4/10/20              755.96
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21161       Payroll Check 4/10/20              756.62
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21424       Payroll Check 4/10/20              758.92
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21472       Payroll Check 4/10/20              765.65
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21380       Payroll Check 4/10/20              771.36
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21170       Payroll Check 4/10/20              771.74
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21267       Payroll Check 4/10/20              774.04
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21413       Payroll Check 4/10/20              775.85
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21205       Payroll Check 4/10/20              776.60
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21386       Payroll Check 4/10/20              778.78
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21343       Payroll Check 4/10/20              779.65
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21116       Payroll Check 4/10/20              779.99
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21226       Payroll Check 4/10/20              780.28
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21213       Payroll Check 4/10/20              781.65
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21404       Payroll Check 4/10/20              784.33
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21197       Payroll Check 4/10/20              787.07
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21457       Payroll Check 4/10/20              792.07
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21212       Payroll Check 4/10/20              793.99
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21099       Payroll Check 4/10/20              802.73
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21485       Payroll Check 4/10/20              806.14
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21194       Payroll Check 4/10/20              806.72
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21206       Payroll Check 4/10/20              814.87
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21121       Payroll Check 4/10/20              815.71
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21378       Payroll Check 4/10/20              816.58
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21117       Payroll Check 4/10/20              822.55
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21108       Payroll Check 4/10/20              827.37
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21222       Payroll Check 4/10/20              828.22
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21130       Payroll Check 4/10/20              832.25
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21189       Payroll Check 4/10/20              835.86
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21443       Payroll Check 4/10/20              837.14
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21183       Payroll Check 4/10/20              837.81
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21144       Payroll Check 4/10/20              842.72
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21202       Payroll Check 4/10/20              845.98
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21128       Payroll Check 4/10/20              846.85
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21342       Payroll Check 4/10/20              846.88
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21427       Payroll Check 4/10/20              851.09
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21337       Payroll Check 4/10/20              854.05
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21107       Payroll Check 4/10/20              858.15
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21382       Payroll Check 4/10/20              859.71
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21346       Payroll Check 4/10/20              859.99
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21200       Payroll Check 4/10/20              862.32
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21225       Payroll Check 4/10/20              864.13
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21155       Payroll Check 4/10/20              864.26
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21203       Payroll Check 4/10/20              870.90
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21162       Payroll Check 4/10/20              878.78
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21166       Payroll Check 4/10/20              882.21
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21158       Payroll Check 4/10/20              883.15
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21373       Payroll Check 4/10/20              885.33
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21401       Payroll Check 4/10/20              886.15
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21251       Payroll Check 4/10/20              886.16
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21135       Payroll Check 4/10/20              887.10
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21444       Payroll Check 4/10/20              893.24
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21321       Payroll Check 4/10/20              917.17
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21247       Payroll Check 4/10/20              939.77
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21140       Payroll Check 4/10/20              942.93
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21196       Payroll Check 4/10/20              944.25
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21478       Payroll Check 4/10/20              944.57
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21400       Payroll Check 4/10/20              947.49
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21356       Payroll Check 4/10/20              948.94
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21291       Payroll Check 4/10/20              950.61
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21302       Payroll Check 4/10/20              950.91
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21372       Payroll Check 4/10/20              955.52
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21153       Payroll Check 4/10/20              955.84
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21252       Payroll Check 4/10/20              956.21
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21329       Payroll Check 4/10/20              959.25
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21452       Payroll Check 4/10/20              965.02
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21441       Payroll Check 4/10/20              970.62
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21479       Payroll Check 4/10/20              980.64
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21490       Payroll Check 4/10/20              981.85
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21319       Payroll Check 4/10/20              984.77
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21433       Payroll Check 4/10/20              997.83
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21362       Payroll Check 4/10/20            1,001.05
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21275       Payroll Check 4/10/20            1,005.15
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21298       Payroll Check 4/10/20            1,006.97
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21341       Payroll Check 4/10/20            1,007.92
    Case 19-61608-grs                  Doc 600 Filed 06/04/20 Entered 06/04/20 09:17:43                                 Desc Main
                                              Document    Page 44 of 148
CASE NAME:                             Americore Holdings, LLC, et al.                                                      Disbursements

CASE NUMBER:                           19-61608-grs (Jointly Administered)

                                                            CASH DISBURSEMENTS DETAIL(1)

                     Entity                  Bank ID               Date      Check Number                       Payee      Amount
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21406       Payroll Check 4/10/20            1,010.38
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21201       Payroll Check 4/10/20            1,023.25
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21405       Payroll Check 4/10/20            1,025.58
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21118       Payroll Check 4/10/20            1,044.71
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21388       Payroll Check 4/10/20            1,054.60
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21426       Payroll Check 4/10/20            1,065.29
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21484       Payroll Check 4/10/20            1,066.01
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21387       Payroll Check 4/10/20            1,067.06
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21181       Payroll Check 4/10/20            1,067.14
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21412       Payroll Check 4/10/20            1,069.12
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21287       Payroll Check 4/10/20            1,070.82
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21468       Payroll Check 4/10/20            1,076.31
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21098       Payroll Check 4/10/20            1,085.39
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21476       Payroll Check 4/10/20            1,097.25
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21154       Payroll Check 4/10/20            1,107.90
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21456       Payroll Check 4/10/20            1,108.62
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21376       Payroll Check 4/10/20            1,112.30
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21359       Payroll Check 4/10/20            1,118.85
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21339       Payroll Check 4/10/20            1,135.49
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21352       Payroll Check 4/10/20            1,137.72
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21113       Payroll Check 4/10/20            1,152.64
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21385       Payroll Check 4/10/20            1,154.22
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21410       Payroll Check 4/10/20            1,161.10
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21469       Payroll Check 4/10/20            1,162.56
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21347       Payroll Check 4/10/20            1,176.61
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21259       Payroll Check 4/10/20            1,177.41
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21223       Payroll Check 4/10/20            1,178.52
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21270       Payroll Check 4/10/20            1,202.03
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21344       Payroll Check 4/10/20            1,205.38
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21365       Payroll Check 4/10/20            1,219.20
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21398       Payroll Check 4/10/20            1,219.21
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21374       Payroll Check 4/10/20            1,223.50
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21333       Payroll Check 4/10/20            1,226.86
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21185       Payroll Check 4/10/20            1,241.08
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21274       Payroll Check 4/10/20            1,247.17
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21266       Payroll Check 4/10/20            1,247.78
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21106       Payroll Check 4/10/20            1,253.53
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21191       Payroll Check 4/10/20            1,261.85
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21414       Payroll Check 4/10/20            1,265.18
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21122       Payroll Check 4/10/20            1,271.79
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21397       Payroll Check 4/10/20            1,272.38
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21417       Payroll Check 4/10/20            1,273.47
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21264       Payroll Check 4/10/20            1,288.44
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21377       Payroll Check 4/10/20            1,309.45
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21340       Payroll Check 4/10/20            1,312.59
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21188       Payroll Check 4/10/20            1,325.54
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21263       Payroll Check 4/10/20            1,325.65
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21244       Payroll Check 4/10/20            1,327.26
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21431       Payroll Check 4/10/20            1,332.39
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21465       Payroll Check 4/10/20            1,345.72
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21242       Payroll Check 4/10/20            1,346.33
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21325       Payroll Check 4/10/20            1,346.54
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21494       Payroll Check 4/10/20            1,347.27
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21101       Payroll Check 4/10/20            1,363.00
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21322       Payroll Check 4/10/20            1,371.08
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21358       Payroll Check 4/10/20            1,385.64
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21215       Payroll Check 4/10/20            1,405.30
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21402       Payroll Check 4/10/20            1,417.52
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21193       Payroll Check 4/10/20            1,426.77
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21239       Payroll Check 4/10/20            1,439.02
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21442       Payroll Check 4/10/20            1,453.06
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21360       Payroll Check 4/10/20            1,460.36
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21260       Payroll Check 4/10/20            1,462.99
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21157       Payroll Check 4/10/20            1,471.25
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21148       Payroll Check 4/10/20            1,478.08
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21493       Payroll Check 4/10/20            1,478.18
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21447       Payroll Check 4/10/20            1,499.07
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21245       Payroll Check 4/10/20            1,500.77
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21136       Payroll Check 4/10/20            1,508.09
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21224       Payroll Check 4/10/20            1,528.67
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21285       Payroll Check 4/10/20            1,553.06
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21262       Payroll Check 4/10/20            1,554.09
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21369       Payroll Check 4/10/20            1,558.13
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21138       Payroll Check 4/10/20            1,562.21
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21451       Payroll Check 4/10/20            1,567.31
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21288       Payroll Check 4/10/20            1,569.29
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21207       Payroll Check 4/10/20            1,591.91
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21418       Payroll Check 4/10/20            1,592.84
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21177       Payroll Check 4/10/20            1,598.75
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21312       Payroll Check 4/10/20            1,619.94
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21178       Payroll Check 4/10/20            1,625.62
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21438       Payroll Check 4/10/20            1,628.39
    Case 19-61608-grs                  Doc 600 Filed 06/04/20 Entered 06/04/20 09:17:43                                 Desc Main
                                              Document    Page 45 of 148
CASE NAME:                             Americore Holdings, LLC, et al.                                                      Disbursements

CASE NUMBER:                           19-61608-grs (Jointly Administered)

                                                            CASH DISBURSEMENTS DETAIL(1)

                     Entity                  Bank ID               Date      Check Number                       Payee      Amount
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21368       Payroll Check 4/10/20            1,629.70
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21434       Payroll Check 4/10/20            1,629.89
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21396       Payroll Check 4/10/20            1,637.82
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21243       Payroll Check 4/10/20            1,642.38
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21395       Payroll Check 4/10/20            1,643.21
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21474       Payroll Check 4/10/20            1,646.43
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21422       Payroll Check 4/10/20            1,647.99
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21416       Payroll Check 4/10/20            1,649.88
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21496       Payroll Check 4/10/20            1,651.64
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21110       Payroll Check 4/10/20            1,665.07
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21111       Payroll Check 4/10/20            1,665.07
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21480       Payroll Check 4/10/20            1,668.42
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21313       Payroll Check 4/10/20            1,673.48
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21421       Payroll Check 4/10/20            1,682.98
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21220       Payroll Check 4/10/20            1,694.05
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21248       Payroll Check 4/10/20            1,702.73
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21150       Payroll Check 4/10/20            1,712.07
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21481       Payroll Check 4/10/20            1,721.12
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21354       Payroll Check 4/10/20            1,725.49
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21100       Payroll Check 4/10/20            1,727.41
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21241       Payroll Check 4/10/20            1,736.83
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21234       Payroll Check 4/10/20            1,739.65
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21492       Payroll Check 4/10/20            1,756.47
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21294       Payroll Check 4/10/20            1,759.82
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21216       Payroll Check 4/10/20            1,768.06
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21173       Payroll Check 4/10/20            1,768.17
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21180       Payroll Check 4/10/20            1,773.65
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21286       Payroll Check 4/10/20            1,781.75
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21495       Payroll Check 4/10/20            1,787.15
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21096       Payroll Check 4/10/20            1,796.30
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21491       Payroll Check 4/10/20            1,804.25
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21289       Payroll Check 4/10/20            1,828.57
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21450       Payroll Check 4/10/20            1,833.40
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21466       Payroll Check 4/10/20            1,858.80
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21307       Payroll Check 4/10/20            1,864.77
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21471       Payroll Check 4/10/20            1,866.32
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21379       Payroll Check 4/10/20            1,871.75
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21125       Payroll Check 4/10/20            1,875.06
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21458       Payroll Check 4/10/20            1,883.43
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21326       Payroll Check 4/10/20            1,885.15
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21439       Payroll Check 4/10/20            1,888.57
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21303       Payroll Check 4/10/20            1,889.08
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21232       Payroll Check 4/10/20            1,889.26
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21299       Payroll Check 4/10/20            1,893.04
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21235       Payroll Check 4/10/20            1,894.58
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21246       Payroll Check 4/10/20            1,894.75
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21109       Payroll Check 4/10/20            1,910.84
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21482       Payroll Check 4/10/20            1,914.94
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21463       Payroll Check 4/10/20            1,915.49
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21306       Payroll Check 4/10/20            1,934.00
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21335       Payroll Check 4/10/20            1,945.72
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21229       Payroll Check 4/10/20            1,956.39
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21265       Payroll Check 4/10/20            1,959.45
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21317       Payroll Check 4/10/20            1,971.36
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21487       Payroll Check 4/10/20            1,971.82
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21323       Payroll Check 4/10/20            1,972.86
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21316       Payroll Check 4/10/20            1,974.70
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21228       Payroll Check 4/10/20            1,977.03
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21311       Payroll Check 4/10/20            1,977.26
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21233       Payroll Check 4/10/20            1,980.48
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21147       Payroll Check 4/10/20            1,980.90
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21192       Payroll Check 4/10/20            1,988.14
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21164       Payroll Check 4/10/20            1,990.38
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21381       Payroll Check 4/10/20            1,994.77
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21195       Payroll Check 4/10/20            2,005.69
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21257       Payroll Check 4/10/20            2,018.78
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21415       Payroll Check 4/10/20            2,029.00
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21305       Payroll Check 4/10/20            2,052.36
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21384       Payroll Check 4/10/20            2,064.41
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21324       Payroll Check 4/10/20            2,071.62
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21320       Payroll Check 4/10/20            2,083.71
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21131       Payroll Check 4/10/20            2,101.59
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21284       Payroll Check 4/10/20            2,107.92
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21102       Payroll Check 4/10/20            2,108.88
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21240       Payroll Check 4/10/20            2,110.10
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21467       Payroll Check 4/10/20            2,110.38
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21308       Payroll Check 4/10/20            2,129.10
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21159       Payroll Check 4/10/20            2,133.96
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21258       Payroll Check 4/10/20            2,137.69
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21160       Payroll Check 4/10/20            2,158.97
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21103       Payroll Check 4/10/20            2,169.82
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20       21238       Payroll Check 4/10/20            2,192.98
    Case 19-61608-grs                  Doc 600 Filed 06/04/20 Entered 06/04/20 09:17:43                                      Desc Main
                                              Document    Page 46 of 148
CASE NAME:                             Americore Holdings, LLC, et al.                                                           Disbursements

CASE NUMBER:                           19-61608-grs (Jointly Administered)

                                                            CASH DISBURSEMENTS DETAIL(1)

                     Entity                  Bank ID               Date      Check Number                       Payee           Amount
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21186      Payroll Check 4/10/20                  2,193.35
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21104      Payroll Check 4/10/20                  2,204.01
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21370      Payroll Check 4/10/20                  2,220.19
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21338      Payroll Check 4/10/20                  2,246.43
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21141      Payroll Check 4/10/20                  2,252.22
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21453      Payroll Check 4/10/20                  2,272.46
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21461      Payroll Check 4/10/20                  2,311.59
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21208      Payroll Check 4/10/20                  2,315.10
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21462      Payroll Check 4/10/20                  2,330.13
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21310      Payroll Check 4/10/20                  2,358.28
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21149      Payroll Check 4/10/20                  2,378.98
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21210      Payroll Check 4/10/20                  2,405.81
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21198      Payroll Check 4/10/20                  2,410.86
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21156      Payroll Check 4/10/20                  2,436.62
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21097      Payroll Check 4/10/20                  2,442.43
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21309      Payroll Check 4/10/20                  2,449.59
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21187      Payroll Check 4/10/20                  2,464.30
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21327      Payroll Check 4/10/20                  2,473.18
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21271      Payroll Check 4/10/20                  2,498.35
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21209      Payroll Check 4/10/20                  2,515.34
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21227      Payroll Check 4/10/20                  2,541.75
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21407      Payroll Check 4/10/20                  2,546.11
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21142      Payroll Check 4/10/20                  2,552.16
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21314      Payroll Check 4/10/20                  2,584.11
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21151      Payroll Check 4/10/20                  2,584.48
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21095      Payroll Check 4/10/20                  2,599.21
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21315      Payroll Check 4/10/20                  2,669.85
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21409      Payroll Check 4/10/20                  2,703.12
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21300      Payroll Check 4/10/20                  2,730.53
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21295      Payroll Check 4/10/20                  2,733.80
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21459      Payroll Check 4/10/20                  2,740.98
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21133      Payroll Check 4/10/20                  2,757.91
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21119      Payroll Check 4/10/20                  2,764.96
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21437      Payroll Check 4/10/20                  2,832.69
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21152      Payroll Check 4/10/20                  2,849.70
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21301      Payroll Check 4/10/20                  2,879.05
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21199      Payroll Check 4/10/20                  2,886.56
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21290      Payroll Check 4/10/20                  2,919.63
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21272      Payroll Check 4/10/20                  2,996.40
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21279      Payroll Check 4/10/20                  3,002.13
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21190      Payroll Check 4/10/20                  3,062.14
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21435      Payroll Check 4/10/20                  3,074.87
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21436      Payroll Check 4/10/20                  3,245.36
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21176      Payroll Check 4/10/20                  3,569.73
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21419      Payroll Check 4/10/20                  3,681.32
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21276      Payroll Check 4/10/20                  3,718.29
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21328      Payroll Check 4/10/20                  3,881.55
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21277      Payroll Check 4/10/20                  4,005.25
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21449      Payroll Check 4/10/20                  4,123.55
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21473      Payroll Check 4/10/20                  4,283.29
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21172      Payroll Check 4/10/20                  4,293.37
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21182      Payroll Check 4/10/20                  5,087.48
St. Alexius Hospital Corporation # 1        USB-6878             04/10/20        21330      Payroll Check 4/10/20                  5,149.23
St. Alexius Hospital Corporation # 1        USB-6878             04/13/20       100383      Payroll Check                             46.00
St. Alexius Hospital Corporation # 1        USB-6878             04/13/20       100382      Caring & Sharing                         110.00
St. Alexius Hospital Corporation # 1        USB-6878             04/17/20        Debit      Americore Holdings                     2,753.62
St. Alexius Hospital Corporation # 1        USB-6878             04/21/20       100384      Payroll Check                            209.86
St. Alexius Hospital Corporation # 1        USB-6878             04/21/20        Debit      Missouri Department of Revenue        24,151.00
St. Alexius Hospital Corporation # 1        USB-6878             04/23/20        Debit      IRS                                  164,883.89
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21680      Payroll Check 4/24/20                     53.58
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21784      Payroll Check 4/24/20                    125.83
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21863      Payroll Check 4/24/20                    130.66
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21756      Payroll Check 4/24/20                    187.63
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21678      Payroll Check 4/24/20                    302.68
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21840      Payroll Check 4/24/20                  1,197.25
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21818      Payroll Check 4/24/20                     22.16
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20       100390      Payroll Check 4/24/20                     48.65
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21766      Payroll Check 4/24/20                     68.83
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21883      Payroll Check                             78.76
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21894      Payroll Check                             78.88
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21750      Payroll Check 4/24/20                     81.19
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21896      Payroll Check                             83.28
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21886      Payroll Check                             83.93
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21884      Payroll Check                             89.02
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21891      Payroll check                             94.05
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21762      Payroll Check 4/24/20                     94.29
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21888      Payroll Check                             95.08
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21607      Payroll Check 4/24/20                     99.85
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21628      Payroll Check 4/24/20                    102.78
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21887      Payroll Check                            110.00
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21815      Payroll Check 4/24/20                    110.68
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21893      Payroll Check                            115.29
    Case 19-61608-grs                  Doc 600 Filed 06/04/20 Entered 06/04/20 09:17:43                                 Desc Main
                                              Document    Page 47 of 148
CASE NAME:                             Americore Holdings, LLC, et al.                                                      Disbursements

CASE NUMBER:                           19-61608-grs (Jointly Administered)

                                                            CASH DISBURSEMENTS DETAIL(1)

                     Entity                  Bank ID               Date      Check Number                       Payee      Amount
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21885      Payroll check                      125.10
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21777      Payroll Check 4/24/20              126.38
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21850      Payroll Check 4/24/20              135.32
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21892      Payroll Check                      138.46
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21889      Payroll Check                      144.46
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21627      Payroll Check 4/24/20              146.61
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20       100387      Payroll Check                      147.40
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21665      Payroll Check 4/24/20              152.05
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21559      Payroll Check 4/24/20              160.88
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21686      Payroll Check 4/24/20              168.03
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21890      Payroll Check                      178.62
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21683      Payroll Check 4/24/20              179.24
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21644      Payroll Check 4/24/20              189.33
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21556      Payroll Check 4/24/20              204.86
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21827      Payroll Check 4/24/20              212.82
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21660      Payroll Check 4/24/20              237.84
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21657      Payroll Check 4/24/20              253.14
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21882      Payroll Check                      268.04
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21639      Payroll Check 4/24/20              275.16
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20       100388      Payroll Check                      280.00
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21720      Payroll Check 4/24/20              283.09
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21760      Payroll Check 4/24/20              330.27
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21745      Payroll Check 4/24/20              347.13
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21675      Payroll Check 4/24/20              348.47
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21691      Payroll Check 4/24/20              351.33
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21767      Payroll Check 4/24/20              352.86
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21666      Payroll Check 4/24/20              357.09
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21626      Payroll Check 4/24/20              363.56
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21670      Payroll Check 4/24/20              368.86
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20       100385      Payroll Check                      381.90
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21552      Payroll Check 4/24/20              397.19
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21531      Payroll Check 4/24/20              401.47
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21792      Payroll Check 4/24/20              417.06
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21869      Payroll Check 4/24/20              423.03
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21819      Payroll Check 4/24/20              427.43
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21697      Payroll Check 4/24/20              430.80
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21557      Payroll Check 4/24/20              434.56
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21742      Payroll Check 4/24/20              436.28
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21530      Payroll Check 4/24/20              438.29
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21753      Payroll Check 4/24/20              441.05
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21739      Payroll Check 4/24/20              442.85
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21875      Payroll Check 4/24/20              451.65
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21587      Payroll Check 4/24/20              453.75
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21712      Payroll Check 4/24/20              479.12
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21687      Payroll Check 4/24/20              493.14
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21895      Payroll Check                      496.15
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21539      Payroll Check 4/24/20              499.87
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21645      Payroll Check 4/24/20              503.53
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21735      Payroll Check 4/24/20              514.11
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21584      Payroll Check 4/24/20              514.37
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21542      Payroll Check 4/24/20              515.21
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21578      Payroll Check 4/24/20              520.20
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21541      Payroll Check 4/24/20              520.78
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21702      Payroll Check 4/24/20              527.68
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21799      Payroll Check 4/24/20              531.23
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21674      Payroll Check 4/24/20              538.89
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21748      Payroll Check 4/24/20              547.30
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21538      Payroll Check 4/24/20              548.11
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21848      Payroll Check 4/24/20              549.68
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21572      Payroll Check 4/24/20              556.14
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21793      Payroll Check 4/24/20              558.28
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21791      Payroll Check 4/24/20              560.65
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21580      Payroll Check 4/24/20              567.91
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21857      Payroll Check 4/24/20              607.74
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21820      Payroll Check 4/24/20              607.99
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21865      Payroll Check 4/24/20              613.86
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21659      Payroll Check 4/24/20              618.47
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21673      Payroll Check 4/24/20              637.84
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21569      Payroll Check 4/24/20              651.05
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21694      Payroll Check 4/24/20              653.26
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21588      Payroll Check 4/24/20              654.73
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21550      Payroll Check 4/24/20              663.97
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21654      Payroll Check 4/24/20              669.19
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21631      Payroll Check 4/24/20              675.09
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21754      Payroll Check 4/24/20              677.88
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21751      Payroll Check 4/24/20              680.88
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21825      Payroll Check 4/24/20              687.20
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21736      Payroll Check 4/24/20              688.74
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21823      Payroll Check 4/24/20              689.07
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21847      Payroll Check 4/24/20              689.65
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20       100389      Payroll Check                      692.28
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21546      Payroll Check 4/24/20              692.79
    Case 19-61608-grs                  Doc 600 Filed 06/04/20 Entered 06/04/20 09:17:43                                 Desc Main
                                              Document    Page 48 of 148
CASE NAME:                             Americore Holdings, LLC, et al.                                                      Disbursements

CASE NUMBER:                           19-61608-grs (Jointly Administered)

                                                            CASH DISBURSEMENTS DETAIL(1)

                     Entity                  Bank ID               Date      Check Number                       Payee      Amount
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21582      Payroll Check 4/24/20              693.54
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21544      Payroll Check 4/24/20              703.73
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21596      Payroll Check 4/24/20              704.54
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21873      Payroll Check 4/24/20              707.08
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21758      Payroll Check 4/24/20              714.03
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21868      Payroll Check 4/24/20              714.89
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21543      Payroll Check 4/24/20              718.44
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21780      Payroll Check 4/24/20              719.21
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21575      Payroll Check 4/24/20              724.88
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21755      Payroll Check 4/24/20              733.63
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21746      Payroll Check 4/24/20              734.07
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21835      Payroll Check 4/24/20              740.61
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21725      Payroll Check 4/24/20              742.87
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21591      Payroll Check 4/24/20              747.61
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21672      Payroll Check 4/24/20              749.97
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21567      Payroll Check 4/24/20              751.10
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21523      Payroll Check 4/24/20              751.28
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21726      Payroll Check 4/24/20              755.72
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21635      Payroll Check 4/24/20              766.07
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21532      Payroll Check 4/24/20              770.48
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21709      Payroll Check 4/24/20              771.39
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21605      Payroll Check 4/24/20              774.96
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21615      Payroll Check 4/24/20              776.59
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21583      Payroll Check 4/24/20              780.21
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21824      Payroll Check 4/24/20              781.35
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21602      Payroll Check 4/24/20              788.26
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21623      Payroll Check 4/24/20              790.32
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21656      Payroll Check 4/24/20              791.16
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21788      Payroll Check 4/24/20              791.32
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21747      Payroll Check 4/24/20              799.25
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21613      Payroll Check 4/24/20              809.30
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21774      Payroll Check 4/24/20              817.21
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21801      Payroll Check 4/24/20              819.38
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21597      Payroll Check 4/24/20              823.59
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21838      Payroll Check 4/24/20              837.14
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21822      Payroll Check 4/24/20              837.32
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21529      Payroll Check 4/24/20              838.46
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21803      Payroll Check 4/24/20              841.17
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21612      Payroll Check 4/24/20              842.41
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21764      Payroll Check 4/24/20              846.66
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21595      Payroll Check 4/24/20              851.69
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21593      Payroll Check 4/24/20              851.89
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21534      Payroll Check 4/24/20              855.80
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21783      Payroll Check 4/24/20              860.66
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21634      Payroll Check 4/24/20              862.99
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21614      Payroll Check 4/24/20              866.64
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21581      Payroll Check 4/24/20              881.67
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21528      Payroll Check 4/24/20              883.36
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21740      Payroll Check 4/24/20              883.58
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21610      Payroll Check 4/24/20              883.92
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21757      Payroll Check 4/24/20              885.36
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21653      Payroll Check 4/24/20              890.05
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21839      Payroll Check 4/24/20              893.25
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21804      Payroll Check 4/24/20              893.76
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21548      Payroll Check 4/24/20              914.89
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21728      Payroll Check 4/24/20              917.84
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21616      Payroll Check 4/24/20              917.91
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21807      Payroll Check 4/24/20              917.94
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21761      Payroll Check 4/24/20              922.93
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21772      Payroll Check 4/24/20              933.98
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21553      Payroll Check 4/24/20              941.36
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21622      Payroll Check 4/24/20              944.52
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21773      Payroll Check 4/24/20              947.71
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21765      Payroll Check 4/24/20              956.71
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21870      Payroll Check 4/24/20              962.68
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21800      Payroll Check 4/24/20              963.15
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21845      Payroll Check 4/24/20              964.26
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21558      Payroll Check 4/24/20              970.55
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21836      Payroll Check 4/24/20              970.62
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20       100386      Payroll Check                      973.85
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21586      Payroll Check 4/24/20              974.53
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21577      Payroll Check 4/24/20              975.33
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21821      Payroll Check 4/24/20              991.66
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21655      Payroll Check 4/24/20              998.20
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21520      Payroll Check 4/24/20              999.07
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21828      Payroll Check 4/24/20              999.18
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21658      Payroll Check 4/24/20              999.30
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21775      Payroll Check 4/24/20            1,004.48
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21600      Payroll Check 4/24/20            1,005.52
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21752      Payroll Check 4/24/20            1,010.42
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21621      Payroll Check 4/24/20            1,021.36
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21527      Payroll Check 4/24/20            1,024.13
    Case 19-61608-grs                  Doc 600 Filed 06/04/20 Entered 06/04/20 09:17:43                                 Desc Main
                                              Document    Page 49 of 148
CASE NAME:                             Americore Holdings, LLC, et al.                                                      Disbursements

CASE NUMBER:                           19-61608-grs (Jointly Administered)

                                                            CASH DISBURSEMENTS DETAIL(1)

                     Entity                  Bank ID               Date      Check Number                       Payee      Amount
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21849      Payroll Check 4/24/20            1,042.34
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21862      Payroll Check 4/24/20            1,059.40
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21632      Payroll Check 4/24/20            1,061.92
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21790      Payroll Check 4/24/20            1,064.66
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21789      Payroll Check 4/24/20            1,065.46
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21874      Payroll Check 4/24/20            1,066.03
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21808      Payroll Check 4/24/20            1,068.07
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21809      Payroll Check 4/24/20            1,068.17
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21785      Payroll Check 4/24/20            1,072.02
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21679      Payroll Check 4/24/20            1,072.29
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21837      Payroll Check 4/24/20            1,072.40
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21611      Payroll Check 4/24/20            1,080.23
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21663      Payroll Check 4/24/20            1,083.31
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21633      Payroll Check 4/24/20            1,087.29
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21514      Payroll Check 4/24/20            1,090.71
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21685      Payroll Check 4/24/20            1,093.22
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21851      Payroll Check 4/24/20            1,101.12
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21749      Payroll Check 4/24/20            1,110.34
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21521      Payroll Check 4/24/20            1,114.58
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21630      Payroll Check 4/24/20            1,120.87
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21568      Payroll Check 4/24/20            1,122.43
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21778      Payroll Check 4/24/20            1,127.03
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21533      Payroll Check 4/24/20            1,144.86
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21856      Payroll Check 4/24/20            1,156.93
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21861      Payroll Check 4/24/20            1,168.20
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21776      Payroll Check 4/24/20            1,173.16
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21537      Payroll Check 4/24/20            1,184.48
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21743      Payroll Check 4/24/20            1,185.26
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21744      Payroll Check 4/24/20            1,188.07
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21768      Payroll Check 4/24/20            1,189.15
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21787      Payroll Check 4/24/20            1,193.98
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21647      Payroll Check 4/24/20            1,196.98
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21519      Payroll Check 4/24/20            1,199.31
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21536      Payroll Check 4/24/20            1,210.85
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21798      Payroll Check 4/24/20            1,219.22
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21779      Payroll Check 4/24/20            1,223.32
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21669      Payroll Check 4/24/20            1,233.19
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21812      Payroll Check 4/24/20            1,258.37
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21763      Payroll Check 4/24/20            1,261.13
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21592      Payroll Check 4/24/20            1,275.95
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21617      Payroll Check 4/24/20            1,296.26
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21599      Payroll Check 4/24/20            1,296.65
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21522      Payroll Check 4/24/20            1,313.25
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21692      Payroll Check 4/24/20            1,316.67
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21698      Payroll Check 4/24/20            1,325.91
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21880      Payroll Check 4/24/20            1,346.81
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21782      Payroll Check 4/24/20            1,348.51
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21668      Payroll Check 4/24/20            1,361.75
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21858      Payroll Check 4/24/20            1,364.73
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21604      Payroll Check 4/24/20            1,376.55
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21690      Payroll Check 4/24/20            1,381.05
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21624      Payroll Check 4/24/20            1,395.86
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21781      Payroll Check 4/24/20            1,396.19
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21844      Payroll Check 4/24/20            1,406.11
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21829      Payroll Check 4/24/20            1,412.46
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21802      Payroll Check 4/24/20            1,414.32
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21701      Payroll Check 4/24/20            1,418.77
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21643      Payroll Check 4/24/20            1,426.82
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21879      Payroll Check 4/24/20            1,428.20
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21696      Payroll Check 4/24/20            1,438.43
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21700      Payroll Check 4/24/20            1,446.71
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21650      Payroll Check 4/24/20            1,454.48
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21796      Payroll Check 4/24/20            1,459.13
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21642      Payroll Check 4/24/20            1,464.73
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21795      Payroll Check 4/24/20            1,466.34
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21651      Payroll Check 4/24/20            1,473.45
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21723      Payroll Check 4/24/20            1,489.98
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21841      Payroll Check 4/24/20            1,490.50
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21811      Payroll Check 4/24/20            1,491.63
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21561      Payroll Check 4/24/20            1,507.63
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21576      Payroll Check 4/24/20            1,511.13
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21797      Payroll Check 4/24/20            1,517.01
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21718      Payroll Check 4/24/20            1,526.55
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21667      Payroll Check 4/24/20            1,527.19
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21867      Payroll Check 4/24/20            1,530.35
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21871      Payroll Check 4/24/20            1,535.50
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21525      Payroll Check 4/24/20            1,537.43
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21636      Payroll Check 4/24/20            1,542.04
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21549      Payroll Check 4/24/20            1,552.65
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21729      Payroll Check 4/24/20            1,556.19
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21794      Payroll Check 4/24/20            1,560.73
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20       100391      Payroll Check                    1,567.86
    Case 19-61608-grs                  Doc 600 Filed 06/04/20 Entered 06/04/20 09:17:43                                 Desc Main
                                              Document    Page 50 of 148
CASE NAME:                             Americore Holdings, LLC, et al.                                                      Disbursements

CASE NUMBER:                           19-61608-grs (Jointly Administered)

                                                            CASH DISBURSEMENTS DETAIL(1)

                     Entity                  Bank ID               Date      Check Number                       Payee      Amount
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21641      Payroll Check 4/24/20            1,590.54
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21737      Payroll Check 4/24/20            1,590.87
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21813      Payroll Check 4/24/20            1,592.84
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21563      Payroll Check 4/24/20            1,598.75
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21708      Payroll Check 4/24/20            1,598.75
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21640      Payroll Check 4/24/20            1,601.42
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21843      Payroll Check 4/24/20            1,606.81
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21706      Payroll Check 4/24/20            1,610.42
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21881      Payroll Check 4/24/20            1,614.95
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21769      Payroll Check 4/24/20            1,627.72
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21833      Payroll Check 4/24/20            1,628.39
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21664      Payroll Check 4/24/20            1,633.42
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21625      Payroll Check 4/24/20            1,634.25
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21817      Payroll Check 4/24/20            1,647.99
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21646      Payroll Check 4/24/20            1,652.65
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21551      Payroll Check 4/24/20            1,657.13
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21662      Payroll Check 4/24/20            1,673.14
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21517      Payroll Check 4/24/20            1,677.53
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21816      Payroll Check 4/24/20            1,682.98
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21652      Payroll Check 4/24/20            1,695.31
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21571      Payroll Check 4/24/20            1,719.83
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21574      Payroll Check 4/24/20            1,724.78
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21759      Payroll Check 4/24/20            1,725.50
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21590      Payroll Check 4/24/20            1,732.34
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21719      Payroll Check 4/24/20            1,735.25
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21649      Payroll Check 4/24/20            1,736.83
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21859      Payroll Check 4/24/20            1,751.44
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21877      Payroll Check 4/24/20            1,751.50
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21878      Payroll Check 4/24/20            1,756.49
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21770      Payroll Check 4/24/20            1,771.70
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21732      Payroll Check 4/24/20            1,773.29
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21693      Payroll Check 4/24/20            1,784.44
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21707      Payroll Check 4/24/20            1,785.18
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21579      Payroll Check 4/24/20            1,787.95
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21810      Payroll Check 4/24/20            1,795.25
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21560      Payroll Check 4/24/20            1,803.46
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21629      Payroll Check 4/24/20            1,811.79
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21540      Payroll Check 4/24/20            1,834.07
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21703      Payroll Check 4/24/20            1,837.69
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21724      Payroll Check 4/24/20            1,842.29
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21699      Payroll Check 4/24/20            1,850.71
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21864      Payroll Check 4/24/20            1,866.34
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21834      Payroll Check 4/24/20            1,878.59
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21826      Payroll Check 4/24/20            1,879.12
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21638      Payroll Check 4/24/20            1,881.33
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21524      Payroll Check 4/24/20            1,886.94
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21661      Payroll Check 4/24/20            1,890.16
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20       100392      Payroll Check                    1,898.60
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21689      Payroll Check 4/24/20            1,905.07
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21872      Payroll Check 4/24/20            1,914.95
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21711      Payroll Check 4/24/20            1,925.72
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21855      Payroll Check 4/24/20            1,925.99
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21738      Payroll Check 4/24/20            1,945.72
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21786      Payroll Check 4/24/20            1,947.07
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21731      Payroll Check 4/24/20            1,951.97
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21876      Payroll Check 4/24/20            1,971.83
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21730      Payroll Check 4/24/20            1,972.84
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21721      Payroll Check 4/24/20            1,973.41
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21637      Payroll Check 4/24/20            1,977.02
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21852      Payroll Check 4/24/20            1,978.70
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21671      Payroll Check 4/24/20            1,983.27
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21717      Payroll Check 4/24/20            1,985.32
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21603      Payroll Check 4/24/20            1,991.98
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21573      Payroll Check 4/24/20            2,016.17
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21713      Payroll Check 4/24/20            2,034.64
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21545      Payroll Check 4/24/20            2,048.44
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21710      Payroll Check 4/24/20            2,049.54
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21535      Payroll Check 4/24/20            2,055.45
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21619      Payroll Check 4/24/20            2,057.66
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21806      Payroll Check 4/24/20            2,060.50
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21714      Payroll Check 4/24/20            2,067.92
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21771      Payroll Check 4/24/20            2,080.20
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21648      Payroll Check 4/24/20            2,103.79
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21688      Payroll Check 4/24/20            2,107.92
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21860      Payroll Check 4/24/20            2,110.38
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21515      Payroll Check 4/24/20            2,117.96
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21716      Payroll Check 4/24/20            2,125.09
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21606      Payroll Check 4/24/20            2,139.39
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21727      Payroll Check 4/24/20            2,164.87
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21570      Payroll Check 4/24/20            2,189.32
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21715      Payroll Check 4/24/20            2,220.85
St. Alexius Hospital Corporation # 1        USB-6878             04/24/20        21741      Payroll Check 4/24/20            2,246.44
    Case 19-61608-grs                         Doc 600 Filed 06/04/20 Entered 06/04/20 09:17:43                                                            Desc Main
                                                     Document    Page 51 of 148
CASE NAME:                                     Americore Holdings, LLC, et al.                                                                                      Disbursements

CASE NUMBER:                                   19-61608-grs (Jointly Administered)

                                                                     CASH DISBURSEMENTS DETAIL(1)

                     Entity                           Bank ID               Date         Check Number                            Payee                            Amount
St. Alexius Hospital Corporation # 1                 USB-6878             04/24/20           21554         Payroll Check 4/24/20                                      2,270.29
St. Alexius Hospital Corporation # 1                 USB-6878             04/24/20           21846         Payroll Check 4/24/20                                      2,272.46
St. Alexius Hospital Corporation # 1                 USB-6878             04/24/20           21705         Payroll Check 4/24/20                                      2,301.09
St. Alexius Hospital Corporation # 1                 USB-6878             04/24/20           21733         Payroll Check 4/24/20                                      2,325.25
St. Alexius Hospital Corporation # 1                 USB-6878             04/24/20           21562         Payroll Check 4/24/20                                      2,342.43
St. Alexius Hospital Corporation # 1                 USB-6878             04/24/20           21704         Payroll Check 4/24/20                                      2,344.77
St. Alexius Hospital Corporation # 1                 USB-6878             04/24/20           21618         Payroll Check 4/24/20                                      2,352.82
St. Alexius Hospital Corporation # 1                 USB-6878             04/24/20           21518         Payroll Check 4/24/20                                      2,381.84
St. Alexius Hospital Corporation # 1                 USB-6878             04/24/20           21620         Payroll Check 4/24/20                                      2,405.82
St. Alexius Hospital Corporation # 1                 USB-6878             04/24/20           21608         Payroll Check 4/24/20                                      2,410.86
St. Alexius Hospital Corporation # 1                 USB-6878             04/24/20           21526         Payroll Check 4/24/20                                      2,414.61
St. Alexius Hospital Corporation # 1                 USB-6878             04/24/20           21722         Payroll Check 4/24/20                                      2,425.26
St. Alexius Hospital Corporation # 1                 USB-6878             04/24/20           21805         Payroll Check 4/24/20                                      2,546.13
St. Alexius Hospital Corporation # 1                 USB-6878             04/24/20           21555         Payroll Check 4/24/20                                      2,581.25
St. Alexius Hospital Corporation # 1                 USB-6878             04/24/20           21854         Payroll Check 4/24/20                                      2,606.88
St. Alexius Hospital Corporation # 1                 USB-6878             04/24/20           21598         Payroll Check 4/24/20                                      2,674.69
St. Alexius Hospital Corporation # 1                 USB-6878             04/24/20           21832         Payroll Check 4/24/20                                      2,692.29
St. Alexius Hospital Corporation # 1                 USB-6878             04/24/20           21547         Payroll Check 4/24/20                                      2,710.31
St. Alexius Hospital Corporation # 1                 USB-6878             04/24/20           21564         Payroll Check 4/24/20                                      2,712.89
St. Alexius Hospital Corporation # 1                 USB-6878             04/24/20           21565         Payroll Check 4/24/20                                      2,757.96
St. Alexius Hospital Corporation # 1                 USB-6878             04/24/20           21585         Payroll Check 4/24/20                                      2,784.41
St. Alexius Hospital Corporation # 1                 USB-6878             04/24/20           21695         Payroll Check 4/24/20                                      2,824.99
St. Alexius Hospital Corporation # 1                 USB-6878             04/24/20           21566         Payroll Check 4/24/20                                      2,849.71
St. Alexius Hospital Corporation # 1                 USB-6878             04/24/20           21609         Payroll Check 4/24/20                                      2,894.14
St. Alexius Hospital Corporation # 1                 USB-6878             04/24/20           21684         Payroll Check 4/24/20                                      2,997.16
St. Alexius Hospital Corporation # 1                 USB-6878             04/24/20           21589         Payroll Check 4/24/20                                      3,007.09
St. Alexius Hospital Corporation # 1                 USB-6878             04/24/20           21866         Payroll Check 4/24/20                                      3,020.38
St. Alexius Hospital Corporation # 1                 USB-6878             04/24/20           21677         Payroll Check 4/24/20                                      3,020.71
St. Alexius Hospital Corporation # 1                 USB-6878             04/24/20           21682         Payroll Check 4/24/20                                      3,027.54
St. Alexius Hospital Corporation # 1                 USB-6878             04/24/20           21601         Payroll Check 4/24/20                                      3,058.46
St. Alexius Hospital Corporation # 1                 USB-6878             04/24/20           21830         Payroll Check 4/24/20                                      3,074.87
St. Alexius Hospital Corporation # 1                 USB-6878             04/24/20           21681         Payroll Check 4/24/20                                      3,115.50
St. Alexius Hospital Corporation # 1                 USB-6878             04/24/20           21676         Payroll Check 4/24/20                                      3,220.45
St. Alexius Hospital Corporation # 1                 USB-6878             04/24/20           21516         Payroll Check 4/24/20                                      3,236.40
St. Alexius Hospital Corporation # 1                 USB-6878             04/24/20           21853         Payroll Check 4/24/20                                      3,282.98
St. Alexius Hospital Corporation # 1                 USB-6878             04/24/20           21814         Payroll Check 4/24/20                                      3,402.26
St. Alexius Hospital Corporation # 1                 USB-6878             04/24/20           21842         Payroll Check 4/24/20                                      3,775.27
St. Alexius Hospital Corporation # 1                 USB-6878             04/24/20           21734         Payroll Check 4/24/20                                      3,881.56
St. Alexius Hospital Corporation # 1                 USB-6878             04/24/20           21594         Payroll Check 4/24/20                                      4,450.33
St. Alexius Hospital Corporation # 1                 USB-6878             04/24/20           21831         Payroll Check 4/24/20                                      6,276.02
St. Alexius Hospital Corporation # 1                 USB-6878             04/24/20           Debit         Payroll Billing                                            8,784.25
St. Alexius Hospital Corporation # 1                 USB-6878             04/27/20           Debit         IRS                                                       16,424.64
St. Alexius Hospital Corporation # 1                 USB-6878             04/28/20          100396         Payroll Check                                                371.11
St. Alexius Hospital Corporation # 1                 USB-6878             04/28/20          100395         Payroll Check                                                383.25
St. Alexius Hospital Corporation # 1                 USB-6878             04/28/20          100394         Payroll Check                                              1,537.43
St. Alexius Hospital Corporation # 1                 USB-6878             04/28/20           Debit         Missouri Department of Revenue                            25,024.50
St. Alexius Hospital Corporation # 1                 USB-6878             04/28/20           Debit         Missouri Department of Revenue                            25,288.50
St. Alexius Hospital Corporation # 1                 USB-6878             04/28/20          100398         City of St Louis - ER                                     27,899.96
St. Alexius Hospital Corporation # 1                 USB-6878             04/28/20          100399         City of St Louis - EE                                     53,453.41
St. Alexius Hospital Corporation # 1                 USB-6878             04/30/20          100393         Payroll Check                                                857.27
St. Alexius Hospital Corporation # 1                 USB-6878             04/30/20           Debit         John Hancock 401K                                         26,003.61
Total                                                                                                                                                             1,664,784.13

TOTAL DISBURSEMENTS:                                                                                                                                         $    4,051,071.62

Notes:
(1) Includes $75,199.37 of disbursements inadvertently not included on previous monthly operating reports due to incomplete postings in the check registers discovered in the
current reporting period.
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                                                              CASH RECEIPTS DETAIL

                 Entity                       Bank ID             Date                             Received From                    Amount
Ellwood Medical Center Operations, LLC       USB-4983           04/17/20       Batch deposit for patient and claim payments     $     8,986.49
Ellwood Medical Center Operations, LLC       USB-4983           04/20/20       Batch deposit for patient and claim payments           3,049.08
Ellwood Medical Center Operations, LLC       USB-4983           04/22/20       Batch deposit for patient and claim payments           1,349.95
Ellwood Medical Center Operations, LLC       USB-4983           04/24/20       Batch deposit for patient and claim payments             952.09
Ellwood Medical Center Operations, LLC       USB-4983           04/27/20       Batch deposit for patient and claim payments           1,044.71
Total                                                                                                                                15,382.32

Ellwood Medical Center Operations, LLC       USB-5014           04/01/20       Highmark Inc.                                              583.74
Ellwood Medical Center Operations, LLC       USB-5014           04/02/20       HAPA WPA Erie HMO                                          776.70
Ellwood Medical Center Operations, LLC       USB-5014           04/07/20       UPMC Health Plan                                         1,591.09
Ellwood Medical Center Operations, LLC       USB-5014           04/10/20       US Stimulus                                          1,805,227.75
Ellwood Medical Center Operations, LLC       USB-5014           04/10/20       UPMC Health Plan                                            38.50
Ellwood Medical Center Operations, LLC       USB-5014           04/15/20       Highmark Inc.                                              140.87
Ellwood Medical Center Operations, LLC       USB-5014           04/22/20       Highmark Inc.                                            1,371.41
Ellwood Medical Center Operations, LLC       USB-5014           04/23/20       UPMC Health Plan                                           260.78
Total                                                                                                                               1,809,990.84

Izard County Medical Center, LLC             FNB-5801           04/01/20       NOVITAS SOLUTION                                        7,089.03
Izard County Medical Center, LLC             FNB-5801           04/02/20       NOVITAS SOLUTION                                           73.00
Izard County Medical Center, LLC             FNB-5801           04/02/20       NOVITAS SOLUTION                                       22,843.80
Izard County Medical Center, LLC             FNB-5801           04/02/20       NOVITAS SOLUTION                                       42,540.90
Izard County Medical Center, LLC             FNB-5801           04/03/20       NOVITAS SOLUTION                                          721.65
Izard County Medical Center, LLC             FNB-5801           04/03/20       NOVITAS SOLUTION                                        2,843.46
Izard County Medical Center, LLC             FNB-5801           04/06/20       NOVITAS SOLUTION                                           90.58
Izard County Medical Center, LLC             FNB-5801           04/06/20       NOVITAS SOLUTION                                       22,445.48
Izard County Medical Center, LLC             FNB-5801           04/07/20       Humana                                                    544.71
Izard County Medical Center, LLC             FNB-5801           04/07/20       NOVITAS SOLUTION                                        7,126.19
Izard County Medical Center, LLC             FNB-5801           04/08/20       NOVITAS SOLUTION                                           81.23
Izard County Medical Center, LLC             FNB-5801           04/08/20       NOVITAS SOLUTION                                        4,230.49
Izard County Medical Center, LLC             FNB-5801           04/09/20       NOVITAS SOLUTION                                          211.43
Izard County Medical Center, LLC             FNB-5801           04/09/20       NOVITAS SOLUTION                                        1,382.60
Izard County Medical Center, LLC             FNB-5801           04/09/20       NOVITAS SOLUTION                                        1,657.32
Izard County Medical Center, LLC             FNB-5801           04/10/20       NOVITAS SOLUTION                                          130.45
Izard County Medical Center, LLC             FNB-5801           04/14/20       Humana                                                    240.34
Izard County Medical Center, LLC             FNB-5801           04/14/20       NOVITAS SOLUTION                                          241.71
Izard County Medical Center, LLC             FNB-5801           04/14/20       Humana                                                    284.96
Izard County Medical Center, LLC             FNB-5801           04/14/20       Humana                                                    301.57
Izard County Medical Center, LLC             FNB-5801           04/16/20       NOVITAS SOLUTION                                        5,911.01
Izard County Medical Center, LLC             FNB-5801           04/17/20       Humana                                                    164.99
Izard County Medical Center, LLC             FNB-5801           04/17/20       Novitas Solution                                          259.70
Izard County Medical Center, LLC             FNB-5801           04/20/20       NOVITAS SOLUTION                                          288.23
Izard County Medical Center, LLC             FNB-5801           04/20/20       NOVITAS SOLUTION                                        5,404.97
Izard County Medical Center, LLC             FNB-5801           04/21/20       NOVITAS SOLUTION                                          219.01
Izard County Medical Center, LLC             FNB-5801           04/21/20       NOVITAS SOLUTION                                          245.48
Izard County Medical Center, LLC             FNB-5801           04/21/20       NOVITAS SOLUTION                                        1,640.86
Izard County Medical Center, LLC             FNB-5801           04/22/20       NOVITAS SOLUTION                                          546.23
Izard County Medical Center, LLC             FNB-5801           04/22/20       NOVITAS SOLUTION                                       12,452.82
Izard County Medical Center, LLC             FNB-5801           04/23/20       NOVITAS SOLUTION                                           62.85
Izard County Medical Center, LLC             FNB-5801           04/23/20       NOVITAS SOLUTION                                        2,916.75
Izard County Medical Center, LLC             FNB-5801           04/24/20       Humana                                                     61.43
Izard County Medical Center, LLC             FNB-5801           04/24/20       NOVITAS SOLUTION                                       16,143.92
Izard County Medical Center, LLC             FNB-5801           04/28/20       B of A - CBIC Claims                                      339.45
Izard County Medical Center, LLC             FNB-5801           04/29/20       Humana                                                     96.48
Izard County Medical Center, LLC             FNB-5801           04/29/20       NOVITAS SOLUTION                                          208.58
Izard County Medical Center, LLC             FNB-5801           04/29/20       NOVITAS SOLUTION                                        5,125.91
Izard County Medical Center, LLC             FNB-5801           04/30/20       NOVITAS SOLUTION                                       11,221.56
Total                                                                                                                                178,391.13

Izard County Medical Center, LLC             FNB-5802           04/01/20       Deposit                                                   174.24
Izard County Medical Center, LLC             FNB-5802           04/01/20       Bankcard Deposit                                           10.50
Izard County Medical Center, LLC             FNB-5802           04/01/20       Merchant Services                                          90.00
Izard County Medical Center, LLC             FNB-5802           04/01/20       ABCBS Blue Card                                            94.96
Izard County Medical Center, LLC             FNB-5802           04/01/20       36 Treas 310                                              234.00
Izard County Medical Center, LLC             FNB-5802           04/01/20       ABCBS Medipak                                           1,105.08
Izard County Medical Center, LLC             FNB-5802           04/01/20       Pay Plus AR                                             4,064.67
Izard County Medical Center, LLC             FNB-5802           04/02/20       Bankcard Deposit                                           42.00
Izard County Medical Center, LLC             FNB-5802           04/02/20       Bankcard Deposit                                          142.86
Izard County Medical Center, LLC             FNB-5802           04/02/20       MCRAR Claims                                              180.77
Izard County Medical Center, LLC             FNB-5802           04/02/20       MCRAR Claims                                              348.48
Izard County Medical Center, LLC             FNB-5802           04/02/20       ABCBS Medipak                                             459.64
Izard County Medical Center, LLC             FNB-5802           04/02/20       ABCBS Medipak                                           1,926.67
Izard County Medical Center, LLC             FNB-5802           04/03/20       Deposit                                                   110.00
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                                                         CASH RECEIPTS DETAIL

                 Entity                  Bank ID             Date                          Received From       Amount
Izard County Medical Center, LLC        FNB-5802           04/03/20       Bankcard Deposit                           23.25
Izard County Medical Center, LLC        FNB-5802           04/03/20       AARP Supplemental                          48.40
Izard County Medical Center, LLC        FNB-5802           04/03/20       Bankcard Deposit                           50.00
Izard County Medical Center, LLC        FNB-5802           04/03/20       Harmony Health                             84.58
Izard County Medical Center, LLC        FNB-5802           04/03/20       ABCBS Medipak                             569.74
Izard County Medical Center, LLC        FNB-5802           04/03/20       DXC Technology                            588.67
Izard County Medical Center, LLC        FNB-5802           04/03/20       ABCBS FEP                                 864.82
Izard County Medical Center, LLC        FNB-5802           04/03/20       DXC Technology                          2,027.56
Izard County Medical Center, LLC        FNB-5802           04/06/20       Deposit                                 8,184.56
Izard County Medical Center, LLC        FNB-5802           04/06/20       Bankcard Deposit                           33.50
Izard County Medical Center, LLC        FNB-5802           04/06/20       HLTH Adv AR                               232.47
Izard County Medical Center, LLC        FNB-5802           04/06/20       Harmony Health                            285.59
Izard County Medical Center, LLC        FNB-5802           04/06/20       HLTH Adv AR                               353.37
Izard County Medical Center, LLC        FNB-5802           04/06/20       DXC Technology                            414.03
Izard County Medical Center, LLC        FNB-5802           04/06/20       MarketPlace                             1,271.45
Izard County Medical Center, LLC        FNB-5802           04/07/20       Deposit                                   211.61
Izard County Medical Center, LLC        FNB-5802           04/07/20       Bankcard Deposit                            3.00
Izard County Medical Center, LLC        FNB-5802           04/07/20       Bankcard Deposit                            9.50
Izard County Medical Center, LLC        FNB-5802           04/07/20       Bankcard Deposit                           11.00
Izard County Medical Center, LLC        FNB-5802           04/07/20       Bankcard Deposit                           11.50
Izard County Medical Center, LLC        FNB-5802           04/07/20       Bankcard Deposit                           90.00
Izard County Medical Center, LLC        FNB-5802           04/07/20       Bankcard Deposit                          100.00
Izard County Medical Center, LLC        FNB-5802           04/07/20       ABCBS AMISYS                              118.70
Izard County Medical Center, LLC        FNB-5802           04/07/20       ABCBS Medipak                             322.64
Izard County Medical Center, LLC        FNB-5802           04/07/20       ABCBS MedAdv                            6,397.44
Izard County Medical Center, LLC        FNB-5802           04/08/20       Deposit                                   564.50
Izard County Medical Center, LLC        FNB-5802           04/08/20       Bankcard Deposit                           19.50
Izard County Medical Center, LLC        FNB-5802           04/08/20       ABCBS Blue Card                           100.89
Izard County Medical Center, LLC        FNB-5802           04/08/20       Pay Plus AR                               575.78
Izard County Medical Center, LLC        FNB-5802           04/08/20       ABCBS Medipak                           2,873.72
Izard County Medical Center, LLC        FNB-5802           04/08/20       MarketPlace                            21,829.82
Izard County Medical Center, LLC        FNB-5802           04/09/20       Bankcard Deposit                           30.00
Izard County Medical Center, LLC        FNB-5802           04/09/20       Bankcard Deposit                          140.60
Izard County Medical Center, LLC        FNB-5802           04/09/20       MCRAR Claims                            1,547.45
Izard County Medical Center, LLC        FNB-5802           04/10/20       Deposit                                   442.02
Izard County Medical Center, LLC        FNB-5802           04/10/20       Deposit                                 7,660.80
Izard County Medical Center, LLC        FNB-5802           04/10/20       AARP Supplemental                          19.40
Izard County Medical Center, LLC        FNB-5802           04/10/20       DXC Technology                             41.20
Izard County Medical Center, LLC        FNB-5802           04/10/20       Bankcard Deposit                           64.00
Izard County Medical Center, LLC        FNB-5802           04/10/20       Bankcard Deposit                           80.00
Izard County Medical Center, LLC        FNB-5802           04/10/20       36 Treas 310                              164.00
Izard County Medical Center, LLC        FNB-5802           04/10/20       AARP Supplemental                         899.22
Izard County Medical Center, LLC        FNB-5802           04/10/20       MarketPlace                            10,646.75
Izard County Medical Center, LLC        FNB-5802           04/10/20       DXC Technology                         16,682.42
Izard County Medical Center, LLC        FNB-5802           04/10/20       US Stimulus                           236,516.92
Izard County Medical Center, LLC        FNB-5802           04/13/20       Deposit                                11,106.01
Izard County Medical Center, LLC        FNB-5802           04/13/20       Bankcard Deposit                           14.00
Izard County Medical Center, LLC        FNB-5802           04/13/20       ABCBS Reg                                  42.81
Izard County Medical Center, LLC        FNB-5802           04/13/20       ABCBS AMISYS                              154.07
Izard County Medical Center, LLC        FNB-5802           04/13/20       ABCBS Medipak                             250.74
Izard County Medical Center, LLC        FNB-5802           04/13/20       ABCBS Medipak                             705.47
Izard County Medical Center, LLC        FNB-5802           04/13/20       ABCBS AMISYS                              850.76
Izard County Medical Center, LLC        FNB-5802           04/13/20       ABCBS Medipak                           4,462.45
Izard County Medical Center, LLC        FNB-5802           04/14/20       Deposit                                   404.88
Izard County Medical Center, LLC        FNB-5802           04/14/20       Bankcard Deposit                            3.00
Izard County Medical Center, LLC        FNB-5802           04/14/20       Bankcard Deposit                           26.25
Izard County Medical Center, LLC        FNB-5802           04/14/20       Bankcard Deposit                           39.40
Izard County Medical Center, LLC        FNB-5802           04/14/20       HNB Echo                                   55.24
Izard County Medical Center, LLC        FNB-5802           04/14/20       Arkansas Total                            104.42
Izard County Medical Center, LLC        FNB-5802           04/14/20       ABCBS MedAdv                              218.48
Izard County Medical Center, LLC        FNB-5802           04/14/20       HLTH Adv AR                               463.23
Izard County Medical Center, LLC        FNB-5802           04/14/20       Bankcard Deposit                          479.00
Izard County Medical Center, LLC        FNB-5802           04/14/20       ABCBS MedAdv                              702.26
Izard County Medical Center, LLC        FNB-5802           04/14/20       HLTH Adv AR                             1,646.53
Izard County Medical Center, LLC        FNB-5802           04/14/20       Harmony Health                          2,332.65
Izard County Medical Center, LLC        FNB-5802           04/15/20       Deposit                                   249.42
Izard County Medical Center, LLC        FNB-5802           04/15/20       AARP Supplemental                          19.40
Izard County Medical Center, LLC        FNB-5802           04/15/20       Bankcard Deposit                           21.00
Izard County Medical Center, LLC        FNB-5802           04/15/20       AARP Supplemental                          39.54
Izard County Medical Center, LLC        FNB-5802           04/15/20       ABCBS FEP                                  72.86
Izard County Medical Center, LLC        FNB-5802           04/15/20       ABCBS FEP                                 182.28
Izard County Medical Center, LLC        FNB-5802           04/15/20       ABCBS Blue Card                           621.73
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                                                         CASH RECEIPTS DETAIL

                 Entity                  Bank ID             Date                          Received From       Amount
Izard County Medical Center, LLC        FNB-5802           04/16/20       Bankcard Deposit                          15.00
Izard County Medical Center, LLC        FNB-5802           04/16/20       Bankcard Deposit                          62.44
Izard County Medical Center, LLC        FNB-5802           04/16/20       MCRAR Claims                          10,292.26
Izard County Medical Center, LLC        FNB-5802           04/17/20       Deposit                                9,733.95
Izard County Medical Center, LLC        FNB-5802           04/17/20       Bankcard Deposit                          11.00
Izard County Medical Center, LLC        FNB-5802           04/17/20       ABCBS Medipak                            141.00
Izard County Medical Center, LLC        FNB-5802           04/17/20       DXC Technology                           445.02
Izard County Medical Center, LLC        FNB-5802           04/17/20       ABCBS Medipak                          1,842.39
Izard County Medical Center, LLC        FNB-5802           04/17/20       ABCBS Medipak                          2,749.06
Izard County Medical Center, LLC        FNB-5802           04/17/20       DXC Technology                         2,996.85
Izard County Medical Center, LLC        FNB-5802           04/20/20       Deposit                               12,809.44
Izard County Medical Center, LLC        FNB-5802           04/20/20       Bankcard Deposit                          29.00
Izard County Medical Center, LLC        FNB-5802           04/20/20       HNB Echo                                  62.62
Izard County Medical Center, LLC        FNB-5802           04/20/20       AARP Supplemental                         72.86
Izard County Medical Center, LLC        FNB-5802           04/20/20       HLTH Adv AR                              107.87
Izard County Medical Center, LLC        FNB-5802           04/20/20       Bankcard Deposit                         200.00
Izard County Medical Center, LLC        FNB-5802           04/20/20       MarketPlace                              322.85
Izard County Medical Center, LLC        FNB-5802           04/20/20       HLTH Adv AR                              746.36
Izard County Medical Center, LLC        FNB-5802           04/20/20       ABCBS AMISYS                           1,889.73
Izard County Medical Center, LLC        FNB-5802           04/20/20       ABCBS AMISYS                           2,506.31
Izard County Medical Center, LLC        FNB-5802           04/21/20       Deposit                                6,863.39
Izard County Medical Center, LLC        FNB-5802           04/21/20       Bankcard Deposit                          20.00
Izard County Medical Center, LLC        FNB-5802           04/21/20       Bankcard Deposit                          24.00
Izard County Medical Center, LLC        FNB-5802           04/21/20       Blue Advantage                            31.39
Izard County Medical Center, LLC        FNB-5802           04/21/20       ABCBS Reg                                 75.59
Izard County Medical Center, LLC        FNB-5802           04/21/20       Bankcard Deposit                         485.73
Izard County Medical Center, LLC        FNB-5802           04/21/20       ABCBS MedAdv                             515.45
Izard County Medical Center, LLC        FNB-5802           04/21/20       ABCBS Reg                              1,133.27
Izard County Medical Center, LLC        FNB-5802           04/21/20       Harmony Health                        10,986.22
Izard County Medical Center, LLC        FNB-5802           04/22/20       Deposit                                  326.81
Izard County Medical Center, LLC        FNB-5802           04/22/20       Bankcard Deposit                          37.50
Izard County Medical Center, LLC        FNB-5802           04/22/20       36 Treas 310                              48.40
Izard County Medical Center, LLC        FNB-5802           04/22/20       ABCBS Blue Card                           92.00
Izard County Medical Center, LLC        FNB-5802           04/22/20       MarketPlace                              147.99
Izard County Medical Center, LLC        FNB-5802           04/22/20       ABCBS Blue Card                          244.02
Izard County Medical Center, LLC        FNB-5802           04/22/20       MarketPlace                              353.51
Izard County Medical Center, LLC        FNB-5802           04/22/20       Pay Plus AR                              620.11
Izard County Medical Center, LLC        FNB-5802           04/22/20       ABCBS Medipak                            862.94
Izard County Medical Center, LLC        FNB-5802           04/22/20       ABCBS FEP                              1,408.00
Izard County Medical Center, LLC        FNB-5802           04/23/20       Deposit                                  525.84
Izard County Medical Center, LLC        FNB-5802           04/23/20       Harmony Health                            10.09
Izard County Medical Center, LLC        FNB-5802           04/23/20       36 Treas 310                              18.12
Izard County Medical Center, LLC        FNB-5802           04/23/20       Bankcard Deposit                          24.50
Izard County Medical Center, LLC        FNB-5802           04/23/20       MCRAR Claims                             588.32
Izard County Medical Center, LLC        FNB-5802           04/23/20       Bankcard Deposit                       2,041.50
Izard County Medical Center, LLC        FNB-5802           04/24/20       Deposit                                2,334.22
Izard County Medical Center, LLC        FNB-5802           04/24/20       DXC Technology                            19.40
Izard County Medical Center, LLC        FNB-5802           04/24/20       Bankcard Deposit                          25.00
Izard County Medical Center, LLC        FNB-5802           04/24/20       ABCBS Medipak                             84.86
Izard County Medical Center, LLC        FNB-5802           04/24/20       ABCBS FEP                                150.90
Izard County Medical Center, LLC        FNB-5802           04/24/20       ABCBS Medipak                            492.47
Izard County Medical Center, LLC        FNB-5802           04/24/20       Bankcard Deposit                         871.20
Izard County Medical Center, LLC        FNB-5802           04/24/20       36 Treas 310                           1,204.18
Izard County Medical Center, LLC        FNB-5802           04/24/20       DXC Technology                         1,238.73
Izard County Medical Center, LLC        FNB-5802           04/24/20       MarketPlace                            2,147.58
Izard County Medical Center, LLC        FNB-5802           04/27/20       Bankcard Deposit                          25.00
Izard County Medical Center, LLC        FNB-5802           04/27/20       Bankcard Deposit                          26.25
Izard County Medical Center, LLC        FNB-5802           04/27/20       DXC Technology                            39.29
Izard County Medical Center, LLC        FNB-5802           04/27/20       ABCBS AMISYS                              55.28
Izard County Medical Center, LLC        FNB-5802           04/27/20       HNB Echo                                  81.98
Izard County Medical Center, LLC        FNB-5802           04/27/20       HNB Echo                                 304.20
Izard County Medical Center, LLC        FNB-5802           04/27/20       HNB Echo                                 413.12
Izard County Medical Center, LLC        FNB-5802           04/27/20       MarketPlace                              442.09
Izard County Medical Center, LLC        FNB-5802           04/27/20       HLTH Adv AR                            1,665.21
Izard County Medical Center, LLC        FNB-5802           04/27/20       ABCBS AMISYS                           1,866.32
Izard County Medical Center, LLC        FNB-5802           04/27/20       Harmony Health                         2,616.00
Izard County Medical Center, LLC        FNB-5802           04/28/20       Bankcard Deposit                           4.00
Izard County Medical Center, LLC        FNB-5802           04/28/20       Bankcard Deposit                           7.50
Izard County Medical Center, LLC        FNB-5802           04/28/20       Bankcard Deposit                          13.00
Izard County Medical Center, LLC        FNB-5802           04/28/20       Arkansas Total                            22.00
Izard County Medical Center, LLC        FNB-5802           04/28/20       Blue Advantage                            73.52
Izard County Medical Center, LLC        FNB-5802           04/28/20       Blue Advantage                           118.39
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                                                             CASH RECEIPTS DETAIL

                 Entity                      Bank ID             Date                              Received From       Amount
Izard County Medical Center, LLC            FNB-5802           04/28/20       Bankcard Deposit                              247.76
Izard County Medical Center, LLC            FNB-5802           04/28/20       ABCBS MedAdv                                6,753.28
Izard County Medical Center, LLC            FNB-5802           04/29/20       Deposit                                     9,604.93
Izard County Medical Center, LLC            FNB-5802           04/29/20       ABCBS Blue Card                                 2.59
Izard County Medical Center, LLC            FNB-5802           04/29/20       Bankcard Deposit                                9.25
Izard County Medical Center, LLC            FNB-5802           04/29/20       36 Treas 310                                   28.77
Izard County Medical Center, LLC            FNB-5802           04/29/20       ABCBS FEP                                     145.72
Izard County Medical Center, LLC            FNB-5802           04/29/20       Pay Plus AR                                   349.60
Izard County Medical Center, LLC            FNB-5802           04/29/20       ABCBS Blue Card                               598.31
Izard County Medical Center, LLC            FNB-5802           04/29/20       MarketPlace                                 1,041.08
Izard County Medical Center, LLC            FNB-5802           04/29/20       MarketPlace                                 1,391.91
Izard County Medical Center, LLC            FNB-5802           04/30/20       Deposit                                       210.00
Izard County Medical Center, LLC            FNB-5802           04/30/20       Bankcard Deposit                               26.50
Izard County Medical Center, LLC            FNB-5802           04/30/20       Bankcard Deposit                               40.00
Izard County Medical Center, LLC            FNB-5802           04/30/20       Intalere                                       69.45
Izard County Medical Center, LLC            FNB-5802           04/30/20       MCRAR Claims                                   87.12
Izard County Medical Center, LLC            FNB-5802           04/30/20       Merchant Services                              90.00
Izard County Medical Center, LLC            FNB-5802           04/30/20       Pay Plus AR                                   288.37
Izard County Medical Center, LLC            FNB-5802           04/30/20       MCRAR Claims                                  294.16
Total                                                                                                                   469,599.31

St. Alexius Hospital Corporation # 1       BOA-5549            04/30/20       36 Treas 310                                 935.00
Total                                                                                                                      935.00

St. Alexius Hospital Corporation # 1       BOA-7479            04/01/20       Bankcard Deposit                           1,572.83
St. Alexius Hospital Corporation # 1       BOA-7479            04/03/20       Bankcard Deposit                             114.20
St. Alexius Hospital Corporation # 1       BOA-7479            04/06/20       Bankcard Deposit                             966.87
St. Alexius Hospital Corporation # 1       BOA-7479            04/07/20       Bankcard Deposit                              76.00
St. Alexius Hospital Corporation # 1       BOA-7479            04/08/20       Bankcard Deposit                           4,046.22
St. Alexius Hospital Corporation # 1       BOA-7479            04/10/20       Bankcard Deposit                           2,302.94
St. Alexius Hospital Corporation # 1       BOA-7479            04/13/20       Bankcard Deposit                           4,749.07
St. Alexius Hospital Corporation # 1       BOA-7479            04/14/20       Bankcard Deposit                           8,427.82
St. Alexius Hospital Corporation # 1       BOA-7479            04/15/20       Bankcard Deposit                          19,162.04
St. Alexius Hospital Corporation # 1       BOA-7479            04/16/20       Bankcard Deposit                           1,200.00
St. Alexius Hospital Corporation # 1       BOA-7479            04/17/20       Bankcard Deposit                           2,694.83
St. Alexius Hospital Corporation # 1       BOA-7479            04/20/20       Bankcard Deposit                              16.73
St. Alexius Hospital Corporation # 1       BOA-7479            04/21/20       Bankcard Deposit                             143.11
St. Alexius Hospital Corporation # 1       BOA-7479            04/22/20       Bankcard Deposit                           2,695.10
St. Alexius Hospital Corporation # 1       BOA-7479            04/23/20       Bankcard Deposit                             528.00
St. Alexius Hospital Corporation # 1       BOA-7479            04/27/20       Bankcard Deposit                           6,310.00
St. Alexius Hospital Corporation # 1       BOA-7479            04/28/20       Bankcard Deposit                           2,560.26
St. Alexius Hospital Corporation # 1       BOA-7479            04/29/20       Bankcard Deposit                              41.00
St. Alexius Hospital Corporation # 1       BOA-7479            04/30/20       Bankcard Deposit                              80.06
Total                                                                                                                   57,687.08

St. Alexius Hospital Corporation # 1       BOA-7592            04/03/20       STATE OF MISSOURI                             35.78
St. Alexius Hospital Corporation # 1       BOA-7592            04/14/20       STATE OF MISSOURI                             25.59
St. Alexius Hospital Corporation # 1       BOA-7592            04/27/20       STATE OF MISSOURI                            178.50
St. Alexius Hospital Corporation # 1       BOA-7592            04/27/20       STATE OF MISSOURI                            159.14
St. Alexius Hospital Corporation # 1       BOA-7592            04/27/20       STATE OF MISSOURI                             83.16
St. Alexius Hospital Corporation # 1       BOA-7592            04/27/20       STATE OF MISSOURI                             43.90
St. Alexius Hospital Corporation # 1       BOA-7592            04/28/20       STATE OF MISSOURI                             88.96
St. Alexius Hospital Corporation # 1       BOA-7592            04/28/20       STATE OF MISSOURI                             83.34
St. Alexius Hospital Corporation # 1       BOA-7592            04/28/20       STATE OF MISSOURI                             41.80
St. Alexius Hospital Corporation # 1       BOA-7592            04/28/20       STATE OF MISSOURI                             38.68
St. Alexius Hospital Corporation # 1       BOA-7592            04/29/20       STATE OF MISSOURI                             67.10
St. Alexius Hospital Corporation # 1       BOA-7592            04/29/20       STATE OF MISSOURI                             53.76
Total                                                                                                                      899.71

St. Alexius Hospital Corporation # 1       CNB-6621            04/08/20       Mo Social Services                             46.30
St. Alexius Hospital Corporation # 1       CNB-6621            04/15/20       Lockbox Deposit                                 2.88
St. Alexius Hospital Corporation # 1       CNB-6621            04/24/20       Mo Social Services                            875.54
St. Alexius Hospital Corporation # 1       CNB-6621            04/28/20       Lockbox Deposit                               117.28
Total                                                                                                                     1,042.00

St. Alexius Hospital Corporation # 1       CNB-6650            04/01/20       Cigna Edge                                 1,043.05
St. Alexius Hospital Corporation # 1       CNB-6650            04/06/20       Cigna Edge                                   819.20
St. Alexius Hospital Corporation # 1       CNB-6650            04/07/20       Lockbox Deposit                            3,180.85
St. Alexius Hospital Corporation # 1       CNB-6650            04/08/20       Cigna Edge                                11,506.28
St. Alexius Hospital Corporation # 1       CNB-6650            04/10/20       Cigna Edge                                 1,159.70
St. Alexius Hospital Corporation # 1       CNB-6650            04/14/20       Lockbox Deposit                            5,559.62
St. Alexius Hospital Corporation # 1       CNB-6650            04/15/20       Lockbox Deposit                           16,870.53
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CASE NUMBER:                            19-61608-grs (Jointly Administered)

                                                             CASH RECEIPTS DETAIL

                  Entity                    Bank ID              Date                             Received From       Amount
St. Alexius Hospital Corporation # 1       CNB-6650            04/20/20       Lockbox Deposit                              86.85
St. Alexius Hospital Corporation # 1       CNB-6650            04/20/20       Cigna Edge                                  316.80
St. Alexius Hospital Corporation # 1       CNB-6650            04/21/20       Lockbox Deposit                          13,740.73
St. Alexius Hospital Corporation # 1       CNB-6650            04/21/20       United Healthcare                           733.58
St. Alexius Hospital Corporation # 1       CNB-6650            04/27/20       36 Treas 310                                171.34
St. Alexius Hospital Corporation # 1       CNB-6650            04/28/20       Lockbox Deposit                           4,754.77
St. Alexius Hospital Corporation # 1       CNB-6650            04/29/20       Cigna Edge                                  528.00
Total                                                                                                                  60,471.30

St. Alexius Hospital Corporation # 1        USB-0141           04/07/20       Deposit                                     498.00
St. Alexius Hospital Corporation # 1        USB-0141           04/07/20       Deposit                                     100.00
St. Alexius Hospital Corporation # 1        USB-0141           04/07/20       Deposit                                      20.00
St. Alexius Hospital Corporation # 1        USB-0141           04/07/20       Deposit                                       9.00
St. Alexius Hospital Corporation # 1        USB-0141           04/16/20       Deposit                                      26.00
St. Alexius Hospital Corporation # 1        USB-0141           04/23/20       Deposit                                   2,491.00
St. Alexius Hospital Corporation # 1        USB-0141           04/23/20       Deposit                                       6.00
St. Alexius Hospital Corporation # 1        USB-0141           04/30/20       Deposit                                   1,333.00
Total                                                                                                                   4,483.00

St. Alexius Hospital Corporation # 1        USB-0157           04/28/20       US Bank                                     212.50
Total                                                                                                                     212.50

St. Alexius Hospital Corporation # 1        USB-0910           04/30/20       US Bank                                       2.62
Total                                                                                                                       2.62

St. Alexius Hospital Corporation # 1        USB-6845           04/01/20       Wisconsin Physic                          10,279.59
St. Alexius Hospital Corporation # 1        USB-6845           04/02/20       Wisconsin Physic                         106,908.62
St. Alexius Hospital Corporation # 1        USB-6845           04/02/20       Wisconsin Physic                          28,300.00
St. Alexius Hospital Corporation # 1        USB-6845           04/02/20       State of Illinois                            100.50
St. Alexius Hospital Corporation # 1        USB-6845           04/03/20       Wisconsin Physic                           1,160.69
St. Alexius Hospital Corporation # 1        USB-6845           04/06/20       Wisconsin Physic                          70,142.32
St. Alexius Hospital Corporation # 1        USB-6845           04/06/20       Wisconsin Physic                          30,455.24
St. Alexius Hospital Corporation # 1        USB-6845           04/07/20       Wisconsin Physic                          44,028.54
St. Alexius Hospital Corporation # 1        USB-6845           04/07/20       Wisconsin Physic                          11,747.76
St. Alexius Hospital Corporation # 1        USB-6845           04/07/20       WPS                                        2,290.41
St. Alexius Hospital Corporation # 1        USB-6845           04/08/20       MO Social Services                       657,750.99
St. Alexius Hospital Corporation # 1        USB-6845           04/08/20       Wisconsin Physic                          13,270.70
St. Alexius Hospital Corporation # 1        USB-6845           04/09/20       Wisconsin Physic                          14,999.01
St. Alexius Hospital Corporation # 1        USB-6845           04/10/20       Wisconsin Physic                           2,236.17
St. Alexius Hospital Corporation # 1        USB-6845           04/14/20       Wisconsin Physic                          80,479.35
St. Alexius Hospital Corporation # 1        USB-6845           04/14/20       Wisconsin Physic                          26,493.45
St. Alexius Hospital Corporation # 1        USB-6845           04/15/20       Wisconsin Physic                          13,161.26
St. Alexius Hospital Corporation # 1        USB-6845           04/16/20       Wisconsin Physic                          89,484.27
St. Alexius Hospital Corporation # 1        USB-6845           04/16/20       Wisconsin Physic                          28,300.00
St. Alexius Hospital Corporation # 1        USB-6845           04/17/20       Wisconsin Physic                           8,190.65
St. Alexius Hospital Corporation # 1        USB-6845           04/17/20       Wisconsin Physic                           1,016.09
St. Alexius Hospital Corporation # 1        USB-6845           04/20/20       Wisconsin Physic                          30,343.51
St. Alexius Hospital Corporation # 1        USB-6845           04/20/20       Wisconsin Physic                           7,758.32
St. Alexius Hospital Corporation # 1        USB-6845           04/20/20       WPS                                          414.63
St. Alexius Hospital Corporation # 1        USB-6845           04/21/20       Wisconsin Physic                          14,812.40
St. Alexius Hospital Corporation # 1        USB-6845           04/21/20       Wisconsin Physic                           9,255.82
St. Alexius Hospital Corporation # 1        USB-6845           04/22/20       Wisconsin Physic                          20,536.81
St. Alexius Hospital Corporation # 1        USB-6845           04/23/20       Wisconsin Physic                          25,089.90
St. Alexius Hospital Corporation # 1        USB-6845           04/23/20       State of Illinois                            349.29
St. Alexius Hospital Corporation # 1        USB-6845           04/24/20       MO Social Services                       977,535.54
St. Alexius Hospital Corporation # 1        USB-6845           04/24/20       Wisconsin Physic                             875.46
St. Alexius Hospital Corporation # 1        USB-6845           04/27/20       Wisconsin Physic                          40,807.86
St. Alexius Hospital Corporation # 1        USB-6845           04/27/20       Wholesale Lock Box Deposit                 1,525.92
St. Alexius Hospital Corporation # 1        USB-6845           04/28/20       Wisconsin Physic                          43,793.87
St. Alexius Hospital Corporation # 1        USB-6845           04/28/20       State of Illinois                          1,297.42
St. Alexius Hospital Corporation # 1        USB-6845           04/29/20       Wisconsin Physic                           1,525.66
St. Alexius Hospital Corporation # 1        USB-6845           04/29/20       State of Illinois                             20.00
St. Alexius Hospital Corporation # 1        USB-6845           04/30/20       Wisconsin Physic                          89,553.62
St. Alexius Hospital Corporation # 1        USB-6845           04/30/20       Wisconsin Physic                          28,300.00
St. Alexius Hospital Corporation # 1        USB-6845           04/30/20       State of Illinois                            263.27
Total                                                                                                                2,534,854.91

St. Alexius Hospital Corporation # 1        USB-6852           04/01/20       Aetna                                     4,149.90
St. Alexius Hospital Corporation # 1        USB-6852           04/01/20       Il Claims Wf                              2,602.74
St. Alexius Hospital Corporation # 1        USB-6852           04/01/20       United Healthcare                         1,248.71
St. Alexius Hospital Corporation # 1        USB-6852           04/01/20       Anthem Blue                                 456.92
St. Alexius Hospital Corporation # 1        USB-6852           04/01/20       United Healthcare                           333.80
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CASE NUMBER:                            19-61608-grs (Jointly Administered)

                                                             CASH RECEIPTS DETAIL

                  Entity                     Bank ID             Date                             Received From       Amount
St. Alexius Hospital Corporation # 1        USB-6852           04/01/20       Anthem Blue                                   86.85
St. Alexius Hospital Corporation # 1        USB-6852           04/01/20       United Healthcare                             25.53
St. Alexius Hospital Corporation # 1        USB-6852           04/02/20       Anthem Blue                                9,876.17
St. Alexius Hospital Corporation # 1        USB-6852           04/02/20       UHC of the Midwest                         1,162.41
St. Alexius Hospital Corporation # 1        USB-6852           04/02/20       United Healthcare                            312.00
St. Alexius Hospital Corporation # 1        USB-6852           04/02/20       UHC of the Midwest                           306.79
St. Alexius Hospital Corporation # 1        USB-6852           04/02/20       Anthem Blue                                  263.40
St. Alexius Hospital Corporation # 1        USB-6852           04/02/20       Wholesale Lock Box Deposit                   237.32
St. Alexius Hospital Corporation # 1        USB-6852           04/02/20       Il Claims Wf                                  98.25
St. Alexius Hospital Corporation # 1        USB-6852           04/02/20       Anthem Blue                                   30.00
St. Alexius Hospital Corporation # 1        USB-6852           04/03/20       United Healthcare                          1,262.00
St. Alexius Hospital Corporation # 1        USB-6852           04/03/20       Mo Claims                                  1,030.53
St. Alexius Hospital Corporation # 1        USB-6852           04/03/20       Aetna                                        853.00
St. Alexius Hospital Corporation # 1        USB-6852           04/03/20       UHC of the Midwest                           223.20
St. Alexius Hospital Corporation # 1        USB-6852           04/03/20       Anthem Blue                                   76.90
St. Alexius Hospital Corporation # 1        USB-6852           04/03/20       Wholesale Lock Box Deposit                    50.00
St. Alexius Hospital Corporation # 1        USB-6852           04/06/20       United Healthcare                            709.50
St. Alexius Hospital Corporation # 1        USB-6852           04/06/20       Wholesale Lock Box Deposit                   526.51
St. Alexius Hospital Corporation # 1        USB-6852           04/06/20       UHC of the Midwest                           282.83
St. Alexius Hospital Corporation # 1        USB-6852           04/06/20       UMR Missouri Con                             231.00
St. Alexius Hospital Corporation # 1        USB-6852           04/06/20       Aetna                                         15.40
St. Alexius Hospital Corporation # 1        USB-6852           04/07/20       Anthem Blue                                1,367.50
St. Alexius Hospital Corporation # 1        USB-6852           04/07/20       Anthem Blue                                  462.00
St. Alexius Hospital Corporation # 1        USB-6852           04/07/20       Humana Govt Busi                             213.42
St. Alexius Hospital Corporation # 1        USB-6852           04/07/20       PMAB Trust                                   181.05
St. Alexius Hospital Corporation # 1        USB-6852           04/07/20       PMAB Trust                                   157.25
St. Alexius Hospital Corporation # 1        USB-6852           04/07/20       Molina Healthcare of Illinois                 68.37
St. Alexius Hospital Corporation # 1        USB-6852           04/08/20       Cigna                                      6,287.06
St. Alexius Hospital Corporation # 1        USB-6852           04/08/20       Anthem Blue                                5,644.12
St. Alexius Hospital Corporation # 1        USB-6852           04/08/20       United Healthcare                            682.27
St. Alexius Hospital Corporation # 1        USB-6852           04/08/20       United Healthcare                            423.00
St. Alexius Hospital Corporation # 1        USB-6852           04/08/20       United Healthcare                             52.67
St. Alexius Hospital Corporation # 1        USB-6852           04/09/20       United Healthcare                          3,067.50
St. Alexius Hospital Corporation # 1        USB-6852           04/09/20       Il Claims Wf                               2,266.66
St. Alexius Hospital Corporation # 1        USB-6852           04/09/20       Wellcare Health                              955.38
St. Alexius Hospital Corporation # 1        USB-6852           04/09/20       Aetna                                        500.00
St. Alexius Hospital Corporation # 1        USB-6852           04/09/20       United Healthcare                            336.66
St. Alexius Hospital Corporation # 1        USB-6852           04/09/20       UHC of the Midwest                           312.00
St. Alexius Hospital Corporation # 1        USB-6852           04/10/20       US Stimulus                              834,038.96
St. Alexius Hospital Corporation # 1        USB-6852           04/10/20       United Healthcare                          1,615.30
St. Alexius Hospital Corporation # 1        USB-6852           04/10/20       Molina Healthcare of Illinois              1,435.24
St. Alexius Hospital Corporation # 1        USB-6852           04/10/20       Mo Claims                                    407.51
St. Alexius Hospital Corporation # 1        USB-6852           04/10/20       Cigna                                        298.00
St. Alexius Hospital Corporation # 1        USB-6852           04/10/20       Wholesale Lock Box Deposit                   134.09
St. Alexius Hospital Corporation # 1        USB-6852           04/10/20       UHC of the Midwest                            63.25
St. Alexius Hospital Corporation # 1        USB-6852           04/13/20       CHC Missouri                               6,245.45
St. Alexius Hospital Corporation # 1        USB-6852           04/13/20       Wholesale Lock Box Deposit                 2,321.18
St. Alexius Hospital Corporation # 1        USB-6852           04/13/20       United Healthcare                          1,014.00
St. Alexius Hospital Corporation # 1        USB-6852           04/13/20       Aetna                                        384.00
St. Alexius Hospital Corporation # 1        USB-6852           04/13/20       UHC of the Midwest                           235.37
St. Alexius Hospital Corporation # 1        USB-6852           04/13/20       Wellcare Health                              207.33
St. Alexius Hospital Corporation # 1        USB-6852           04/13/20       Aetna                                         29.80
St. Alexius Hospital Corporation # 1        USB-6852           04/13/20       United Healthcare                             27.29
St. Alexius Hospital Corporation # 1        USB-6852           04/13/20       UHC Government                                25.48
St. Alexius Hospital Corporation # 1        USB-6852           04/14/20       United Healthcare                            312.00
St. Alexius Hospital Corporation # 1        USB-6852           04/14/20       Anthem Blue                                  226.80
St. Alexius Hospital Corporation # 1        USB-6852           04/14/20       Anthem Blue                                   93.38
St. Alexius Hospital Corporation # 1        USB-6852           04/14/20       Aetna                                         67.54
St. Alexius Hospital Corporation # 1        USB-6852           04/14/20       Anthem Blue                                   65.96
St. Alexius Hospital Corporation # 1        USB-6852           04/15/20       United Healthcare                          2,714.80
St. Alexius Hospital Corporation # 1        USB-6852           04/15/20       United Healthcare                            892.42
St. Alexius Hospital Corporation # 1        USB-6852           04/15/20       United Healthcare                             27.29
St. Alexius Hospital Corporation # 1        USB-6852           04/16/20       Wholesale Lock Box Deposit                 2,095.25
St. Alexius Hospital Corporation # 1        USB-6852           04/16/20       Anthem Blue                                  783.41
St. Alexius Hospital Corporation # 1        USB-6852           04/16/20       United Healthcare                            230.00
St. Alexius Hospital Corporation # 1        USB-6852           04/16/20       United Healthcare                            166.80
St. Alexius Hospital Corporation # 1        USB-6852           04/16/20       Humana Govt Busi                             122.28
St. Alexius Hospital Corporation # 1        USB-6852           04/16/20       Anthem Blue                                   67.23
St. Alexius Hospital Corporation # 1        USB-6852           04/16/20       United Healthcare                             40.44
St. Alexius Hospital Corporation # 1        USB-6852           04/17/20       Wholesale Lock Box Deposit                 1,703.05
St. Alexius Hospital Corporation # 1        USB-6852           04/17/20       United Healthcare                            624.00
St. Alexius Hospital Corporation # 1        USB-6852           04/17/20       Mo Claims                                    581.05
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CASE NAME:                              Americore Holdings, LLC, et al.                                                   Receipts

CASE NUMBER:                            19-61608-grs (Jointly Administered)

                                                             CASH RECEIPTS DETAIL

                  Entity                     Bank ID             Date                            Received From        Amount
St. Alexius Hospital Corporation # 1        USB-6852           04/17/20       UHC of the Midwest                           402.00
St. Alexius Hospital Corporation # 1        USB-6852           04/20/20       Wholesale Lock Box Deposit                 1,930.31
St. Alexius Hospital Corporation # 1        USB-6852           04/20/20       Aetna                                        321.60
St. Alexius Hospital Corporation # 1        USB-6852           04/20/20       UHC of the Midwest                           247.00
St. Alexius Hospital Corporation # 1        USB-6852           04/20/20       Wellcare Health                              223.20
St. Alexius Hospital Corporation # 1        USB-6852           04/20/20       United Healthcare                            222.12
St. Alexius Hospital Corporation # 1        USB-6852           04/20/20       Anthem Blue                                   22.16
St. Alexius Hospital Corporation # 1        USB-6852           04/20/20       Aetna                                          4.45
St. Alexius Hospital Corporation # 1        USB-6852           04/21/20       Wholesale Lock Box Deposit                37,120.36
St. Alexius Hospital Corporation # 1        USB-6852           04/21/20       Momod                                      3,497.43
St. Alexius Hospital Corporation # 1        USB-6852           04/21/20       United Healthcare                            499.51
St. Alexius Hospital Corporation # 1        USB-6852           04/21/20       United Healthcare                            312.00
St. Alexius Hospital Corporation # 1        USB-6852           04/21/20       Anthem Blue                                   47.60
St. Alexius Hospital Corporation # 1        USB-6852           04/22/20       Aetna                                     17,841.15
St. Alexius Hospital Corporation # 1        USB-6852           04/22/20       United Healthcare                          1,078.78
St. Alexius Hospital Corporation # 1        USB-6852           04/22/20       Aetna                                        172.44
St. Alexius Hospital Corporation # 1        USB-6852           04/22/20       Wellcare Health                              171.00
St. Alexius Hospital Corporation # 1        USB-6852           04/23/20       United Healthcare                          1,116.97
St. Alexius Hospital Corporation # 1        USB-6852           04/23/20       Aetna                                        371.62
St. Alexius Hospital Corporation # 1        USB-6852           04/23/20       United Healthcare                            344.09
St. Alexius Hospital Corporation # 1        USB-6852           04/23/20       Anthem Blue                                  297.55
St. Alexius Hospital Corporation # 1        USB-6852           04/23/20       United Healthcare                            285.31
St. Alexius Hospital Corporation # 1        USB-6852           04/23/20       Aetna                                        194.72
St. Alexius Hospital Corporation # 1        USB-6852           04/23/20       Anthem Blue                                  149.57
St. Alexius Hospital Corporation # 1        USB-6852           04/23/20       Il Claims Wf                                 134.79
St. Alexius Hospital Corporation # 1        USB-6852           04/24/20       US Stimulus                               33,060.28
St. Alexius Hospital Corporation # 1        USB-6852           04/24/20       Mo Claims                                  1,606.41
St. Alexius Hospital Corporation # 1        USB-6852           04/24/20       Wholesale Lock Box Deposit                   848.33
St. Alexius Hospital Corporation # 1        USB-6852           04/24/20       Aetna                                        126.93
St. Alexius Hospital Corporation # 1        USB-6852           04/27/20       Wholesale Lock Box Deposit                   333.15
St. Alexius Hospital Corporation # 1        USB-6852           04/27/20       Anthem Blue                                  149.57
St. Alexius Hospital Corporation # 1        USB-6852           04/28/20       UHC of the Midwest                           624.00
St. Alexius Hospital Corporation # 1        USB-6852           04/28/20       UHC of the Midwest                           550.27
St. Alexius Hospital Corporation # 1        USB-6852           04/28/20       Anthem Blue                                  486.99
St. Alexius Hospital Corporation # 1        USB-6852           04/28/20       United Healthcare                            163.58
St. Alexius Hospital Corporation # 1        USB-6852           04/28/20       Aetna                                        160.95
St. Alexius Hospital Corporation # 1        USB-6852           04/28/20       Wisconsin Physic                              96.43
St. Alexius Hospital Corporation # 1        USB-6852           04/29/20       UHC of the Midwest                         1,422.66
St. Alexius Hospital Corporation # 1        USB-6852           04/29/20       United Healthcare                            480.00
St. Alexius Hospital Corporation # 1        USB-6852           04/29/20       UHC of the Midwest                           369.60
St. Alexius Hospital Corporation # 1        USB-6852           04/29/20       United Healthcare                            312.00
St. Alexius Hospital Corporation # 1        USB-6852           04/29/20       United Healthcare                            232.69
St. Alexius Hospital Corporation # 1        USB-6852           04/29/20       United Healthcare                            172.45
St. Alexius Hospital Corporation # 1        USB-6852           04/30/20       United Healthcare                          1,572.11
St. Alexius Hospital Corporation # 1        USB-6852           04/30/20       Aetna                                        736.29
St. Alexius Hospital Corporation # 1        USB-6852           04/30/20       United Healthcare                            644.27
St. Alexius Hospital Corporation # 1        USB-6852           04/30/20       Wellcare Health                              554.03
St. Alexius Hospital Corporation # 1        USB-6852           04/30/20       Aetna                                        207.00
St. Alexius Hospital Corporation # 1        USB-6852           04/30/20       United Healthcare                            172.45
St. Alexius Hospital Corporation # 1        USB-6852           04/30/20       Il Claims Wf                                 157.06
Total                                                                                                                1,020,971.75

St. Alexius Hospital Corporation # 1        USB-6886           04/01/20       Telecheck                                  4,696.06
St. Alexius Hospital Corporation # 1        USB-6886           04/02/20       Telecheck                                     76.06
St. Alexius Hospital Corporation # 1        USB-6886           04/03/20       Telecheck                                  3,792.92
St. Alexius Hospital Corporation # 1        USB-6886           04/03/20       Telecheck                                     42.68
St. Alexius Hospital Corporation # 1        USB-6886           04/07/20       Deposit                                    7,067.12
St. Alexius Hospital Corporation # 1        USB-6886           04/07/20       Deposit                                       55.22
St. Alexius Hospital Corporation # 1        USB-6886           04/08/20       Telecheck                                  1,902.58
St. Alexius Hospital Corporation # 1        USB-6886           04/09/20       Telecheck                                     50.00
St. Alexius Hospital Corporation # 1        USB-6886           04/10/20       Telecheck                                  2,122.61
St. Alexius Hospital Corporation # 1        USB-6886           04/16/20       Deposit                                   11,932.79
St. Alexius Hospital Corporation # 1        USB-6886           04/23/20       Deposit                                    8,554.72
St. Alexius Hospital Corporation # 1        USB-6886           04/30/20       Merchant Settlement                       (5,000.00)
St. Alexius Hospital Corporation # 1        USB-6886           04/30/20       Deposit                                    5,515.06
Total                                                                                                                   40,807.82

TOTAL RECEIPTS :                                                                                                   $ 6,195,731.29
   Case 19-61608-grs                   Doc 600 Filed 06/04/20 Entered 06/04/20 09:17:43                Desc Main
                                              Document    Page 59 of 148
CASE NAME: Americore Holdings, LLC, et al.                                                                      Transfers

CASE NUMBER: 19-61608-grs (Jointly Administered)

                                                    CASH TRANSFERS DETAIL

                    Entity                          Bank ID         Date                Check Number       Amount
Ellwood Medical Center Operations, LLC             USB-4983       04/06/20   Trf from   4983 to 4991   $    (74,000.00)
Ellwood Medical Center Operations, LLC             USB-4983       04/06/20   Trf from   4983 to 4991        (45,000.00)
Ellwood Medical Center Operations, LLC             USB-4991       04/06/20   Trf from   4983 to 4991         74,000.00
Ellwood Medical Center Operations, LLC             USB-4991       04/06/20   Trf from   4983 to 4991         45,000.00
Ellwood Medical Center Operations, LLC             USB-4991       04/23/20   Trf from   5014 to 4991         10,000.00
Ellwood Medical Center Operations, LLC             USB-5014       04/23/20   Trf from   5014 to 4991        (10,000.00)
Total                                                                                                              -

St. Alexius Hospital Corporation # 1               USB-0141       04/01/20   Trf from 0910 to 0141          118,189.00
St. Alexius Hospital Corporation # 1               USB-0901       04/01/20   Trf from 0910 to 0141         (118,189.00)
St. Alexius Hospital Corporation # 1               BOA-5549       04/02/20   Trf from 5549 to 7479          (13,940.09)
St. Alexius Hospital Corporation # 1               BOA-7479       04/02/20   Trf from 5549 to 7479           13,940.09
St. Alexius Hospital Corporation # 1               BOA-7479       04/02/20   Trf from 7479 to 6886          (13,940.09)
St. Alexius Hospital Corporation # 1               USB-0141       04/02/20   Trf from 6886 to 0141           13,940.09
St. Alexius Hospital Corporation # 1               USB-6886       04/02/20   Trf from 6886 to 0141          (13,940.09)
St. Alexius Hospital Corporation # 1               USB-6886       04/02/20   Trf from 7479 to 6886           13,940.09
St. Alexius Hospital Corporation # 1               USB-6845       04/03/20   Trf from 6845 to 6886         (350,000.00)
St. Alexius Hospital Corporation # 1               USB-6886       04/03/20   Trf from 6845 to 6886          350,000.00
St. Alexius Hospital Corporation # 1               CNB-6621       04/07/20   Trf from 6621 to 6886           (4,151.89)
St. Alexius Hospital Corporation # 1               CNB-6650       04/07/20   Trf from 6650 to 6860           (2,423.74)
St. Alexius Hospital Corporation # 1               USB-6860       04/07/20   Trf from 6650 to 6860            2,423.74
St. Alexius Hospital Corporation # 1               USB-6886       04/07/20   Trf from 6621 to 6886            4,151.89
St. Alexius Hospital Corporation # 1               CNB-6621       04/08/20   Trf from 6621 to 6886              (46.30)
St. Alexius Hospital Corporation # 1               CNB-6650       04/08/20   Trf from 6650 to 6860          (11,706.28)
St. Alexius Hospital Corporation # 1               USB-6860       04/08/20   Trf from 6650 to 6860           11,706.28
St. Alexius Hospital Corporation # 1               USB-6886       04/08/20   Trf from 6621 to 6886               46.30
St. Alexius Hospital Corporation # 1               CNB-6650       04/09/20   Trf from 6650 to 6860           (2,980.85)
St. Alexius Hospital Corporation # 1               USB-6845       04/09/20   Trf from 6845 to 6886          (60,000.00)
St. Alexius Hospital Corporation # 1               USB-6845       04/09/20   Trf from 6845 to 6878         (500,000.00)
St. Alexius Hospital Corporation # 1               USB-6878       04/09/20   Trf from 6845 to 6878          500,000.00
St. Alexius Hospital Corporation # 1               USB-6860       04/09/20   Trf from 6650 to 6860            2,980.85
St. Alexius Hospital Corporation # 1               USB-6886       04/09/20   Trf from 6845 to 6886           60,000.00
St. Alexius Hospital Corporation # 1               USB-6886       04/09/20   Trf from 6852 to 6886           60,000.00
St. Alexius Hospital Corporation # 1               USB-6852       04/09/20   Trf from 6852 to 6886          (60,000.00)
St. Alexius Hospital Corporation # 1               CNB-6650       04/10/20   Trf from 6650 to 6860           (1,159.70)
St. Alexius Hospital Corporation # 1               USB-6860       04/10/20   Trf from 6650 to 6860            1,159.70
St. Alexius Hospital Corporation # 1               USB-6886       04/13/20   Trf from 6852 to 6886           20,000.00
St. Alexius Hospital Corporation # 1               USB-6852       04/13/20   Trf from 6852 to 6886          (20,000.00)
St. Alexius Hospital Corporation # 1               USB-6845       04/14/20   Trf from 6845 to 6886          (50,000.00)
St. Alexius Hospital Corporation # 1               USB-6886       04/14/20   Trf from 6845 to 6886           50,000.00
St. Alexius Hospital Corporation # 1               CNB-6650       04/15/20   Trf from 6650 to 6860             (200.00)
St. Alexius Hospital Corporation # 1               USB-6860       04/15/20   Trf from 6650 to 6860              200.00
St. Alexius Hospital Corporation # 1               CNB-6621       04/16/20   Trf from 6621 to 6886               (2.88)
St. Alexius Hospital Corporation # 1               CNB-6650       04/16/20   Trf from 6650 to 6860           (5,559.62)
St. Alexius Hospital Corporation # 1               USB-6860       04/16/20   Trf from 6650 to 6860            5,559.62
St. Alexius Hospital Corporation # 1               USB-6886       04/16/20   Trf from 6621 to 6886                2.88
St. Alexius Hospital Corporation # 1               CNB-6650       04/17/20   Trf from 6650 to 6860          (16,670.53)
St. Alexius Hospital Corporation # 1               USB-6845       04/17/20   Trf from 6845 to 6886         (500,000.00)
St. Alexius Hospital Corporation # 1               USB-6860       04/17/20   Trf from 6650 to 6860           16,670.53
St. Alexius Hospital Corporation # 1               USB-6886       04/17/20   Trf from 6845 to 6886          500,000.00
St. Alexius Hospital Corporation # 1               CNB-6650       04/20/20   Trf from 6650 to 6860             (316.80)
St. Alexius Hospital Corporation # 1               USB-6860       04/20/20   Trf from 6650 to 6860              316.80
St. Alexius Hospital Corporation # 1               CNB-6650       04/21/20   Trf from 6650 to 6860             (820.43)
St. Alexius Hospital Corporation # 1               USB-6860       04/21/20   Trf from 6650 to 6860              820.43
St. Alexius Hospital Corporation # 1               CNB-6650       04/22/20   Trf from 6650 to 6860             (200.00)
St. Alexius Hospital Corporation # 1               USB-6860       04/22/20   Trf from 6650 to 6860              200.00
St. Alexius Hospital Corporation # 1               CNB-6650       04/23/20   Trf from 6650 to 6860          (13,540.73)
St. Alexius Hospital Corporation # 1               USB-6860       04/23/20   Trf from 6650 to 6860           13,540.73
St. Alexius Hospital Corporation # 1               USB-6886       04/23/20   Trf from 6852 to 6886          500,000.00
St. Alexius Hospital Corporation # 1               USB-6852       04/23/20   Trf from 6852 to 6886         (500,000.00)
St. Alexius Hospital Corporation # 1               USB-6886       04/23/20   Trf from 6886 to 6878         (500,000.00)
St. Alexius Hospital Corporation # 1               USB-6878       04/23/20   Trf from 6886 to 6878          500,000.00
St. Alexius Hospital Corporation # 1               BOA-7479       04/24/20   Trf from 7479 to 6886          (50,000.00)
St. Alexius Hospital Corporation # 1               CNB-6621       04/24/20   Trf from 6621 to 6886             (875.54)
St. Alexius Hospital Corporation # 1               USB-6845       04/24/20   Trf from 6845 to 6878         (251,775.60)
St. Alexius Hospital Corporation # 1               USB-6878       04/24/20   Trf from 6845 to 6878          251,775.60
St. Alexius Hospital Corporation # 1               USB-6845       04/24/20   Trf from 6845 to 6886         (550,000.00)
   Case 19-61608-grs                   Doc 600 Filed 06/04/20 Entered 06/04/20 09:17:43                Desc Main
                                              Document    Page 60 of 148
CASE NAME: Americore Holdings, LLC, et al.                                                                      Transfers

CASE NUMBER: 19-61608-grs (Jointly Administered)

                                                    CASH TRANSFERS DETAIL

                      Entity                        Bank ID         Date                Check Number       Amount
St. Alexius Hospital Corporation # 1               USB-6886       04/24/20   Trf from   6845 to 6886         550,000.00
St. Alexius Hospital Corporation # 1               USB-6886       04/24/20   Trf from   7479 to 6886          50,000.00
St. Alexius Hospital Corporation # 1               USB-6886       04/24/20   Trf from   6621 to 6886             875.54
St. Alexius Hospital Corporation # 1               CNB-6650       04/27/20   Trf from   6650 to 6860            (171.34)
St. Alexius Hospital Corporation # 1               USB-6860       04/27/20   Trf from   6650 to 6860             171.34
St. Alexius Hospital Corporation # 1               USB-6886       04/28/20   Trf from   0157 to 6886         100,000.00
St. Alexius Hospital Corporation # 1               USB-6886       04/28/20   Trf from   0157 to 6886             212.50
St. Alexius Hospital Corporation # 1               USB-0157       04/28/20   Trf from   0157 to 6886        (100,212.50)
St. Alexius Hospital Corporation # 1               USB-6886       04/28/20   Trf from   6886 to 0157        (100,212.50)
St. Alexius Hospital Corporation # 1               USB-0157       04/28/20   Trf from   6886 to 0157         100,212.50
St. Alexius Hospital Corporation # 1               CNB-6621       04/29/20   Trf from   6621 to 6886            (117.28)
St. Alexius Hospital Corporation # 1               CNB-6650       04/29/20   Trf from   6650 to 6860            (728.00)
St. Alexius Hospital Corporation # 1               USB-6860       04/29/20   Trf from   6650 to 6860             728.00
St. Alexius Hospital Corporation # 1               USB-6886       04/29/20   Trf from   6621 to 6886             117.28
St. Alexius Hospital Corporation # 1               CNB-6650       04/30/20   Trf from   6650 to 6860          (4,554.77)
St. Alexius Hospital Corporation # 1               USB-6860       04/30/20   Trf from   6650 to 6860           4,554.77
Total                                                                                                             (0.00)

TOTAL TRANSFERS :                                                                                      $          (0.00)
     Case 19-61608-grs                        Doc 600 Filed 06/04/20 Entered 06/04/20 09:17:43                                                           Desc Main
                                                                                                                                                                Exhibit A
                                                     Document    Page 61 of 148
                                                                   UNITED STATES BANKRUPTCY COURT
                                                                   EASTERN DISTRICT OF KENTUCKY
                                                                         LEXINGTON DIVISION

                                 Exhibit A - CONSOLIDATING DISBURSEMENTS OF JOINTLY ADMINISTERED CASES IN CHAPTER 11

CASE NAME:                                              Americore Holdings, LLC, et al.
JOINT ADMINISTRATION CASE NUMBER:                       19-61608-grs

                                                                                                                       DISBURSEMENTS


   No.                        Entity                           Case No.           February 21-29, 2020         March 2020              April 2020             Filing to Date(1)
    1      Americore Holdings, LLC                      19-61608-grs (Lead)       $                -   $                   -      .                       $                   -
    2      Pineville Medical Center, LLC                19-61605-grs                               -                       -                       -                          -
    3      Americore Health Enterprises, LLC            19-61606-grs                               -                       -                       -                          -
    4      Americore Health, LLC                        19-61607-grs                               -                       -                       -                          -
    5      Success Healthcare 2, LLC                    19-61609-grs                               -                       -                       -                          -
    6      St. Alexius Hospital Corporation #1          19-61610-grs                     1,099,862.03             2,922,331.36            3,395,488.30              7,417,681.69
    7      St. Alexius Properties, LLC                  19-61611-grs                               -                       -                       -                          -
    8      Izard County Medical Center, LLC             19-61612-grs                       178,415.38               328,957.90              469,681.59                977,054.87
    9      Ellwood Medical Center, LLC                  19-61613-grs                                                       -                       -                          -
   10      Ellwood Medical Center Real Estate, LLC      19-61614-grs                                -                      -                       -                          -
   11      Ellwood Medical Center Operations, LLC       19-61615-grs                          17,864.57              45,798.70              185,901.73                249,565.00

Total Disbursements                                                                $       1,296,141.98   $       3,297,087.96    $       4,051,071.62    $        8,644,301.56

Notes:
(1) Disbursements are reported from the date of the initial report and does not reflect disbursements made by the Debtor prior to February 21, 2020, the date of the Chapter 11
Trustee's appointment.
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                                                                                                     U.S. Bank accepts Relay Calls
                                                                                                     Internet:                              usbank.com




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    (IIHFWLYH0D\WKH"Your Deposit Account Agreement"ERRNOHWZLOOLQFOXGHXSGDWHVWKDWPD\DIIHFW\RXUULJKWV7KH
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        ³    ,QFOXGHGLQPXOWLSOHVHFWLRQV
                    &ODULILFDWLRQDURXQGUHRFFXUULQJRURQHWLPHPHUFKDQWGHELWFDUGWUDQVDFWLRQV
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                    &ODULILFDWLRQRQ$70GHSRVLWDYDLODELOLW\
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        ³    5HPRYHGWKHIROORZLQJFRQWHQWDQGZLOOEHGLVWULEXWHGXSRQLQGLYLGXDOSURGXFWSXUFKDVH
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               $SU                                           $SU                                           
               $SU                                          $SU                                           
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               $SU                                          $SU                                         
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               $SU                                 $SU                   
               $SU                                  $SU                   
               $SU                                   $SU                     
               $SU                                  $SU                   
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               $SU                               $SU                                         
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               $SU                               $SU                                       
               $SU                               $SU                                       
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               $SU                                 $SU                                       
               $SU                               $SU                                         
               $SU                               $SU                                         
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              6%52$':$<                                                                        Commercial Customer
              6$,17/28,6 02                                                               Service:                            1-866-329-7770


                                                                                                     U.S. Bank accepts Relay Calls
                                                                                                     Internet:                              usbank.com




,1)250$7,21<286+28/'.12:
    (IIHFWLYH0D\WKH"Your Deposit Account Agreement"ERRNOHWZLOOLQFOXGHXSGDWHVWKDWPD\DIIHFW\RXUULJKWV7KH
    PDLQXSGDWHVWRQRWHLQWKHUHYLVHG"Your Deposit Account Agreement"ERRNOHWVHFWLRQVDQGVXEVHFWLRQVDUH
        ³    ,QFOXGHGLQPXOWLSOHVHFWLRQV
                    &ODULILFDWLRQDURXQGUHRFFXUULQJRURQHWLPHPHUFKDQWGHELWFDUGWUDQVDFWLRQV
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        ³    $GGLWLRQRI6SHFLDO3URYLVLRQVIRU7KLUG3DUW\$FFRXQWVVHFWLRQ
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                    $GGHGWKHGHILQLWLRQIRUDFFRXQWRUVWDWHPHQWF\FOH
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                                                                                        09:17:43                                               Desc Main             1 of 1
                                                      Document     Page 134 of 148     Account:                                                                 XXXXXX6605
                                                                                                                          Client Service
1954516605                                                                                                                   Online                         CityTel
ST ALEXIUS HOSPITAL CORPORATION 1                                                                                           onal.com                1-800-762-CITY (2489)
4/30/2020
Regular Commercial Checking
                                                                                                                             Your Banking Center            Telephone
                                                                                                                             Corporate Banking North        000-000-0000
                                                                                                                             5900 North Andrews Ave Ste 850 800-435-8839
               34402 1 MB 0.436                                 P:34402 / T:107 / S:                                         Ft Lauderdale, FL 33309
               TFTTFTFTDAAADFAFDAATADDAAFAATTATADTDDDADFAATTDDAADTFAFTFATAFTATTF
                                                                                                                             Your Banking Center Hours
                                                                                                                             Lobby:     Monday - Thursday : 9:00am - 4:00pm
               ST ALEXIUS HOSPITAL CORPORATION 1                                                                                        Friday:             9:00am - 5:00pm
               OPERATING ACCOUNT
               3933 S BROADWAY
               SAINT LOUIS MO 63118-4601
                                                                                                                    For additional locations
                                                                                                                    and hours, please visit
                                                                                                                    citynational.com

     Regular Commercial Checking
     Account Summary
     Account:                              XXXXXX6605         Beginning Balance:                      $100.00             POSTPONEMENT
     Last Statement:                     March 31, 2020       Ending Balance:                         $100.00             OF CHANGES TO
     This Statement:                      April 30, 2020      Average Ledger Balance:                 $100.00
                                                              Low Balance:                            $100.00             SCHEDULE OF FEES
     Daily Activity
                                                                                                                          You recently were provided with
     Date   Description                                          Deposits/         Withdrawals/       Balance
                                                                 Additions         Subtractions                           notification that City National Bank
     03-31 Beginning balance                                                                           100.00             would be implementing changes
     04-30 Ending totals                                              0.00                0.00         100.00             to our Schedule of Fees. While
                                                                                                                          these fees are necessary to ensure
                                                                                                                          that we can continue providing the
                                                                                                                          same level of superior service you
                                                                                                                          have come to expect, we will be
                                                                                                                          postponing the changes. We know
                                                                                                                          that during this time, we are all
                                                                                                                          experiencing financial impacts and
                                                                                                                          we are taking action to provide
                                                                                                                          relief to you, our valued client. 




         Follow us on social media!
         We are thrilled to connect with the City National Bank family through
         social media. Follow us on Facebook, LinkedIn, Twitter or Instagram and
         stay tuned for the latest news and updates about City National Bank.
         Find us by searching our handles:

            citynationalbankfl          citynationalbankfl          citynationalfl        citynationalbankofflorida
PAGE 1       Case 19-61608-grs                  Doc 600 Filed 06/04/20 Entered 06/04/20Page:
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1954516621                                                                                                                    Online                         CityTel
ST ALEXIUS HOSPITAL CORPORATION 1                                                                                            onal.com                1-800-762-CITY (2489)
4/30/2020
Regular Commercial Checking
                                                                                                                              Your Banking Center            Telephone
                                                                                                                              Corporate Banking North        000-000-0000
                                                                                                                              5900 North Andrews Ave Ste 850 800-435-8839
               34403 1 MB 0.436                                 P:34403 / T:107 / S:                                          Ft Lauderdale, FL 33309
               TTDFDFDATFDAADFFTDTADFAAFTADTDTADDATFTDDADAATDATFFDFDTTAFDTDTDAFA
                                                                                                                              Your Banking Center Hours
                                                                                                                              Lobby:     Monday - Thursday : 9:00am - 4:00pm
               ST ALEXIUS HOSPITAL CORPORATION 1                                                                                         Friday:             9:00am - 5:00pm
               LOCK BOX - GOVERNMENT
               3933 S BROADWAY
               SAINT LOUIS MO 63118-4601
                                                                                                                     For additional locations
                                                                                                                     and hours, please visit
                                                                                                                     citynational.com

     Regular Commercial Checking
     Account Summary
     Account:                              XXXXXX6621         Beginning Balance:                     $4,251.89             POSTPONEMENT
     Last Statement:                     March 31, 2020       Ending Balance:                         $100.00              OF CHANGES TO
     This Statement:                      April 30, 2020      Average Ledger Balance:                 $934.38
                                                              Low Balance:                            $100.00              SCHEDULE OF FEES
     Daily Activity
                                                                                                                           You recently were provided with
     Date   Description                                          Deposits/         Withdrawals/        Balance
                                                                 Additions         Subtractions                            notification that City National Bank
     03-31 Beginning balance                                                                          4,251.89             would be implementing changes
     04-07 Wire Transfer St Alexius Hospital C                                         4,151.89         100.00             to our Schedule of Fees. While
           081000210000082
     04-08 Hcclaimpmt Mo Social Servcs                   46.30                                          146.30             these fees are necessary to ensure
           Trn*1*1780990754z06865013ra#10979257*1446000987\                                                                that we can continue providing the
     04-08 Wire Transfer St Alexius Hospital C                                           46.30          100.00             same level of superior service you
           081000210000047
     04-15 Lockbox Deposit                                2.88                                          102.88             have come to expect, we will be
     04-16 Wire Transfer St Alexius Hospital C                                            2.88          100.00             postponing the changes. We know
           081000210000092
     04-24 Hcclaimpmt Mo Social Servcs                  875.54                                          975.54             that during this time, we are all
           Trn*1*1780990754z06886661ra#10990038*1446000987\                                                                experiencing financial impacts and
     04-24 Wire Transfer St Alexius Hospital C                                          875.54          100.00             we are taking action to provide
           081000210000138
     04-28 Lockbox Deposit                              117.28                                          217.28             relief to you, our valued client. 
     04-29 Wire Transfer St Alexius Hospital C                                          117.28          100.00
           081000210000133
     04-30 Ending totals                              1,042.00                         5,193.89         100.00




         Follow us on social media!
         We are thrilled to connect with the City National Bank family through
         social media. Follow us on Facebook, LinkedIn, Twitter or Instagram and
         stay tuned for the latest news and updates about City National Bank.
         Find us by searching our handles:

            citynationalbankfl          citynationalbankfl          citynationalfl         citynationalbankofflorida
PAGE 1       Case 19-61608-grs                  Doc 600 Filed 06/04/20 Entered 06/04/20Page:
                                                                                        09:17:43                                                Desc Main             1 of 2
                                                      Document     Page 136 of 148     Account:                                                                  XXXXXX6650
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1954516650                                                                                                                    Online                         CityTel
ST ALEXIUS HOSPITAL CORPORATION 1                                                                                            onal.com                1-800-762-CITY (2489)
4/30/2020
Regular Commercial Checking
                                                                                                                              Your Banking Center            Telephone
                                                                                                                              Corporate Banking North        000-000-0000
                                                                                                                              5900 North Andrews Ave Ste 850 800-435-8839
               34401 1 MB 0.436                                 P:34401 / T:107 / S:                                          Ft Lauderdale, FL 33309
               AFFDAAAFFAFDTFTTFTTDATTFDFTDFADTTADATTAADADFDATATDFTAFDTTFFFDAFAD
                                                                                                                              Your Banking Center Hours
                                                                                                                              Lobby:     Monday - Thursday : 9:00am - 4:00pm
               ST ALEXIUS HOSPITAL CORPORATION 1                                                                                         Friday:             9:00am - 5:00pm
               LOCK BOX- NON GOVERNMENT
               3933 S BROADWAY
               SAINT LOUIS MO 63118-4601
                                                                                                                     For additional locations
                                                                                                                     and hours, please visit
                                                                                                                     citynational.com

     Regular Commercial Checking
     Account Summary
     Account:                              XXXXXX6650         Beginning Balance:                      $661.49              POSTPONEMENT
     Last Statement:                     March 31, 2020       Ending Balance:                         $100.00              OF CHANGES TO
     This Statement:                      April 30, 2020      Average Ledger Balance:                $3,358.20
                                                              Low Balance:                            $100.00              SCHEDULE OF FEES
     Daily Activity
                                                                                                                           You recently were provided with
     Date   Description                                          Deposits/         Withdrawals/        Balance
                                                                 Additions         Subtractions                            notification that City National Bank
     03-31 Beginning balance                                                                            661.49             would be implementing changes
     04-01 Hcclaimpmt Cigna Edge Trans                            1,043.05                            1,704.54             to our Schedule of Fees. While
           Trn*1*602700321065*1591031071~
     04-06 Hcclaimpmt Cigna Edge Trans                              819.20                            2,523.74             these fees are necessary to ensure
           Trn*1*602600335261*1591031071~                                                                                  that we can continue providing the
     04-07 Lockbox Deposit                                        3,180.85                            5,704.59             same level of superior service you
     04-07 Wire Transfer St Alexius Hospitalit                                         2,423.74       3,280.85
           081000210000081                                                                                                 have come to expect, we will be
     04-08 Hcclaimpmt Cigna Edge Trans                          11,506.28                            14,787.13             postponing the changes. We know
           Trn*1*603400186952*1591031071~
     04-08 Wire Transfer St Alexius Hospitalit                                       11,706.28        3,080.85             that during this time, we are all
           081000210000046                                                                                                 experiencing financial impacts and
     04-09 Wire Transfer St Alexius Hospitalit                                         2,980.85         100.00             we are taking action to provide
           081000210000147
     04-10 Hcclaimpmt Cigna Edge Trans                            1,159.70                            1,259.70             relief to you, our valued client. 
           Trn*1*601200194384*1591031071~
     04-10 Wire Transfer St Alexius Hospitalit                                         1,159.70         100.00
           081000210000117
     04-14 Lockbox Deposit                                       5,559.62                             5,659.62
     04-15 Lockbox Deposit                                      16,870.53                            22,530.15

     Continued on the next page



         Follow us on social media!
         We are thrilled to connect with the City National Bank family through
         social media. Follow us on Facebook, LinkedIn, Twitter or Instagram and
         stay tuned for the latest news and updates about City National Bank.
         Find us by searching our handles:

            citynationalbankfl          citynationalbankfl          citynationalfl         citynationalbankofflorida
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Date    Description                                      Deposits/      Withdrawals/               Balance
                                                         Additions      Subtractions
04-15   Wire Transfer St Alexius Hospitalit                                  200.00            22,330.15
        081000210000030
04-16   Wire Transfer St Alexius Hospitalit                                5,559.62            16,770.53
        081000210000091
04-17   Wire Transfer St Alexius Hospitalit                               16,670.53                100.00
        081000210000133
04-20   Lockbox Deposit                                     86.85                                  186.85
04-20   Hcclaimpmt Cigna Edge Trans                        316.80                                  503.65
        Trn*1*603300205223*1591031071~
04-20   Wire Transfer St Alexius Hospitalit                                  316.80                186.85
        081000210000122
04-21   Lockbox Deposit                                 13,740.73                              13,927.58
04-21   Unitedhealthcare Payment 0000619509                733.58                              14,661.16
04-21   Wire Transfer St Alexius Hospitalit                                  820.43            13,840.73
        081000210000040
04-22   Wire Transfer St Alexius Hospitalit                                  200.00            13,640.73
        081000210000086
04-23   Wire Transfer St Alexius Hospitalit                               13,540.73                100.00
        081000210000081
04-27   36 Treas 310 Misc Pay 201872766360012              171.34                                  271.34
04-27   Wire Transfer St Alexius Hospitalit                                  171.34                100.00
        081000210000062
04-28   Lockbox Deposit                                  4,754.77                               4,854.77
04-29   Hcclaimpmt Cigna Edge Trans                        528.00                               5,382.77
        Trn*1*602900357351*1591031071~
04-29   Wire Transfer St Alexius Hospitalit                                  728.00             4,654.77
        081000210000132
04-30   Wire Transfer St Alexius Hospitalit                                4,554.77                100.00
        081000210000192
04-30   Ending totals                                   60,471.30         61,032.79                100.00
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P.O. Box 15284
Wilmington, DE 19850
                                                                                               Customer service information


                                                                                               Customer service: 1.888.400.9009

                                                                                               bankofamerica.com
  ST ALEXIUS HOSPITAL CORPORATION #1
                                                                                               Bank of America, N.A.
  SPECIAL USES ACCT LUTHERAN FSA PROGRAM
                                                                                               P.O. Box 25118
  FED FDS ACCT SPEC USES ACCT DEACONESS                                                        Tampa, FL 33622-5118
  3933 S BROADWAY
  SAINT LOUIS, MO 63118-4601




Your Full Analysis Business Checking
for April 1, 2020 to April 30, 2020                                                      Account number: 0046 8168 5549
ST ALEXIUS HOSPITAL CORPORATION #1                              SPECIAL USES ACCT LUTHERAN FSA PROGRAM              FED FDS ACCT
SPEC USES ACCT DEACONESS

Account summary
Beginning balance on April 1, 2020                                      $24,464.05    # of deposits/credits: 1
Deposits and other credits                                                  935.00    # of withdrawals/debits: 1
Withdrawals and other debits                                             -13,940.09   # of days in cycle: 30
Checks                                                                        -0.00   Average ledger balance: $11,019.79
Service fees                                                                  -0.00

Ending balance on April 30, 2020                                       $11,458.96




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ST ALEXIUS HOSPITAL CORPORATION #1 | Account # 0046 8168 5549 | April 1, 2020 to April 30, 2020




Deposits and other credits
Date         Transaction description                         Customer reference         Bank reference                 Amount

04/30/20     VAED TREAS 310 DES:XXVA CH33                                               902519015903462                935.00
             ID:575550955003600 INDN:LUTHERAN SCHOOL
             OF NUR CO ID:9101036151 CCD PMT
             INFO:REF*48*CH33 TF VA FILE NO XXXXXXXXX
             *TE RM 051120-060620 AUSTIN T CLARE      \

Total deposits and other credits                                                                                    $935.00


Withdrawals and other debits
Date         Transaction description                         Customer reference         Bank reference                 Amount

04/02/20     ACCOUNT TRANSFER TRSF TO 004681687479           2042485304                 906804020003817            -13,940.09

Total withdrawals and other debits                                                                              -$13,940.09




Daily ledger balances
Date                               Balance ($)   Date                             Balance($)    Date                Balance ($)

04/01                             24,464.05      04/02                       10,523.96          04/30               11,458.96




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Wilmington, DE 19850
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                                                                                               Customer service: 1.888.400.9009

                                                                                               bankofamerica.com
  ST ALEXIUS HOSPITAL CORPORATION #1
                                                                                               Bank of America, N.A.
  ST ALEXIUS HOSPITAL ACCOUNTS PAYABLE
                                                                                               P.O. Box 25118
  ACCOUNT                                                                                      Tampa, FL 33622-5118
  3933 S BROADWAY
  SAINT LOUIS, MO 63118-4601




Your Full Analysis Business Checking
for April 1, 2020 to April 30, 2020                                                      Account number: 0046 8168 7479
ST ALEXIUS HOSPITAL CORPORATION #1                              ST ALEXIUS HOSPITAL ACCOUNTS PAYABLE               ACCOUNT

Account summary
Beginning balance on April 1, 2020                                       $13,872.11   # of deposits/credits: 20
Deposits and other credits                                                71,627.17   # of withdrawals/debits: 6
Withdrawals and other debits                                             -65,590.11   # of days in cycle: 30
Checks                                                                        -0.00   Average ledger balance: $29,211.62
Service fees                                                                -883.84

Ending balance on April 30, 2020                                       $19,025.33




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Deposits and other credits
Date         Transaction description                         Customer reference     Bank reference                      Amount

04/01/20     BANKCARD-1203 DES:MTOT DEP                                             902591019781234                  1,572.83
             ID:530960440103190 INDN:ST. ALEXIUS
             HOSPITAL CO ID:9592126793 CCD

04/02/20     ACCOUNT TRANSFER TRSF FROM 004681685549 2042485304                     906804020003818                13,940.09

04/03/20     BANKCARD-1203 DES:MTOT DEP                                             902593016959978                     114.20
             ID:530960440103190 INDN:ST. ALEXIUS
             HOSPITAL CO ID:9592126793 CCD

04/06/20     BANKCARD-1203 DES:BTOT DEP                                             902597005822981                     966.87
             ID:530960440103190 INDN:ST. ALEXIUS
             HOSPITAL CO ID:9592126793 CCD
04/07/20     BANKCARD-1203 DES:BTOT DEP                                             902597024156334                      76.00
             ID:530960440103190 INDN:ST. ALEXIUS
             HOSPITAL CO ID:9592126793 CCD

04/08/20     BANKCARD-1203 DES:MTOT DEP                                             902598018450817                  4,046.22
             ID:530960440103190 INDN:ST. ALEXIUS
             HOSPITAL CO ID:9592126793 CCD

04/10/20     BANKCARD-1203 DES:MTOT DEP                                             902500018112909                  2,302.94
             ID:530960440103190 INDN:ST. ALEXIUS
             HOSPITAL CO ID:9592126793 CCD

04/13/20     BANKCARD-1203 DES:MTOT DEP                                             902504013859339                  4,749.07
             ID:530960440103190 INDN:ST. ALEXIUS
             HOSPITAL CO ID:9592126793 CCD

04/14/20     BANKCARD-1203 DES:MTOT DEP                                             902504034748515                  8,427.82
             ID:530960440103190 INDN:ST. ALEXIUS
             HOSPITAL CO ID:9592126793 CCD

04/15/20     BANKCARD-1203 DES:MTOT DEP                                             902505021301301                19,162.04
             ID:530960440103190 INDN:ST. ALEXIUS
             HOSPITAL CO ID:9592126793 CCD

04/16/20     BANKCARD-1203 DES:MTOT DEP                                             902506018595431                  1,200.00
             ID:530960440103190 INDN:ST. ALEXIUS
             HOSPITAL CO ID:9592126793 CCD
                                                                                                        continued on the next page




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Deposits and other credits - continued
Date       Transaction description                       Customer reference   Bank reference                        Amount

04/17/20   BANKCARD-1203 DES:MTOT DEP                                         902507015790810                    2,694.83
           ID:530960440103190 INDN:ST. ALEXIUS
           HOSPITAL CO ID:9592126793 CCD

04/20/20   BANKCARD-1203 DES:MTOT DEP                                         902511016214383                        16.73
           ID:530960440103190 INDN:ST. ALEXIUS
           HOSPITAL CO ID:9592126793 CCD

04/21/20   BANKCARD-1203 DES:MTOT DEP                                         902511029851346                       143.11
           ID:530960440103190 INDN:ST. ALEXIUS
           HOSPITAL CO ID:9592126793 CCD

04/22/20   BANKCARD-1203 DES:MTOT DEP                                         902512013802088                    2,695.10
           ID:530960440103190 INDN:ST. ALEXIUS
           HOSPITAL CO ID:9592126793 CCD

04/23/20   BANKCARD-1203 DES:MTOT DEP                                         902513018567411                       528.00
           ID:530960440103190 INDN:ST. ALEXIUS
           HOSPITAL CO ID:9592126793 CCD

04/27/20   BANKCARD-1203 DES:MTOT DEP                                         902518008490927                    6,310.00
           ID:530960440103190 INDN:ST. ALEXIUS
           HOSPITAL CO ID:9592126793 CCD

04/28/20   BANKCARD-1203 DES:MTOT DEP                                         902518027439835                    2,560.26
           ID:530960440103190 INDN:ST. ALEXIUS
           HOSPITAL CO ID:9592126793 CCD

04/29/20   BANKCARD-1203 DES:BTOT DEP                                         902519027403904                        41.00
           ID:530960440103190 INDN:ST. ALEXIUS
           HOSPITAL CO ID:9592126793 CCD

04/30/20   BANKCARD-1203 DES:MTOT DEP                                         902520025535387                        80.06
           ID:530960440103190 INDN:ST. ALEXIUS
           HOSPITAL CO ID:9592126793 CCD

Total deposits and other credits                                                                          $71,627.17


Withdrawals and other debits
Date       Transaction description                       Customer reference   Bank reference                        Amount

04/02/20   WIRE TYPE:WIRE OUT DATE:200402 TIME:1604 ET                        903704020543075                 -13,940.09
           TRN:2020040200543075 SERVICE REF:013565
           BNF:US BANK PETTY CASH ID:152321236886 BNF
           BK:U.S. BANK N.A. ID:091000022 PMT
           DET:2042F0240R0A0394

04/02/20   BANKCARD-1203 DES:MTOT DISC                                        902592013999775                   -1,630.02
           ID:530960440103190 INDN:ST. ALEXIUS
           HOSPITAL CO ID:9592126793 CCD

04/08/20   NPDB QUERY     DES:FEE   ID:0000 INDN:ST                           902598011293504                       -10.00
           ALEXIUS HOSPITAL CO ID:7503003001 CCD
           PMT INFO:N68395955
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Withdrawals and other debits - continued
Date           Transaction description                              Customer reference   Bank reference                Amount

04/08/20       NPDB QUERY     DES:FEE   ID:0000 INDN:ST                                  902598011293506                -10.00
               ALEXIUS HOSPITAL CO ID:7503003001 CCD
               PMT INFO:N68396016

04/24/20       WIRE TYPE:WIRE OUT DATE:200424 TIME:1452 ET                               903704240502182           -50,000.00
               TRN:2020042400502182 SERVICE REF:011195
               BNF:US BANK PETTY CASH ID:152321236886 BNF
               BK:U.S. BANK N.A. ID:091000022 PMT
               DET:204OD46580KH0967

Total withdrawals and other debits                                                                              -$65,590.11



Service fees
Date           Transaction description                                                                                 Amount

04/15/20       03/20 ACCT ANALYSIS FEE                                                                                 -883.84

Total service fees                                                                                                 -$883.84
Note your Ending Balance already reflects the subtraction of Service Fees.




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Daily ledger balances
Date                        Balance ($)   Date                       Balance($)   Date                     Balance ($)

04/01                       15,444.94     04/13                     26,050.22     04/22                    59,506.01
04/02                       13,814.92     04/14                     34,478.04     04/23                    60,034.01
04/03                       13,929.12     04/15                     52,756.24     04/24                    10,034.01
04/06                       14,895.99     04/16                     53,956.24     04/27                    16,344.01
04/07                       14,971.99     04/17                     56,651.07     04/28                    18,904.27
04/08                       18,998.21     04/20                     56,667.80     04/29                    18,945.27
04/10                       21,301.15     04/21                     56,810.91     04/30                    19,025.33




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P.O. Box 15284
Wilmington, DE 19850
                                                                                              Customer service information


                                                                                              Customer service: 1.888.400.9009

                                                                                              bankofamerica.com
  ST ALEXIUS HOSPITAL CORPORATION #1
                                                                                              Bank of America, N.A.
  DEPOSITORY ACCOUNT
                                                                                              P.O. Box 25118
  CREDIT CARD PROCESSING                                                                      Tampa, FL 33622-5118
  3933 S BROADWAY
  SAINT LOUIS, MO 63118-4601




Your Full Analysis Business Checking
for April 1, 2020 to April 30, 2020                                                     Account number: 0046 8168 7592
ST ALEXIUS HOSPITAL CORPORATION #1                              DEPOSITORY ACCOUNT     CREDIT CARD PROCESSING

Account summary
Beginning balance on April 1, 2020                                       $1,923.10   # of deposits/credits: 12
Deposits and other credits                                                 899.71    # of withdrawals/debits: 1
Withdrawals and other debits                                                -19.95   # of days in cycle: 30
Checks                                                                       -0.00   Average ledger balance: $2,047.00
Service fees                                                                 -0.00

Ending balance on April 30, 2020                                        $2,802.86




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ST ALEXIUS HOSPITAL CORPORATION #1 | Account # 0046 8168 7592 | April 1, 2020 to April 30, 2020




Deposits and other credits
Date         Transaction description                         Customer reference     Bank reference                      Amount

04/03/20     ST. OF MISSOURI DES:VENDOR PAY                                         902593016829382                      35.78
             ID:E00004012000205 INDN:ST ALEXIUS HOSPI
             CO ID:XXXXXXXXXV CTX ADDITIONAL
             INFORMATION IS AVAILABLE FOR THIS PMT.
             CONTACT A TREASURY SALES OFFICER FOR
             ASSISTANCE.

04/14/20     ST. OF MISSOURI DES:VENDOR PAY                                         902504034672138                      25.59
             ID:E00004102000072 INDN:ST ALEXIUS HOSPI
             CO ID:XXXXXXXXXV CTX ADDITIONAL
             INFORMATION IS AVAILABLE FOR THIS PMT.
             CONTACT A TREASURY SALES OFFICER FOR
             ASSISTANCE.

04/27/20     ST. OF MISSOURI DES:VENDOR PAY                                         902518008372122                     178.50
             ID:E00004232000146 INDN:ST ALEXIUS HOSPI
             CO ID:XXXXXXXXXV CTX ADDITIONAL
             INFORMATION IS AVAILABLE FOR THIS PMT.
             CONTACT A TREASURY SALES OFFICER FOR
             ASSISTANCE.

04/27/20     ST. OF MISSOURI DES:VENDOR PAY                                         902518008372135                     159.14
             ID:E00004232000147 INDN:ST ALEXIUS HOSPI
             CO ID:XXXXXXXXXV CTX ADDITIONAL
             INFORMATION IS AVAILABLE FOR THIS PMT.
             CONTACT A TREASURY SALES OFFICER FOR
             ASSISTANCE.

04/27/20     ST. OF MISSOURI DES:VENDOR PAY                                         902518008372112                      83.16
             ID:E00004232000145 INDN:ST ALEXIUS HOSPI
             CO ID:XXXXXXXXXV CTX ADDITIONAL
             INFORMATION IS AVAILABLE FOR THIS PMT.
             CONTACT A TREASURY SALES OFFICER FOR
             ASSISTANCE.

04/27/20     ST. OF MISSOURI DES:VENDOR PAY                                         902518008372104                      43.90
             ID:E00004232000144 INDN:ST ALEXIUS HOSPI
             CO ID:XXXXXXXXXV CTX ADDITIONAL
             INFORMATION IS AVAILABLE FOR THIS PMT.
             CONTACT A TREASURY SALES OFFICER FOR
             ASSISTANCE.
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Deposits and other credits - continued
Date       Transaction description                    Customer reference   Bank reference                     Amount

04/28/20   ST. OF MISSOURI DES:VENDOR PAY                                  902518027324370                        88.96
           ID:E00004242000068 INDN:ST ALEXIUS HOSPI
           CO ID:XXXXXXXXXV CTX ADDITIONAL
           INFORMATION IS AVAILABLE FOR THIS PMT.
           CONTACT A TREASURY SALES OFFICER FOR
           ASSISTANCE.

04/28/20   ST. OF MISSOURI DES:VENDOR PAY                                  902518027324346                        83.34
           ID:E00004242000065 INDN:ST ALEXIUS HOSPI
           CO ID:XXXXXXXXXV CTX ADDITIONAL
           INFORMATION IS AVAILABLE FOR THIS PMT.
           CONTACT A TREASURY SALES OFFICER FOR
           ASSISTANCE.

04/28/20   ST. OF MISSOURI DES:VENDOR PAY                                  902518027324362                        41.80
           ID:E00004242000067 INDN:ST ALEXIUS HOSPI
           CO ID:XXXXXXXXXV CTX ADDITIONAL
           INFORMATION IS AVAILABLE FOR THIS PMT.
           CONTACT A TREASURY SALES OFFICER FOR
           ASSISTANCE.

04/28/20   ST. OF MISSOURI DES:VENDOR PAY                                  902518027324354                        38.68
           ID:E00004242000066 INDN:ST ALEXIUS HOSPI
           CO ID:XXXXXXXXXV CTX ADDITIONAL
           INFORMATION IS AVAILABLE FOR THIS PMT.
           CONTACT A TREASURY SALES OFFICER FOR
           ASSISTANCE.

04/29/20   ST. OF MISSOURI DES:VENDOR PAY                                  902519027315360                        67.10
           ID:E00004272000117 INDN:ST ALEXIUS HOSPI
           CO ID:XXXXXXXXXV CTX ADDITIONAL
           INFORMATION IS AVAILABLE FOR THIS PMT.
           CONTACT A TREASURY SALES OFFICER FOR
           ASSISTANCE.

04/29/20   ST. OF MISSOURI DES:VENDOR PAY                                  902519027315352                        53.76
           ID:E00004272000116 INDN:ST ALEXIUS HOSPI
           CO ID:XXXXXXXXXV CTX ADDITIONAL
           INFORMATION IS AVAILABLE FOR THIS PMT.
           CONTACT A TREASURY SALES OFFICER FOR
           ASSISTANCE.

Total deposits and other credits                                                                           $899.71


Withdrawals and other debits
Date       Transaction description                    Customer reference   Bank reference                     Amount

04/02/20   BOFA MERCH SVCS DES:FEE                                         902593003109234                    -19.95
           ID:430135235359726 INDN:ST ALEXIUS
           HOSPITAL CO ID:XXXXXXXXXB CCD

Total withdrawals and other debits                                                                          -$19.95




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Daily ledger balances
Date                            Balance ($)   Date                            Balance($)    Date                Balance ($)

04/01                            1,923.10     04/14                           1,964.52      04/28                2,682.00
04/02                            1,903.15     04/27                           2,429.22      04/29                2,802.86
04/03                            1,938.93




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